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EXHIBIT R




Womack testimony.




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                IN THE UNITED STATES BANKRUPTCY COURT

                        FOR THE DISTRICT OF MONTANA

______________________________________________________________________

In Re:                                                     Case No. 14-61357

JOHN HENRY SCHNEIDER,

          Debtor.
______________________________________________________________________




                  THE HON. RALPH B. KIRSCHER, presiding

                          TRANSCRIPT OF PROCEEDINGS

                              Billings, Montana
                               April 26, 2016




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Proceedings recorded by electronic recording;
transcript produced by reporting service.
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     1                            SCHNEIDER BANKRUPTCY

     2                              BILLINGS, MONTANA

     3                                     - - -

     4               BE IT REMEMBERED THAT this matter came on for

     5    hearing on April 26, 2016, in the United States Bankruptcy

     6    Court, District of Montana, The Hon. Ralph B. Kirscher,

     7    presiding:

     8

     9    The following proceedings were had:

   10

   11                  THE COURT:    I believe that gets us to the

   12     remaining matter, In Re:       Schneider, 14-61357.

   13                  This is on several matters:       Trustee's motion to

   14     approve compromises and settlements and the objections

   15     thereto, and also I believe that there is a pending request

   16     for judicial notice and an objection thereto as well.

   17                  Counsel, please correct me if I'm in error about

   18     that or if, in fact, there are other matters as well that

   19     just don't show up on my calendar.

   20                  I will also have all counsel state their

   21     appearances for the record.

   22                  MR. GARDNER:    Trent Gardner for the trustee.

   23                  And I believe the Court is correct.         There's two

   24     motions to approve settlements, there is an outstanding

   25     objection to a request for judicial notice.           I think that's
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     1    an issue that should probably be dealt with as the evidence

     2    comes in and if there's issues related to it.

     3                 THE COURT:    Okay.

     4                 TRUSTEE WOMACK:     Your Honor, Joe Womack, trustee,

     5    and also acting as counsel in AP-20, the motion to approve

     6    compromise and settle for purpose -- of the discharge.

     7                 For purposes of the hearing, since I will be

     8    testifying, we're requesting that Mr. Gardner act as

     9    counsel in asking me questions during that testimony.

   10                  THE COURT:    Okay.

   11                  MR. COSSITT:    All right.     Jim Cossitt, Kalispell,

   12     Montana, appearing on behalf of Dr. John Schneider, the

   13     debtor.

   14                  With respect to the Court's inquiry regarding

   15     judicial notice, the Court should note that at Docket 288,

   16     we have filed an objection to the request for judicial

   17     notice by Meridian Surgical Partners along with a request

   18     to be heard under Rule 201.

   19                  Our view diverges from the trustee.         We think

   20     that it would be more appropriate and germane for the Court

   21     to address some of those issues at the outset of today's

   22     hearings so as to -- for two reasons:          1, to clarify what

   23     the rules of the game are with respect to the Court's

   24     attitude towards judicial notice; and No. 2, to perhaps

   25     expedite the introduction of evidence by clarifying this at
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     1    the front end.     Thank you.

     2                 MR. YORK:     Aaron York for the Office of the US

     3    Trustee.

     4                 THE COURT:    Mr. Parker.

     5                 MR. PARKER:    Mark Parker for Schneider Limited

     6    Partnership, Schneider Management, LLC, Michelle R.

     7    Schneider personally; and as trustee of the Brandon

     8    Schneider Benefit Trust, the Shannon Schneider Benefit

     9    Trust, the Caitlin Schneider Benefit Trust, and the

   10     Michelle Schneider Revocable Trust.

   11                  THE COURT:    Okay.

   12                  MR. JAMES:    Doug James for Meridian Surgical

   13     Partners, LLC, and Meridian Surgical Partners Montana, LLC.

   14                  THE COURT:    Okay.

   15                  MR. SOUEIDI:    Joe Soueidi for Meridian Surgical

   16     Partners, LLC, and Meridian Surgical Partners Montana, LLC.

   17                  MR. PATTEN:    Andy Patten on behalf of the medical

   18     malpractice claimants.

   19                  MR. MOYERS:    And I'm Jon Moyers.      I represent the

   20     medical malpractice claimants.

   21                  THE COURT:    Your last name, I didn't catch it.

   22                  MR. MOYERS:    Moyers.

   23                  THE COURT:    Okay, okay.     I believe it's Mr. James

   24     that has the request for judicial notice.           Why don't we

   25     take that up.
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     1                 MR. JAMES:    Good morning, Your Honor.

     2                 THE COURT:    Good morning.

     3                 MR. JAMES:    Doug James on behalf of Meridian.

     4                 We filed a request for judicial notice asking

     5    this court to take judicial notice of a number of documents

     6    to the extent permitted by the Federal Rules of Evidence.

     7    The Court entered an order acknowledging that it would take

     8    judicial notice of those matters to the extent permitted by

     9    the Federal Rules of Evidence.

   10                  The trustee and Dr. Schneider subsequently

   11     objected stating that the Court should not take judicial

   12     notice of these documents beyond the extent permitted by

   13     the Federal Rules of Evidence.        So I'm not sure what the

   14     objection is here.      It seems nonsubstantive.

   15                  We would argue that the exhibits that we asked

   16     the Court to take judicial notice of, that included

   17     Dr. Schneider's bankruptcy schedules and amended bankruptcy

   18     schedules.    But those are also admissions against interest

   19     of a party and they are sworn testimony, so substantively,

   20     those two documents differ than the others.

   21                  We have simply asked the Court to take judicial

   22     notice that those documents were filed, and we have not

   23     asked the Court to take judicial notice of the facts

   24     contained therein or after their veracity.           Although, as we

   25     have noted with the brief that we filed yesterday, the
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     1    trustee has testified in support of many of those facts and

     2    confirmed them, and so we're prepared to put that evidence

     3    on today, but that is not a matter of judicial notice.

     4                 So that's all I have, Your Honor.

     5                 THE COURT:    Okay.   Thank you, Mr. James.

     6                 Mr. Cossitt.

     7                 MR. COSSITT:    Thank you, Your Honor.       The record

     8    before the Court does reflect that there are a couple of

     9    requests for judicial notice, but we've only objected to

   10     one with our request to be heard.

   11                  The basic thrust of the judicial notice doctrine

   12     and the basic thrust of my client's concern -- excuse me

   13     for a moment.     I left my notes over at the counsel table.

   14                  THE COURT:    You may pick them up.

   15                  MR. COSSITT:    The basic thrust of my client's

   16     concern with respect to using this process to short-circuit

   17     the traditional introduction of evidence is that the

   18     Court's orders approving judicial notice indicate that it,

   19     that the request was granted to the extent permitted by the

   20     federal rules.

   21                  The federal rules and the cases construing the

   22     rules are, frankly, a hodgepodge.         I spent a considerable

   23     amount of time going through Judge Russell's Bankruptcy

   24     Evidence Manual with respect to the various types of

   25     documents which the proponents of judicial notice have put
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     1    before the Court in these requests.         And frankly, I haven't

     2    briefed each and every one of the types of documents; I

     3    focused on what I thought was the most -- the one that was

     4    most troublesome and prejudicial.

     5                 But the -- what, what we seek to clarify here is

     6    the Court's understanding.        We seek to clarify at the

     7    outset so that the lawyers involved in these proceedings

     8    understand just how much weight the Court is going to give

     9    the documents that -- for which it granted judicial notice.

   10                  And overall, I'm requesting the Court reconsider

   11     its order granting judicial notice, and in support of this

   12     request cite to the Court Russell's Evidence Manual

   13     Volume II, Paragraph -- or Section 2.01:2:           Facts subject

   14     to judicial notice.

   15                  And I'll briefly read some of it into the record

   16     with the Court's permission.        Rule 201 governs only

   17     judicial notice of adjudicative facts.          Adjudicative facts

   18     usually answer the questions of who did what, where, when,

   19     how, why, and with what motive or intent; adjudicative

   20     facts are roughly the kind of facts that go to a jury in a

   21     jury case.

   22                  Then I'm going to skip some material:

   23                  Requests for judicial notice of an adjudicative

   24     fact should rarely arise at trial in civil litigation.

   25     Where a fact is generally known or capable of accurate and
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     1     ready determination, the fact is the proper subject of

     2     either a stipulation or a request for admission pursuant to

     3     Rule 7036 or Federal Rule 36.

     4                 Then Judge Russell goes on to admonish, admonish

     5     his readers that:

     6                 The Advisory Committee notes make clear that

     7     extreme caution should be used in the taking of judicial

     8     notice of adjudicative facts because of the traditional

     9     belief that the taking of evidence subject to established

    10     safeguards is the best way to resolve controversies

    11     involving disputes of fact.

    12                 And he cites a Fifth Circuit case, Hardy vs.

    13     Johns-Manville, stated the proposition as follows (quoted

    14     as recorded):

    15                 "Judicial notice applies to self-evident truths

    16     that no reasonable person could question, truisms that

    17     approach platitudes or banalities.         The proposition that

    18     asbestos causes cancer, because it is inextricably linked

    19     to a host of disputed issues; can mesothelioma arise

    20     without exposure to asbestos, is the sale of asbestos" -

    21     yada-yada-yada, it goes on - "is not at present so

    22     self-evident as a proposition to be subject to judicial

    23     notice."

    24                 With Judge Russell's commentary, the basis of

    25     our -- forms the basis of our objection.          It's a doctrine
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     1     that's to be used sparingly.       We believe that it is being

     2     attempted to be used in this proceeding to bypass

     3     traditional evidentiary safeguards of authentication, best

     4     evidence rule, and a lot of those documents are chock-full

     5     of hearsay.

     6                 Consequently, we filed our objection.          I've tried

     7     to give the Court some authority as to why it should

     8     reconsider its opinion -- or its order, particularly with

     9     respect to the letter from the Commissioner of Securities

    10     and Insurance, which is chock-full of hearsay.           And we

    11     would request the Court reconsider its orders with --

    12     across the board with respect to judicial notice and rely

    13     on the traditional methods of introduction of evidence with

    14     respect to the appropriate safeguards.

    15                 THE COURT:     Okay.   Your objection is overruled.

    16                 Let me tell you -- and you've been practicing

    17     before me long enough, Mr. Cossitt, as well as all the

    18     other attorneys in this room.        You know, a long time ago,

    19     we saw some requests for judicial notice, and I am going to

    20     follow the rules of evidence as to what is and isn't

    21     admitted.

    22                 It seemed at that point in time, it is -- the

    23     course would be, rather than just a flat denial of

    24     everything, a granting of -- to the extent they're allowed

    25     by the rule.    These are all bench trials.        I'm going to
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     1     look at them and I'm going to decide, based upon the

     2     evidence, what is and isn't permissible.

     3                 And as it relates to documents that are filed,

     4     the traditional things that one takes judicial notice about

     5     that are, in fact, unquestionable -- you know, what was the

     6     weather on December 26th?       I mean, you can look at it, you

     7     know what it was.

     8                 Or if there's a document that's been filed, I am

     9     not going to necessarily consider the truth of the matter

    10     asserts therein because I think that is subject to

    11     testimony and subject to cross-examination.          So the things

    12     that I take judicial notice of is pretty much a filing,

    13     it's in the docket.

    14                 Now, there was a question raised about schedules

    15     and amended schedules.      I think that might be a little

    16     different; although, at times I've, even from the bench,

    17     said, "I'm not going to, I'm not going to take what's in

    18     there as truth unless you put on some evidence," because

    19     maybe there was a mistake.       So I'm very cautious about.

    20                 But one way to deal with those - and I think most

    21     of the attorneys that have come before me understand that

    22     process - that I'm not going to use it if it's not

    23     appropriate.    And so that's where I'm at.

    24                 So the motion stands as granted and -- or the

    25     request, but I certainly would entertain testimony on any
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     1     issue that someone feels is appropriate, and

     2     cross-examination.      Now, trial is -- cross-examination is a

     3     very important process of our judiciary.

     4                 MR. COSSITT:     Thank you very allowing us to be

     5     heard.

     6                 THE COURT:     Sure, thank you.

     7                 Okay.    On to the two motions, one involving

     8     basically, what, 15-15; and the other, 15-20.

     9                 And as I understand it, 15-15 is subject to

    10     approval of 15-20 as a term in the settlement in 15-20.             Is

    11     that correct?

    12                 If I don't approve 15-20, 15-15 isn't effective?

    13                 MR. GARDNER:     Yes, Your Honor.      Trent Gardner for

    14     the trustee.

    15                 There is a settlement agreement before the Court

    16     in AP 15 - it's called, being called the "fraudulent

    17     transfer action" or the "substantive consolidation action"

    18     - and a settlement agreement that was reached at the same

    19     time in AP 20, the non-discharge action.          Both settlement

    20     agreements have a condition in them that they are

    21     contingent on approval of the other settlement.

    22                 THE COURT:     Okay.

    23                 MR. GARDNER:     And as I understand it, I don't

    24     believe anybody has produced any substantive objection to

    25     AP 15, but I think we'll need to walk through both of them.
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     1                 THE COURT:     Well, the concern I have is, you

     2     know, 15-15 gets approved -- say for argument it gets

     3     approved.    My feeling is -- here's where -- let me give you

     4     a little background.

     5                 I'm really, I'm really concerned that we've put

     6     this thing off for mediation, I get a report in mediation,

     7     "All the parties agree, everything's settled," they filed

     8     a -- you filed the motions to compromise and settle, and

     9     suddenly we've got all kinds of objections.

    10                 To me, that's not a successful mediation because

    11     not all the parties agreed.       And so that's why I'm asking

    12     whether 15-15 can stand alone because there's no objection

    13     to it.   But it can't under the terms of the 15-20

    14     settlement.

    15                 MR. GARDNER:     We are very concerned about the

    16     time and the process and everything, too.          That contingency

    17     was not put in and was not something that the trustee -- at

    18     the trustee's request.      It was at the defendant's request,

    19     and it was something that was put in.

    20                 We felt that we had very substantial assets that

    21     needed to be in the settlement and that it needed to be put

    22     before the Court, and these were the terms on which we

    23     could agree.

    24                 THE COURT:     But, then, under the A & C factors,

    25     I've got to look at the interest of creditors, and I've got
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     1     all these creditors saying, "What are you doing?           Judge,

     2     there's know you can approve this.         They're buying a

     3     discharge."

     4                  MR. GARDNER:    And --

     5                  THE COURT:    Which the way it's structured right

     6     now, I think you could argue that.

     7                  MR. GARDNER:    There's certainly arguments to be

     8     made.

     9                  From the trustee's perspective, he very much and

    10     very deeply considered the interests of the creditors; he

    11     talked to the primary creditors' counsel before mediating;

    12     he had an understanding that if there were substantial

    13     assets on the table, of course no delineation of that, that

    14     it was possible that creditors would consent to a

    15     settlement of both actions.       He never would have entered

    16     into this settlement if he didn't think it was a

    17     possibility at the mediation.

    18                  THE COURT:    But isn't the 450 really part of

    19     15-15?

    20                  MR. GARDNER:    The 450 is Michelle Schneider's

    21     interest in the Billings house and the combined homestead.

    22                  THE COURT:    Which has nothing to do with

    23     discharge.

    24                  MR. GARDNER:    They're, they're assets that -- we

    25     do have claims to the Billings house in AP 15.           It's not at
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     1     all clear if we could have got to this portion that we're

     2     in -- so the 450 we feel is assets that were contributed

     3     from outside sources for the purpose of that discharge.

     4                  It's, it is a tricky issue and it's not the ideal

     5     situation to be coming before this court, but the trustee

     6     considered everything.      And there is a lot of assets on the

     7     table, there's a lot of potential for waste, and it's a

     8     substantial recovery that we felt needed to be brought

     9     forward.

    10                  THE COURT:    But I've got U.S. Trustee telling me

    11     they want to proceed, they'll take over the course on

    12     15-20.   I've got obviously a number of creditors here that

    13     seem more than happy to pursue -- take the risk and not

    14     worry about what's recovered in the bankruptcy and, if no

    15     discharge is entered, to proceed against Defendant/Debtor

    16     otherwise.    Whether they get anything, who knows what, what

    17     they will get?

    18                  You know, you're the first one up, so you're

    19     getting some of these questions, but I guess I'm just, I'm

    20     concerned.    Obviously, I'll hear the evidence and I'll see

    21     if it meets the A & C factors.        Obviously, compromise under

    22     9019 is not a trial on the merits, it's not a mini-trial,

    23     anything of that nature.       You've got to come forward with

    24     you're a & C factors and substantiate them.

    25                  But I have some real reservations, and maybe that
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     1     will assist in you presenting your case and everyone else

     2     presenting their case as to where I'm -- my concerns in

     3     this matter.    Because the way it's structured right now, I

     4     just think that there's the argument that it's merely

     5     buying one's discharge, and that's a horrible precedent

     6     that I'm going to be very cautious about.

     7                  Now, if the 450 was in 15-15, that's another

     8     question, but it's not, and it ties to 15-20.           And I --

     9     I'll let the evidence, I guess, tell me what may be the

    10     more appropriate manner in handling this.

    11                  MR. GARDNER:    It is a difficult situation because

    12     they are tied together.       And the reason the trustee's here

    13     is he believes firmly that this result will provide a

    14     better net benefit to creditors than litigating these

    15     issues for years.

    16                  THE COURT:    But how can, how can I understand it

    17     or appreciate that when I've got a roomful of creditors

    18     that are saying "no"?

    19                  MR. GARDNER:    I fully understand that, Your

    20     Honor.   We reached a settlement.       We thought --

    21                  THE COURT:    Were the creditors involved in the

    22     settlement?

    23                  MR. GARDNER:    They were not involved in the

    24     mediation.    Like I say, they were --

    25                  THE COURT:    Why not?
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     1                 MR. GARDNER:     Well, because they weren't parties

     2     to the adversary proceedings.        They weren't parties to the

     3     proceedings, so I -- the trustee conferred with them before

     4     the mediation.     We conferred with the personal injury

     5     plaintiff's counsel who make up the bulk of the claims in

     6     this case, those people who have those med-mal claims, and

     7     we talked to them immediately after the mediation.

     8                 We believed there, there was a chance they would

     9     agree to it, and they decided they would rather have the

    10     opportunity to have Dr. Schneider not get his discharge and

    11     pursue him.    This wasn't something the trustee did without

    12     consulting and conferring and taking into account.            At the

    13     end of the day -- (inaudible.)

    14                 THE COURT:     Well, he had to because he knew he

    15     had to satisfy the fourth factor of A & C.

    16                 MR. GARDNER:     Well, it wasn't just a matter of

    17     trying to satisfy the fourth factor of A & C; it was a

    18     matter of taking everything into consideration.           Yes, you

    19     have to follow the factors, but it's what Mr. Womack does

    20     in -- you know, so regardless of the factors, he was taking

    21     into account their feelings and their views.           And at the

    22     end of the day, they had to make a decision, and they

    23     decided they would object to the settlement of the

    24     discharge action.

    25                 THE COURT:     Yeah.   Well, I can certainly
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     1     understand the efforts to try to mediate with the parties

     2     that were in the litigation to resolve 15-15, which is --

     3     has been referred to district court under a Stern issue.

     4     And so you've got a jury trial looming there that is

     5     proceeding.

     6                 MR. GARDNER:     And a trial in this court on the

     7     substantive consolidation issue.

     8                 THE COURT:     True.   And also, you've got this

     9     adversary case set for trial in May, even though it's --

    10     I've held it in abeyance, but we've got a month yet to get

    11     ready for trial.     We've got it scheduled for a three-day

    12     trial on discharge.      So, you know, I don't see any reason

    13     we can't use that date.

    14                 MR. GARDNER:     And I won't weigh in on that date

    15     because I'm not counsel in that.

    16                 THE COURT:     Okay, okay.    Well, I can see

    17     attorneys kind of looking at each other like, Oh, no,

    18     but --

    19                 MR. GARDNER:     There's also the separate Meridian

    20     arbitration set for June, which --

    21                 THE COURT:     Yeah.

    22                 MR. GARDNER:     -- who appears in that case is

    23     dependent upon the AP 15 settlement.

    24                 THE COURT:     Okay.   Well, I've probably taken up

    25     enough dialogue.     We should probably go forward with the
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     1     evidence as to the motions and the objections.

     2                 So would you like to call your first witness?

     3                 MR. GARDNER:     Yes.    I call Joseph Womack, the

     4     Chapter 7 trustee.

     5                 THE COURT:     Okay.    Mr. Womack, if you would come

     6     to the podium to be sworn, please.

     7                        JOSEPH WOMACK, TRUSTEE, SWORN

     8                 THE COURT:     Mr. Womack, I think -- (inaudible.)

     9     I don't see another one, so you may proceed.

    10                 MR. GARDNER:     Thank you, Your Honor.

    11                            DIRECT EXAMINATION

    12     BY MR. GARDNER:

    13     Q.   Please state your name.

    14     A.   Joe Womack.

    15     Q.   And how are you employed?

    16     A.   I'm an attorney with Waller & Womack, PC, and I serve

    17     as a Chapter 7 bankruptcy panel trustee for the Bankruptcy

    18     Court for the District of Montana.

    19     Q.   And how long have you been a Chapter 7 panel trustee?

    20     A.   About 20 years.

    21     Q.   And how many Chapter 7 cases have you been appointed as

    22     trustee in?

    23     A.   I don't know the exact number, but in excess of 4,000.

    24     Q.   Besides being a Chapter 7 trustee, do you do -- engage

    25     in other -- practice law in other areas?
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     1     A.   Yes.    I represent other trustees, creditors, debtors.

     2     I also have a small private practice, a general civil

     3     practice that I engage in the practice of law.

     4     Q.   And what is your involvement in the Dr. Schneider

     5     bankruptcy?

     6     A.   I was appointed as the Chapter 7 panel trustee for the

     7     case when it was filed in December of 2014.

     8     Q.   And give me a brief overview of, from your involvement,

     9     kind of what is -- what you've done in this case.

    10     A.   I have gone -- well, first of all, I reviewed

    11     schedules, statement of affairs that were filed and began

    12     assessing assets/liabilities that were listed in those

    13     schedules, began to try to get more information about the

    14     claims that were listed by Dr. Schneider and the assets

    15     listed, and began trying to get information regarding his

    16     financial situation before the bankruptcy was filed, and

    17     determined whether or not there were assets that could be

    18     recovered for the benefit of creditors.

    19                  MR. COSSITT:    Your Honor, I'm so sorry to --

    20                  THE COURT:    Mr. Cossitt.

    21                  MR. COSSITT:    I'm so sorry to interrupt Counsel's

    22     direct examination.

    23                  I neglected to make a motion to exclude

    24     witnesses.    I believe there's a number of people in the

    25     courtroom that are nonparties that are contemplated to be
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     1     witnesses.    I intended to make this motion at the outset,

     2     and I apologize for interrupting Counsel's direct

     3     testimony.

     4                  THE COURT:    Yeah.   With the motion, anyone that's

     5     a witness that is nonparty, I do exclude you from the

     6     courtroom.

     7                  Is there only one?

     8                  MR. PATTEN:    No.    Mallory --

     9                  THE COURT:    Why don't you take a moment and sort

    10     through who needs to go and who needs to stay.

    11                  UNIDENTIFIED SPEAKER:      Okay -- (inaudible.)

    12                  THE COURT:    I appreciate, Mr. Cossitt, you making

    13     that request.

    14                  MR. COSSITT:    And I apologize again, Your Honor.

    15                  THE COURT:    And I think you can proceed.        You may

    16     proceed.

    17                  MR. GARDNER:    Thank you, Your Honor.

    18     Q.   (By Mr. Gardner)      Did you also hold 341 meetings?

    19     A.   Yes, a number of them.

    20     Q.   And did you seek documents besides from the debtor,

    21     from other sources?

    22     A.   Yes.    If, if you're looking at an entire overview of

    23     the case, we subpoenaed documents from a number of

    24     different sources pursuant to 2004 examination, requested a

    25     lot of documents from the debtor and through his counsel as
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     1     well and have done that throughout the proceedings in this

     2     bankruptcy.

     3     Q.   And some of those third-party sources, did they include

     4     law firms?

     5     A.   Yes.    Dr. Schneider was represented by a law firm in

     6     Wyoming, the Greear - Clark firm, I believe it is, where he

     7     was engaged in asset protection and estate planning work.

     8     We requested documents from them.

     9          We requested documents, subpoena documents from his

    10     accountant's two primary firms.        One was Western Sage down

    11     in Wyoming, and another was an accountant by the name of

    12     Pat Boyle in Montana.

    13          We got 2004 subpoenas and obtained bank records from a

    14     number of different sources:       U.S. Bank, Stockman Bank,

    15     any, any bank that we thought that Dr. Schneider had had

    16     any involvement with, during his, his time prior to the

    17     filing of the bankruptcy and immediately afterwards.

    18     Q.   And at some point, based on your investigation, did you

    19     retain separate counsel to investigate potential avoidance

    20     in other actions?

    21     A.   I did.   Actually, fairly early on we retained the Goetz

    22     law firm and yourself and the associates in the firm to, to

    23     file Adversary AP 15-15, which was to avoid various

    24     transfers of property, substantially consolidate entities

    25     that Dr. Schneider had set up, and try to obtain those
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     1     assets for the benefit of the estate.

     2     Q.   Was there also another adversary proceeding filed

     3     related to the Molt property?

     4     A.   There was.    Actually, the first adversary proceeding

     5     that was filed was against Kathleen Burrows and with --

     6     related to some property located near Billings and Molt

     7     about 20 - 30 miles away where it appeared that there had

     8     been preferential transfers of property and/or money to

     9     Kathleen Burrows, who is Dr. Schneider's sister, within one

    10     year prior to the time of the -- or within a couple of

    11     years prior to the time of the filing of the bankruptcy.

    12     Q.   And what was the result of that Burrows adversary

    13     proceeding?    I believe it was AP No. 8.

    14     A.   We ultimately settled that proceeding.         Doc -- or

    15     Kathleen Burrows paid $75,000 to the estate in exchange for

    16     dismissal.

    17          She also provided -- in the course of that adversary

    18     proceeding, we obtained testimony from her regarding

    19     transactions or dealings with Dr. Schneider prior to the

    20     filing of his bankruptcy and shortly after the filing of

    21     his bankruptcy.     And she paid those proceeds, and then we

    22     dismissed the adversary proceeding.

    23     Q.   All right.    Your investigation and handling of the case

    24     along with your counsel, I mean, are we talking about

    25     gathering and reviewing thousands of documents or tens of
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     1     thousands of documents?

     2     A.   It's literally thousands, it could be in the tens of

     3     thousands.    It's been a very substantial -- well, I would

     4     say it's tens of thousands of documents.          It's, it's been a

     5     very large number of documents that we have obtained and

     6     reviewed as part of this so far.

     7     Q.   Did you also file a non-discharge action against

     8     Dr. Schneider?

     9     A.   Yes.    This is AP 15-20.    I filed that seeking to deny

    10     Dr. Schneider's discharge for violation of various

    11     provisions of 11 USC Section 727.

    12     Q.   Now, there's also the issue of the Meridian

    13     arbitration.    Can you briefly tell me what the Meridian

    14     arbitration is?

    15     A.   Dr. Schneider listed a claim against Meridian Surgical

    16     Partners of Montana and Tennessee, I believe, claiming that

    17     they had breached -- or that they were liable for damages

    18     to him in excess of $10 million with respect to the

    19     building, construction, and operation of an outpatient

    20     surgical center in Billings, Montana.

    21          That surgery center was built in Montana, here in

    22     Billings.    It was never operated.      They were unable to get

    23     what is called a "transfer agreement" with the local

    24     hospitals.    As a result, they could not conduct surgical or

    25     medical procedures in the facility.
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     1          And without that transfer agreement, if there was a

     2     problem with the patient, they had the -- they needed to

     3     have the ability to take him to the emergency room in the

     4     hospital.    And if they did not -- if they were not able to

     5     do that, if they didn't have a transfer agreement with

     6     either the Billings Clinic or St. Vincent's Hospital, they

     7     could not, they could not open and treat patients or

     8     conduct medical services there.        So that never occurred.

     9          There was an arbitration provision in the various

    10     contracts that were involved.        For a number of years now,

    11     that -- there have been contract disputes and claims made

    12     back and forth regarding that entire transaction including

    13     Dr. Schneider's claim that he was owed several millions,

    14     multiple millions of dollars in lost earnings revenue as a

    15     result of Meridian's breach of those agreements.

    16     Q.   Now, does Meridian also have, I believe a $3 million

    17     claim in this bankruptcy against Dr. Schneider

    18     individually?

    19     A.   That's correct.     As part of the, as part of the

    20     arbitration proceeding, they filed a counterclaim against

    21     Dr. Schneider asserting a $3 million claim.          They then

    22     filed a proof of claim in the bankruptcy proceeding

    23     claiming $3 million in damages caused by Dr. Schneider.

    24     Q.   And was Dr. Schneider an investor in Meridian?

    25     A.   Not personally, no.      There was no contractual
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     1     relationship that I could discover between Dr. -- a direct

     2     contractual relationship between Dr. Schneider and either

     3     of the two Meridian defendants and counter-claimants.

     4     Either way, Meridian had no contractual agreement with

     5     Dr. Schneider and Dr. Schneider did not with him.

     6     Q.   And who was the investor in Meridian?

     7     A.   There were a number of doctors from the Cody area,

     8     Wyoming, that were investors of -- physician's assistants

     9     and others.

    10          The primary entity related to Dr. Schneider was

    11     Schneider Limited Partnership, which is a separate legal

    12     entity, and that is the investor in the Omni center,

    13     surgical center transaction or business.

    14     Q.   So are there also claims in the arbitration back and

    15     forth between Meridian and Schneider Limited Partnership?

    16     A.   Yes.

    17     Q.   And are all the other doctor investors also involved in

    18     the arbitration?

    19     A.   They are.

    20     Q.   Is it a rather complex arbitration?

    21     A.   Very complex.    It's been a lot of discovery, a lot of

    22     depositions, a lot of documents going back and forth.

    23     Q.   When is the arbitration set for this matter?

    24     A.   Yeah.    It's been going on for a couple of years now,

    25     and the arbitration proceeding is set for a two-year
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     1     trial -- or, excuse me, a two-week trial in Minnesota in

     2     June, around the 10th of June, I believe.

     3     Q.   Now, in this settlement that we're talking about, what

     4     happens to Dr. Schneider's individual claims against

     5     Meridian?

     6     A.   The individual claim of Dr. Schneider is currently held

     7     by the bankruptcy estate, obviously.         In the settlement

     8     proposed under AP 15, he takes that claim and can proceed

     9     against Meridian in the arbitration.         He has a duty to

    10     defend, and he cannot settle AP 15 without it taking care

    11     of the bankruptcy claim for $3 million.

    12     Q.   Did you mean settle his individual claims in the

    13     arbitration without doing that?

    14     A.   Correct.   We didn't want him to be able to go to

    15     Meridian and say, "Okay, you can pay me some money and then

    16     you can go into the bankruptcy and still have the

    17     $3 million claim in the bankruptcy."

    18     Q.   What's, what's your view of the individual claims in

    19     the arbitration, both Meridian's against Dr. Schneider and

    20     Dr. Schneider's against Meridian?

    21     A.   I don't think that Dr. Schneider's claim really has any

    22     great value nor do I think that Meridian's claim has

    23     significant value against Dr. Schneider and the estate.

    24          Dr. Schneider 's claim is based on a loss of a stream

    25     of income over 10 years.       There are a lot of problems.
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     1          First, they were not -- there was no - (inaudible) -

     2     contract.

     3          Second, he's got a duty to mitigate.         And to say that

     4     he lost all of his money through this loss of ability to

     5     provide neurological -- or neurosurgical services --

     6     Q.   What about Meridian's claim against Dr. Schneider

     7     individually?     What's your view on the merits of that?

     8     A.   Well, I don't think that's particularly good, either,

     9     for the same reason.      Meridian, however, did file for

    10     relief from the automatic stay in order to liquidate that

    11     claim as part of the arbitration, so in order to deal with

    12     that proof of claim, it's necessary that somebody get

    13     involved in the Meridian arbitration and be ready to go to

    14     Minnesota for two weeks and deal with that.

    15     Q.   So with this pending settlement, the issue of who goes

    16     and deals with those individual claims, is that up in the

    17     air right now?

    18     A.   It is, and it's very important that we get it decided

    19     quickly.    The discovery is set to close in the arbitration

    20     around May 10th or 15th, I believe it is, so there's a need

    21     to get something done in that regard as well as get ready

    22     for Minnesota in June.

    23                 MR. GARDNER:     Your Honor, may I approach with

    24     exhibits?

    25                 THE COURT:     You may.
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     1                  MR. GARDNER:    In order to short-circuit a little

     2     bit, I would move the admission of Trustee's Exhibits 1

     3     through 6.

     4                  THE COURT:    Are there others or do you want me to

     5     deal with those first?

     6                  MR. GARDNER:    I was just going to deal with those

     7     first.

     8                  THE COURT:    Okay.

     9                  MR. GARDNER:    The others I'll address as I go.

    10                  THE COURT:    Any objection to Trustee's Exhibits 1

    11     through 6?

    12                  UNIDENTIFIED SPEAKER:      No objection.

    13                  UNIDENTIFIED SPEAKER:      No objection.

    14                  THE COURT:    Hearing no objection, they're

    15     admitted.

    16     Q.   (By Mr. Gardner)     Mr. Womack, could you look under

    17     Tab B in, in that notebook, Exhibit 21?

    18                  MR. GARDNER:    This is Meridian's Exhibit 21.

    19     It's Doc No. 285-33.      It's the first amended complaint in

    20     AP 15.   And I would move its admission.

    21                  THE WITNESS:    Yes, okay.

    22                  THE COURT:    You're offering Exhibit 21?

    23                  MR. GARDNER:    Yes.

    24                  THE COURT:    Any objection?

    25                  (No audible response.)
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     1                  THE COURT:    Hearing none, Exhibit 21 is admitted.

     2     Q.   (By Mr. Gardner)     Can you --

     3                  THE COURT:    Mr. Gardner, do you have these -- I

     4     was just looking for the docket entry where you got your

     5     exhibits.

     6                  MR. GARDNER:    My docket entry is 290, I believe.

     7                  THE COURT:    Two ninety, okay.

     8                  MR. GARDNER:    Yeah, 290-1 through 6.

     9                  MR. JAMES:    Excuse me, Your Honor.      We have a

    10     paper copy of Meridian's exhibits which Mr. Gardner is

    11     referring to.     Would the Court like a paper copy?

    12                  THE COURT:    Oh, if you have an extra copy, sure,

    13     you may approach.

    14                  Just so there's no question for the record, the

    15     exhibits in the docket are the official exhibits, so --

    16     thank you.

    17                  MR. GARDNER:    May I proceed?

    18                  THE COURT:    You may.

    19     Q.   (By Mr. Gardner)     Would you briefly describe to me

    20     AP 15 and what it was -- or is?

    21     A.   This exhibit is the first amended complaint filed in

    22     AP 15-15.    This is -- was the fraud/alter ego complaint

    23     filed by myself against Schneider Limited Partnership,

    24     other entities and individuals.

    25     Q.   And generally describe to me kind of the facts and what
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     1     led to the filing of this complaint, briefly.

     2     A.   I'll try.    Basically, it was:     After investigating this

     3     matter, I believed that Dr. Schneider, his wife, his

     4     attorneys, other individuals had been involved in a series

     5     of transactions that were designed to shield effectively

     6     100 percent of his nonexempt assets from creditors over the

     7     course of a two-and-a-half - three-year period prior to the

     8     filing of his bankruptcy.

     9          He engaged in multiple transactions and directed

    10     multiple transactions in order to accomplish that goal.

    11     This complaint was designed to try to set those transfers

    12     aside and obtain assets for the benefit of the creditors of

    13     the estate.

    14     Q.   And I want to briefly talk about some of the claims.

    15     On page 22, Count 1, substantive consolidation, tell me

    16     about that claim.

    17     A.   Dr. Schneider had a number of -- two primary entities

    18     that he used in this -- in these series of transactions

    19     that he engaged in -- or three, I guess would be more

    20     proper:   We had Schneider Limited Partnership; Schneider

    21     Management, which is the managing entity of Schneider

    22     Limited Partnership; and he had a third entity called

    23     "MedPort, LLC."

    24     Q.   And the ownership of Schneider LP, what was it roughly,

    25     the underlying ownership of it?
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     1     A.   Schneider LP or Schneider Limited Partnership was

     2     49-point-something percent with Michelle Schneider, his

     3     wife; and 49 percent, roughly, and some extra with John

     4     Schneider -- excuse me, John Schneider Revocable Trust and

     5     Michelle Schneider Revocable Trust as to her interest; and

     6     then Schneider Management held about a 1 percent interest

     7     in Schneider LP.

     8     Q.   And what about Schneider Management?         What was the

     9     ownership of that?

    10     A.   That was originally held by John Schneider, I believe.

    11     Was it not?

    12     Q.   (Inaudible.)

    13     A.   Or if I'm mistaken about that, correct me.          Ultimately,

    14     it went to Kathleen Burrows and then over to Michelle.

    15     Q.   For the management of Schneider Management.          But the

    16     underlying ownership, was it also 50/50 between the John

    17     trust and Michelle trust?

    18     A.   Yes, yes, but the person acting as the manager was

    19     changed over time.

    20     Q.   And as to MedPort, did -- on paper, did John Schneider

    21     ever own any interest in MedPort?

    22     A.   He did not.

    23     Q.   And who -- it's changed over the years, but generally,

    24     who held the ownership of MedPort?

    25     A.   Michelle Schneider and Brandon Schneider, their son,
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     1     primarily.    And I think the children had -- or, excuse me,

     2     the trusts also were involved with --

     3     Q.   That would be the children's revocable trust?

     4     A.   That's correct.     There were revocable trusts for each

     5     of their children set up in 2012, and those trusts held

     6     interests in MedPort.

     7     Q.   Did you say "revocable" or "irrevocable"?

     8     A.   They were irrevocable trusts.       I apologize.

     9     Q.   So what was the point of Count 1, substantive

    10     consolidation?

    11     A.   We believe that they were operating these entities as a

    12     single economic unit, and so we were seeking to pull all of

    13     the assets involved in each of those entities into the

    14     bankruptcy estate along with Dr. Schneider for the benefit

    15     of creditors.

    16     Q.   Okay.   And Count 2 is alter ego and reverse piercing.

    17     Is that roughly similar theories with similar goals?

    18     A.   Correct.

    19     Q.   Okay.   Now, there's also various fraudulent transfer

    20     claims.   What were some of the assets that you were going

    21     after via these fraudulent transfer claims?

    22     A.   Okay.   The primary assets were what is known as the

    23     "Whispering Winds Ranch," which is property located between

    24     Powell and Cody, Wyoming, that had substantial value; there

    25     was the Tommy Armour house, which is their personal
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     1     residence located in Billings, Montana; and then there

     2     were -- there's the MedPort property.

     3           They purchased a residence in California, the entity

     4     itself purchased that residence in California where

     5     Michelle Schneider resided with Dr. Schneider and their

     6     children.

     7     Q.    And if you --

     8     A.    There were a lot of other assets that I'm not touching

     9     on.   Relatively speaking, they're, they're not

    10     insubstantial, but relative to those assets, their value is

    11     significantly less.

    12     Q.    Okay.   And so those are the main assets you've

    13     identified now.     The complaint lays out the various paths,

    14     I believe, through which you believe the money has gone to

    15     end up in these assets.       Was there a loan from Schneider

    16     Limited Partnership to MedPort that you were trying to

    17     avoid as well?

    18     A.    Yes.    MedPort borrowed money from Schneider Limited

    19     Partnership and then used those funds to -- it was in

    20     excess of the 2 million bucks.        They used those to purchase

    21     the house in California.       Originally, there was a note back

    22     from MedPort to Schneider Limited Partnership that was

    23     subsequently amended that required no payments for a

    24     significant period of time, including interest or

    25     principal.
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     1     Q.   And roughly speaking, was there somewhere between 3 --

     2     somewhere north of $3.5 million went from Schneider Limited

     3     Partnership to MedPort?

     4     A.   Yes.    The house was purchased for about 1.9, and the

     5     other money, I'm not sure where it's gone.

     6     Q.   Okay.   Are there also other claims?        I don't want to

     7     walk through every claim in the amended complaint, but are

     8     there claims for breaches of duties, and conspiracy, and

     9     negligence, and things of that nature?

    10     A.   Yes.

    11     Q.   And all aimed at recovering assets that either flew --

    12     flowed from Dr. Schneider or Schneider Limited Partnership?

    13     A.   Yes.

    14     Q.   Would you say that AP 15 is a complicated case?

    15     A.   Very complicated, it's very complicated.

    16     Q.   What has occurred so far?

    17     A.   Well, got the complaint filed.        There have been -- was

    18     a motion to withdraw the reference.         Judge Waters in the

    19     Federal District Court - (inaudible) - rule on that.

    20          At this point, we haven't engaged in substantial

    21     discovery relative to AP 15.       We are still at the point

    22     where we need a -- the mediation kind of derailed

    23     everything in terms of going forward.         We're really at the,

    24     at the beginning of the process.

    25     Q.   The order on the motion to withdraw the reference that
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     1     Judge Waters issued, it's Tab 6 under Tab A in that

     2     notebook if you, if you need to look at it.          It's --

     3     A.   (Inaudible.)

     4     Q.   -- 290-6.    Basically, what does that order mean for

     5     AP 15?

     6     A.   Well, it means that the Bankruptcy Court and --

     7     currently, Judge Kirscher is to deal with pretrial matters

     8     relative to discovery and is to actually try the issue of

     9     substantive consolidation that's been presented.           The

    10     actual jury trial, though, of this matter will be held in

    11     front of Judge Waters at the federal district court level.

    12     Q.   Okay.   So, in essence, we're going to have to have a

    13     hearing or trial on the substantive consolidation claims in

    14     the bankruptcy court?

    15     A.   Yes.

    16     Q.   And then anything that's remaining, we're going to have

    17     to have a jury trial in district court?

    18     A.   Yes.

    19     Q.   I think you mentioned we have not yet engaged in

    20     substantial discovery.      Is that accurate?

    21     A.   That's correct.

    22     Q.   Do you anticipate that there will be substantial

    23     additional discovery?

    24     A.   I do.   This is, in significant part, an accounting

    25     case, and we're going to have to retain forensic
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     1     accountants.    We're going to have to engage in large

     2     numbers -- we're going to have to engage in a lot of

     3     discovery relative to that accounting that's provided in

     4     the transfers that occurred and the accounting that

     5     occurred between the entities.        We're going to have to take

     6     depositions of the accountants that have been involved in

     7     this matter.

     8          To the extent that it's permitted, we will need to

     9     engage in discovery of the attorneys that were involved

    10     with Dr. Schneider.      There's a lot of issues with respect

    11     to that on attorney-client privilege and who holds it,

    12     whether it's myself or Dr. Schneider.

    13          Kathleen Burrows is in California.        I'm sure that -

    14     (inaudible) - counsel will want to take her deposition.

    15     That will have to be taken care of.

    16          We have all kinds of documents from various banks that

    17     are at issue in these cases that we'll have to wind through

    18     in terms of making sure that we can get all those admitted

    19     into evidence.

    20     Q.   Are there complicated jurisdictional and Stern issues?

    21     A.   Complicated -- sorry?

    22     Q.   Jurisdictional and Stern issues.

    23     A.   Yeah.   It's, it's -- there's a lot of -- there's going

    24     to be appeals, I guess is what's going to happen, from

    25     various rulings that occur.
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     1     Q.   Substantive consolidation, is that a rather complicated

     2     issue?

     3     A.   Oh, yes.

     4     Q.   And are there also numerous issues related to the

     5     corporate interests involved and the ownership and the

     6     spousal interests in the assets?

     7     A.   Yeah, there are a lot of issues with respect to that.

     8     This isn't a simple case where it was just all owned by

     9     Dr. Schneider.     His wife Michelle had an interest in

    10     Schneider Limited Partnership that goes back some years

    11     through her revocable trust and Dr. Schneider's revocable

    12     trust, and then you have the marital interest in the house

    13     in Montana, the marital -- the -- her interest in MedPort

    14     as the spouse.     There's going to be a lot of issues to wind

    15     through.

    16     Q.   Are the funds being vigorously defended?

    17     A.   Yes, they are.     Counsel on the other side, they're good

    18     attorneys, they're smart, they do a good job, they're

    19     thorough.    So far, they have fought us every -- as much as

    20     they can every step of the way, and I fully expect that

    21     they will continue to do that as this proceeds.

    22     Q.   Do you anticipate that AP 15 will be lengthy

    23     litigation?

    24     A.   I do, to finally go through and be able to -- I

    25     think -- I believe we ultimately will recover, but I have
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     1     concerns about that recovery.        For example, Whispering

     2     Winds Ranch is vacate now.       There's maintenance, property

     3     tax.    We want to get that, we want to get it liquidated, we

     4     want to get the assets for the estate.         The Tommy Armour

     5     house is also vacant in Montana, here in Billings.

     6            There's a lot of expenses associated with real

     7     property.    Those assets need to be dealt with as quickly

     8     and as soon as possible.

     9     Q.     And as far as the litigation, do you have any doubt

    10     that if you're successful, there will be a subsequent

    11     appeal?

    12     A.     I have no doubt.

    13     Q.     All right.   The settlement, tell me about how the

    14     settlement came about.

    15     A.     Well, I think all the attorneys recognized that this

    16     was going to be a very expensive procedure.          You know, your

    17     firm has this on a contingency fee basis, but the costs of

    18     litigation are going to be substantial.          I have no doubt

    19     that that -- the costs for AP 15 will eat up all of the

    20     money that the estate currently has from the Burrows -

    21     (inaudible) - and the sale of some other smaller motorized

    22     vehicles.

    23     Q.     Is it, is it essentially -- is that the case on both

    24     sides?

    25            On your side, it's eating up whatever assets the estate
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     1     has.    On the defendant's side, does the ongoing litigation

     2     affect the potential for the value of your future recovery?

     3     A.     Well, I believe so because the defendants are -- they

     4     need to pay their attorneys, and so they're going to be

     5     using assets in every way that they can in order to get

     6     their counsel paid.          And this is going to be expensive

     7     litigation that's going to go on for a long time, and I

     8     have no doubt that it will eat up substantial amounts of

     9     assets that we would like to recover right now in the case,

    10     so --

    11     Q.     Meaning that there's a, kind of a finite pool of

    12     assets, does every dollar spent on litigation decrease --

    13     A.     Yes.

    14     Q.     -- what's available for ultimate recovery?

    15     A.     Yes.

    16     Q.     So the decision was made to engage in a mediation.          Who

    17     was retained to act as mediator for that?

    18     A.     A Leif -- I forgot his last name.       He's --

    19                     THE COURT:    Clark?

    20                     THE WITNESS:    Yes, thank you.   He's a very good

    21     mediator.       We've talked back and forth, reached an

    22     agreement regarding -- (inaudible.)

    23     Q.     (By Mr. Gardner)       Is he a retired judge?

    24     A.     Sorry?

    25     Q.     Is Leif Clark a retired judge?
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     1     A.   Yes, a bankruptcy judge from Texas.

     2     Q.   Okay.   And before engaging in the mediation, did you

     3     consider the creditors' interests or views or talk to their

     4     counsel at all?

     5     A.   I did, and I just want to explain a little bit about

     6     that.   Okay?

     7          I -- the counsel on the other side, the defendants,

     8     wanted to also engage in mediation with respect to AP 20,

     9     the dischargeability complaint, and do those both at the

    10     same time.    Before I agreed to that, I talked with the,

    11     what I'll call the "personal injury claimant's counsel."

    12     Andy Patten primarily is who I was speaking with.

    13          It was my understanding, based on conversations, that

    14     if we were able to get a substantial amount of assets in

    15     the case on the table, that they would consider consenting

    16     to the settlement notwithstanding the fact that

    17     Dr. Schneider wanted to receive his discharge.

    18          Now, I didn't have a written agreement or anything like

    19     that - they wanted to look at the final product - but that

    20     was my understanding going into the settlement.

    21     Q.   And to be fair, they certainly didn't say, "Yeah, we'll

    22     agree," or anything, but from your understanding, was it a

    23     possibility?

    24     A.   Definitely a possibility.       And I did know that I was

    25     going to receive an objection from Meridian and the U.S.
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     1     Trustee's Office, but given the nature of Meridian's claim

     2     and my view on that claim and the deference to the

     3     interests of the creditors, I decided to proceed forward

     4     anyway.

     5     Q.   Okay.   And where was the mediation held?

     6     A.   At the Northern Hotel here in Billings.

     7     Q.   And how long did the mediation last?

     8     A.   Two long days.     We didn't finally get the agreement

     9     signed until around midnight on the second day.

    10     Q.   And was -- sort of very -- I don't want to get into

    11     specifics, but during that process, did you, and your

    12     counsel, and the mediator, and those involved engage in a

    13     thorough, an in-depth consideration of all of the issues

    14     attendant to this litigation?

    15     A.   Yes, we did.    I think so, I think we really did.

    16     Q.   And at the end of the day, a settlement was reached.

    17     You talked earlier about the primary assets.           Sorry, I'm

    18     getting an echo.

    19          Could you look at Trustee's Exhibit 2?         This is

    20     Document 290-2.     And could you turn to page 19?

    21     A.   Yes.

    22     Q.   What is that document?

    23     A.   Well, before we agreed to a settlement, we wanted a

    24     sworn statement from Dr. Schneider and Michelle regarding

    25     the assets that they held, primary assets that they held.
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     1     So in the course of that, this was provided to us, and it

     2     was attached to the settlement agreement.

     3     Q.   This is a list of assets of the debtor, Michelle, and

     4     the various entity defendants that they were asked to come

     5     up with for, for purposes of settlement, correct?

     6     A.   That's correct.

     7     Q.   And generally, is this list consistent with what you

     8     had previously identified in your investigations as the

     9     universe of potential targets for recovery?

    10     A.   Yes.    As I mentioned earlier, it's not down to the

    11     penny, it doesn't take care of minor -- some smaller assets

    12     like vehicles, that sort of thing, but in terms of the

    13     major assets, it is consistent.

    14     Q.   And as far -- you talked earlier about three major

    15     assets.     I want to, I want to run through those really

    16     quick.    There was first the Billings house.

    17     A.   Yes.

    18     Q.   And what's your value on the value of the Billings

    19     house?

    20     A.   I think it's worth about 650,000, roughly.

    21     Q.   Okay.    And is that owned by John and Michelle?

    22     A.   Yes, hm-hmm.

    23     Q.   And is there an encumbrance on the Billings house as

    24     well?

    25     A.   Yes.    The children's trusts hold a -- have a judgment
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     1     lien that they obtained from Wells Fargo Bank that is

     2     against the house.

     3     Q.   And is that somewhere in the 650,000 to $700,000 range?

     4     A.   Yeah, it's a little less than that.         It's -- there's a

     5     little bit of equity in the house over and above that,

     6     but --

     7     Q.   And then the second asset was the Whispering Winds

     8     Ranch.   What is that?

     9     A.   Okay.   At the time that the bankruptcy was filed but

    10     prior to the settlement, it consisted of the main house,

    11     the riding arena, a barn, acreage down in that area, a

    12     guesthouse, and some acreage associated with that.

    13          I'm -- it was worth a substantial amount of money, you

    14     know, well over a million bucks, a million bucks.

    15     Q.   Okay.   And since the bankruptcy has been filed, the

    16     guesthouse and a small portion of the acreage has been

    17     sold?

    18     A.   That's correct.

    19     Q.   And there was an agreement that those funds would be

    20     held in trust pending the outcome?

    21     A.   Yes.

    22     Q.   And how much are those funds?

    23     A.   I was afraid you were going to ask that.          I'm trying to

    24     remember.    I'm thinking it was in the neighborhood of 350.

    25     Is that right?
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     1                   THE COURT:   You have to answer the question.

     2                   THE WITNESS:   Yes, 350,000.     Sorry.

     3     Q.   (By Mr. Gardner)      And those are in my trust account, so

     4     I would know the exact number better than you?

     5     A.   That's correct.

     6     Q.   You're correct.

     7     A.   Thank you.

     8                   THE COURT:   Let's just keep straight who's

     9     testifying here.

    10                   MR. GARDNER:   I apologize, Your Honor.

    11     Q.   (By Mr. Gardner)      The remainder of the Whispering Winds

    12     Ranch is still on the market, correct?

    13     A.   It is.

    14     Q.   And what -- do you recall approximately what kind of

    15     value you placed on the Whispering Winds Ranch or what it's

    16     on the market for?

    17     A.   I believe it was about 1.2 million, right in that

    18     neighborhood.     It's subject to what we can get for it.

    19     1.5, right in that neighborhood.

    20     Q.   Okay.

    21                   THE COURT:   Excuse me.    Is that listed?

    22                   THE WITNESS:   Sorry?

    23                   THE COURT:   Is it listed?

    24                   THE WITNESS:   It is, Your Honor.

    25                   THE COURT:   Okay.
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     1                  MR. GARDNER:    It's listed for 1.749.

     2                  THE WITNESS:    We think, we think we can get that

     3     much, or maybe 1.5.

     4                  THE COURT:    What's it listed for?

     5                  THE WITNESS:    It's listed for 1.7.      We may have

     6     to take a little bit less to get it sold sooner than later.

     7                  THE COURT:    There's debt on the property?

     8                  THE WITNESS:    Sorry?

     9                  THE COURT:    Any debt?

    10                  THE WITNESS:    No.

    11     Q.   (By Mr. Gardner)     Is there a mortgage against the

    12     property, though?

    13                  THE CLERK:    Excuse me, we have lost our recording

    14     equipment again, Judge.       One minute, please.

    15                  THE COURT:    Okay, just a moment.

    16                  (Pause in proceedings.)

    17                  THE CLERK:    Judge, we're back on.      If you could

    18     go back to the amount that it was listed for, is when we --

    19     our equipment shut down.

    20     BY MR. GARDNER:

    21     Q.   Mr. Womack, do you recall approximately what the

    22     remainder of the Whispering Winds Ranch was listed for?

    23     A.   About $1.7 million.

    24     Q.   Okay.   And is it your understanding that the realtor

    25     believes he can achieve somewhere near that number in the
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     1     sale?

     2     A.   Yes.

     3     Q.   Now, could you -- we're looking at Trustee's Exhibit 2.

     4     Could you look at page 2 of that document?

     5     A.   Page 2?

     6     Q.   Yes.

     7     A.   Okay.

     8     Q.   And these are the terms of the settlement.          Could you

     9     look at Paragraph 2(d)?

    10     A.   Yes.

    11     Q.   (Quoted as recorded):      "MedPort shall release its

    12     mortgage against the Wyoming property."

    13          Does that refresh your recollection about whether or

    14     not there was a mortgage against the Whispering Winds

    15     Ranch?

    16     A.   Yes.

    17     Q.   And it was held by MedPort?

    18     A.   Yes.

    19     Q.   Okay.   And then the other major asset, I believe you

    20     mentioned the California house.

    21     A.   Yes.

    22     Q.   And who is that owned by?

    23     A.   MedPort.

    24     Q.   And do you recall approximately what the purchase price

    25     of that home was?
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     1     A.   1.2 million, I believe.

     2     Q.   Okay.   Now, I want to walk through the specific terms

     3     of the settlement for AP 15, and we'll just walk through

     4     these paragraphs.     Paragraph 2(a), in settlement of AP 15,

     5     what happens to the Billings house?

     6     A.   It becomes property of the bankruptcy estate.           That

     7     includes Michelle's one-half interest, Dr. Schneider's

     8     one-half interest.      The liens against that property held by

     9     the irrevocable children's trust is released so that the

    10     entire value comes into the bankruptcy estate.

    11     Q.   And that happens through the settlement of both AP 15

    12     and AP 20, correct?

    13     A.   Correct.

    14     Q.   And as far as AP 20, what portion was attributed to

    15     AP 20, the settlement of that?

    16     A.   We estimated that at $450,000, based on the $250,000

    17     homestead exemption that could be claimed by John and

    18     Michelle Schneider, and the one-half interest in the

    19     remainder equity property held by Michelle Schneider.

    20     Q.   Okay.   So any equity above that 450 is attributable to

    21     the AP 15 settlement?

    22     A.   That's correct.     That's the difference between the 450

    23     and the 650.

    24     Q.   Okay.   And 2(b), I think you already mentioned that the

    25     children's trust released the judgment lien.           Correct?
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     1     A.   That's correct.

     2     Q.   2(c), what is 2(c)?      What happens with the Whispering

     3     Winds Ranch?

     4     A.   The Whispering Winds Ranch also comes into the

     5     bankruptcy estate.      Any mortgage or liens held by MedPort

     6     or any other entities are released so that the estate has

     7     that property free and clear of, of those interests.

     8     Q.   And at -- on the Whispering Winds Ranch, is it your

     9     understanding that the realtor has actually had some

    10     inquiry and interest in recent weeks?

    11     A.   Recently, he has.      Actually, and I want to say that the

    12     realtor did indicate recently that he felt that if we're

    13     patient, we could get the full listing price for that.             We

    14     need to be patient about that.

    15     Q.   Okay.

    16                  THE COURT:    Mr. Gardner, could you go back on the

    17     Billings house and just clarify again with just a couple of

    18     questions, maybe, as it relates to the 450, the 200, the

    19     650, and the allocation that has been commented about

    20     between 15-15 and 15-20?

    21                  MR. GARDNER:    Yes.   And, Your Honor, if you want

    22     to clear something up if I don't ask it correctly, feel

    23     free to interrupt me.

    24     Q.   (By Mr. Gardner)     What is the value of the Billings

    25     house?
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     1     A.   About 650,000 is our estimate.

     2     Q.   And do the debtor and Michelle Schneider claim a

     3     $250,000 homestead in that house?

     4     A.   They do.

     5     Q.   And does Michelle Schneider also claim a half-interest

     6     in any equity above the 250,000?

     7     A.   She does.

     8     Q.   And so if the value is 650,000 and the homestead is

     9     250,000, there's how much in equity?

    10     A.   Four hundred thousand.

    11     Q.   Okay.    And so Michelle claims 200,000 of that equity?

    12     A.   Correct.

    13     Q.   Okay.    And so as far as AP 20 from the Billings house,

    14     what value is attributed to the settlement of AP 20?

    15     A.   Dr. Schneider's half-interest in the house, including

    16     the homestead portion -- or, excuse me, the $250,000

    17     homestead declaration portion from both Michelle and

    18     Dr. Schneider, and the $200,000 from Michelle for her

    19     equity interest over and above the homestead.

    20     Q.   Okay.    So that's attributable to what was provided to

    21     settle the discharge action, correct?

    22     A.   Right.     Our analysis was that it would be difficult, if

    23     not impossible -- it would be very difficult; not

    24     necessarily "impossible," but difficult to get Michelle's

    25     half interest in that homestead property.          And it would
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     1     all -- it would be equally difficult and probably

     2     impossible to get the homestead portion of that property.

     3     Q.   Okay.    And that's why it was attributable to settlement

     4     of the non-discharge action.

     5     A.   That's correct.

     6     Q.   Okay.

     7     A.   We wanted something that was something that we didn't

     8     think creditors or the estate could get either through

     9     AP 15 or, if discharge is denied, in subsequent actions by

    10     creditors or the estate, some property and value that they

    11     could get.

    12     Q.   Okay.    And so the remaining, you believe, value is

    13     200,000, and that is the debtor's interest in the equity

    14     which is attributable to AP 15?

    15     A.   That's correct.

    16                  MR. GARDNER:    Okay.   Your Honor, did --

    17                  THE COURT:    Yeah, thank you.

    18     Q.   (By Mr. Gardner)     2(e) on the settlement agreement is

    19     simply a cooperation clause.

    20          2(f) deals with the approximately $350,000 in the trust

    21     account.     And tell me what happens with that 350,000.

    22     A.   Well, 60,000 goes to the estate and 290 to Michelle,

    23     but if we have -- we also -- that interacts with (g) and

    24     (h) below.

    25     Q.   And tell me about that.      (g) and (h) deal with this
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     1     thing called a "KBR REIT."       What is that?

     2     A.   Schneider Limited Partnership had an investment in a

     3     real estate investment trust of some sort.          There were some

     4     questions about being able to liquidate that interest, how

     5     long it might take to do that.        So we had a dollar value

     6     for that investment trust.       It was agreed that we would get

     7     the proceeds from that.

     8     Q.   What was the dollar value of that?

     9     A.   It was about $180,000.

    10     Q.   And if it turned out that that investment was illiquid,

    11     couldn't be liquidated, then what happened?

    12     A.   We would get the money from the money -- get the money

    13     from the Goetz law firm trust account rather than that.

    14     Q.   Okay.   So in the event the KBR REIT is illiquid and

    15     can't be liquidated, then the estate gets 240,000 from the

    16     moneys held in the trust account, correct?

    17     A.   That's correct.

    18     Q.   And Michelle would get the remaining 110,000.

    19     A.   That's right.

    20     Q.   All right.    2(i), there's a $123,000 tax refund.         What

    21     happens with that?

    22     A.   Split between the parties, between the trustee, the

    23     estate, and Michelle Schneider.

    24     Q.   Okay.   2(k), the assignment of the interest in

    25     Schneider LP and Schneider Management, what happens with
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     1     that?

     2     A.   That all goes to Michelle Schneider.

     3     Q.   Okay.    And as it stands now, is there -- other than the

     4     note from MedPort and the assets the estate's getting in

     5     the settlement, is there much value left in those entities?

     6     A.   Not in -- well, not in my opinion.        There is --

     7     Schneider Limited Partnership does have a claim against

     8     Meridian that it's pursuing, and so that -- it will retain

     9     that.   I don't, I really don't have -- I don't know --

    10     there's a lot of factual issues in that claim.           I couldn't

    11     attribute any of significant value to Schneider Limited

    12     Partnership's --

    13     Q.   That's in the Meridian arbitration.         And there's claims

    14     by it against Meridian and also by Meridian against,

    15     against the entity?

    16     A.   Right.

    17     Q.   Okay.    And so the estate's assigning those to Michelle,

    18     correct?

    19     A.   Correct.    There's also a lot of expense attendant to

    20     pursuing those claims on behalf of Schneider Limited

    21     Partnership.

    22     Q.   2(l), tell me about Paragraph 2(l).         First of all, it

    23     says:

    24                   The trustee shall abandon any and all interest in

    25     any claims that the estate might have against the following
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     1     third parties.

     2          (i) is:   Claims against any third-party professionals

     3     who are prepared to advise the debtor on any matter prior

     4     to the commencement of the bankruptcy estate.

     5          Did you investigate potential claims that would fall

     6     within those categories?

     7     A.   Yes.

     8     Q.   And what, what kind of third parties are we talking

     9     about as potential targets in those claims?

    10     A.   Attorneys and accountants.

    11     Q.   And based on your investigation, did you perceive a lot

    12     of value to the estate?

    13     A.   No.

    14     Q.   And did you perceive that possibly there's potential

    15     claims?

    16     A.   Yes.

    17     Q.   Why did you not perceive that there was substantial

    18     value to the estate in those claims, and thus you were

    19     willing to assign them as part of this settlement?

    20     A.   Because if we're successful in AP 15 and setting aside

    21     all of these transfers and recovery against them, then the

    22     work that they did with respect to the estate planning and

    23     asset protection wasn't very good and the estate wasn't

    24     really harmed necessarily by that.         On the other hand, if

    25     we were not successful and they did a good job, then there
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     1     wasn't any malpractice.

     2     Q.   And would persuing those claims require substantial

     3     additional litigation?

     4     A.   Substantial additional litigation.        They would be

     5     vigorously defended.      The costs would be high, and I didn't

     6     think it was worth it to the estate to go after them at

     7     this -- (inaudible.)

     8     Q.   And given the ongoing litigation expenses of AP 15,

     9     does the estate have enough funds to also fund separate

    10     litigation against other third parties?

    11     A.   No.   The only way we would have enough funds to do that

    12     is if we were successful in AP 15.         Then we would be

    13     looking at statute of limitation issues, problems in that

    14     regard.

    15     Q.   Okay.    So your conclusion was:      Overall, it was not

    16     something of substantial value you were giving up in the

    17     settlement?

    18     A.   That's correct.     But it was worth something to

    19     Dr. Schneider and Michelle, so we gave that to them.

    20     Q.   And what about (2), claims of Schneider LP, Schneider

    21     Management, MedPort, BSC, NRMS, and the children's trusts?

    22     A.   Well, we already talked about those.         Those were just

    23     generally designed to clean up any possible claims that any

    24     of those entities might have against any other individual.

    25     The only principal one that I saw there was Schneider
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     1     Limited Partnership against Meridian.

     2     Q.   And the point of the settlement was to give a clean

     3     break between the estate and these various entities it's

     4     settling with?

     5     A.   That's right.    I mean, you know, MedPort had a lien

     6     against the Whispering Winds Ranch, and the children's

     7     trusts had liens against the house in -- Tommy Armour

     8     house.   That obviously is being given up, those are gone.

     9     Any other claims they might have between each other, they

    10     can just deal with it all.

    11     Q.   Okay.    And then (n) -- or actually, (l)(iii), the

    12     claims against Meridian --

    13     A.   Right.

    14     Q.   -- is that what you talked about earlier, first on the

    15     individual claims the -- that are assigned to the debtor?

    16     A.   Yes.

    17     Q.   And in return for getting those individual claims, what

    18     does the debtor have to do with respect to Meridian's claim

    19     back against the estate?

    20     A.   That's dealt with in Paragraph 3(ii):         In the event the

    21     estate's claims abandoned to him or settled, the settlement

    22     requires that Meridian withdraw its proof of claim in the

    23     Schneider bankruptcy estate.

    24     Q.   Okay.    And is the debtor also required to fully defend

    25     that claim in good faith?
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     1     A.   Yes.

     2     Q.   Okay.

     3                  THE COURT:    What if, what if he doesn't?

     4                  THE WITNESS:    Good question, Your Honor.        I think

     5     we would have a claim against him for breach of the

     6     agreement, but beyond that, there's no provision in the --

     7     specifically talking about liquidated damages or otherwise.

     8     Q.   (By Mr. Gardner)      The claim back against him, those two

     9     claims in that arbitration, are they essentially mirrors of

    10     each other?

    11     A.   Basically.

    12     Q.   And so if Dr. Schneider is successful in pursuing his

    13     individual claim against Meridian, does that essentially,

    14     in effect, defeat Meridian's claim back against the estate?

    15     A.   Yeah.

    16     Q.   And was that a consideration in agreeing to this

    17     provision?

    18     A.   Yes.

    19     Q.   I mean, in essence, can you envision a scenario where

    20     the liability goes both ways?

    21     A.   Yes.    If there is liability, I would think that it

    22     would go both ways.       I think Meridian might have a claim

    23     against Schneider and Schneider against him.

    24                  THE WITNESS:    This has been a difficult area for

    25     me, Your Honor.     Early on, I assessed the claim, decided I
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     1     didn't have any money to defend it.         I talked to a number

     2     of attorneys about handling it on a contingency fee basis.

     3     They all refused.

     4                 So Meridian filed its motion to modify stay, and

     5     so we agreed to that so they could go forward with the

     6     arbitration and deal with that.        I just don't have the

     7     money to participate in the arbitration.          I'm aware of the

     8     problems associated with that.        (Inaudible) -- $3 million

     9     claim in the bankruptcy, and I feel like I'm a little bit

    10     hogtied in terms of dealing with it.

    11     Q.   (By Mr. Gardner)     Addressing the judge's concern,

    12     Dr. Schneider has an incentive to vigorously pursue his

    13     claim, individual claim against Meridian because he's

    14     getting that in this settlement, correct?

    15     A.   Yes.   And it's my understanding and belief that he

    16     believes that that claim has value and that he intends to

    17     do that.

    18     Q.   And in vigorously pursuing that claim against Meridian,

    19     if he's successful on that, in effect doesn't that

    20     necessarily defeat their claim against, back against the

    21     estate?

    22     A.   Right, their claims and counterclaims against each

    23     other, they derive from the same factual set of facts.

    24     Q.   And did that provide you some confidence that the claim

    25     against the estate will, in fact, be defended in good
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     1     faith?

     2     A.   Some.

     3                  THE COURT:    Well, was that claim against him a

     4     prepetition claim that will be discharged?

     5                  THE WITNESS:    Yes, but the concern was that the

     6     claim against -- against him, it could be discharged, but

     7     there's a right of offset, is there not, even so regardless

     8     of the discharge within the arbitration?          I think.

     9                  And my concern was if the -- now, if he -- if

    10     they're successful against him and he's not against them,

    11     so be it, then that's a claim the bankruptcy estate --

    12     (inaudible.)

    13     Q.   (By Mr. Gardner)     And let's, let's touch on that a

    14     little more.    As you understand the Meridian litigation,

    15     would it be fair to say that there's Dr. Schneider and

    16     Schneider LP and the other investors who claim that the

    17     center failed because of what Meridian did?

    18     A.   What they failed to do.

    19     Q.   Or what they failed to do.       On the other side of it, is

    20     Meridian claiming that it failed because of what

    21     Dr. Schneider did?

    22     A.   Yes.

    23     Q.   Okay.   And so in order to be successful, Dr. Schneider,

    24     Schneider LP, and the other investors all have to prove

    25     that it failed because of what Meridian didn't do versus
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     1     what Dr. Schneider did, correct?

     2     A.   Yes.

     3     Q.   And so besides Dr. Schneider defending his actions, are

     4     the other investors also --

     5                 MR. JAMES:     I'm going to object, Your Honor.

     6     These questions are leading, and it would appear that

     7     Mr. Gardner is testifying rather than the trustee.

     8                 THE COURT:     I'll sustain that.

     9                 MR. GARDNER:     Okay.

    10     Q.   (By Mr. Gardner)     You're more familiar with the

    11     Meridian litigation than I am, correct?

    12     A.   Yeah, I think so.     I've been --

    13     Q.   Do the other parties on the same side of the "v." as

    14     Dr. Schneider --

    15                 THE CLERK:     Excuse me, Mr. Gardner, I'm going to

    16     stop you again.     We've lost our recording.

    17                 I'm so sorry, Judge.

    18                 (Pause in proceedings.)

    19                 THE CLERK:     Mr. James, if you could please state

    20     your objection again.

    21                 MR. JAMES:     Yes.   Doug James, object on the

    22     grounds that the questions are leading and that Mr. Gardner

    23     appeared to be testifying instead of the trustee.

    24                 THE COURT:     And I sustained it.

    25                 But I have a question for you, Patti.          This is as
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     1     it relates to CourtSpeak and not as to our recording

     2     system, right, FTR Gold?

     3                 THE CLERK:     No, Judge.    We're having trouble with

     4     FTR Gold.    They put a new computer in here.

     5                 THE COURT:     Okay, okay.

     6                 THE CLERK:     And we've had Ali [phonetic] down

     7     here twice, Your Honor, and she can't really figure it out.

     8     It quits for like 30 seconds and then starts up again.               So

     9     I'm deeply sorry to all the parties.

    10                 THE COURT:     (Inaudible) -- posted.

    11                 THE CLERK:     Will do, Your Honor.

    12                 THE COURT:     Mr. Gardner, I think you had then

    13     went on to indicate that Mr. Womack had probably as much

    14     information about the Meridian claims as anyone, and you

    15     were --

    16                 MR. GARDNER:     Certainly more so than me.        I'm

    17     just trying to ask the right questions, and I'll rephrase

    18     the question.

    19                 Are we back on?

    20                 THE COURT:     We are back on, as I understand it.

    21                 MR. GARDNER:     Oh, okay.

    22     Q.   (By Mr. Gardner)     In agreeing to assign this claim to

    23     Dr. Schneider as part of the settlement and getting back

    24     his covenant that he would defend the claims in good faith,

    25     besides his personal incentive to defend those claims as
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     1     part of his prosecution, were there any other factors about

     2     the arbitration that gave you some comfort that the claims

     3     against the estate would be adequately defended?

     4     A.   Some comfort.    I want to -- I mean, I need to be clear

     5     here.   I'm not confident that Dr. Schneider is capable of

     6     adequately defending this really, but there are some, there

     7     are some factors that make me - (inaudible) --

     8                 THE COURT:     Mr. Womack, you might pull that mic a

     9     little closer.

    10                 THE WITNESS:     -- yeah, that, that they'll be

    11     dealt with properly.

    12                 As I testified earlier, Meridian Surgical

    13     Partners, there were two entities.         There was one from

    14     Nashville, Tennessee, and then there was one formed in

    15     Montana for the purposes of working with doctors from the

    16     Cody area, including Dr. Schneider, to build the Omni

    17     center, surgical center.

    18                 Part of that required that they get transfer

    19     agreements in order to transfer patients, if they needed

    20     them, to emergency room and hospital care services.            They

    21     never were able to get that.       So even though they built the

    22     surgical center, they were never able to open because they

    23     did not have a transfer agreement.

    24                 The whole transaction broke down at that point in

    25     time and the parties were then engaged in determining who
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     1     was at fault, who was responsible for getting the transfer

     2     agreement, and why it wasn't obtained.

     3                 The doctors and the investors in the project --

     4     the actual investors in the project were blaming Meridian

     5     Surgical Partners, the two entities, saying that they were

     6     responsible to get it.      And Meridian Surgical Partners

     7     first denied that they were primarily responsible and then

     8     they also have pointed to Dr. Schneider and said that his

     9     actions throughout this transaction were responsible for

    10     the denial of the transfer agreement.

    11                 They have pointed to the fact that he was a

    12     surgeon in Billings, Montana, at both -- had privileges at

    13     both hospitals.     He left, under what circumstances are

    14     unclear.    He was not able to go back and have privileges

    15     there.   He was not willing to go back and obtain privileges

    16     there for purposes of the Omni center because he would be

    17     on all for 24 hours a day.

    18                 The medical doctors were saying that Meridian

    19     assured them that they would be able to get it, the

    20     transfer agreement, and they would be able to open without

    21     any of them having to be admitted and be on call for 24

    22     hours a day.

    23                 So when Dr. Schneider had problems in Wyoming

    24     with what I'll refer to as "Jimmie Biles libel litigation,"

    25     it became public that, that -- that's a whole other story,
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     1     but he lost his -- he was sued by an orthopedic surgeon

     2     named Jimmie Biles for slander and libel.          Ultimately, that

     3     case was settled.     His attorney was censured for failure,

     4     for basically failing to disclose --

     5                  MR. COSSITT:    Objection, Your Honor.       This answer

     6     goes far beyond the scope of the question, and it's

     7     rambling, and now it's getting into information that is not

     8     necessary for the Court's consideration under the

     9     four-factor test.

    10                  But the initial objection is:       Far outside the

    11     scope of the question.

    12                  THE COURT:    I'll sustain that.

    13                  THE WITNESS:    Sorry, Your Honor.      I'm just trying

    14     to get some background --

    15                  THE COURT:    I understand.

    16                  THE WITNESS:    -- as to what happened --

    17                  THE COURT:    I understand.

    18                  THE WITNESS:    -- and what the substance of the

    19     Meridian arbitration claims and defenses are.

    20     Q.   (By Mr. Gardner)     Are there other parties represented

    21     by counsel in the Meridian arbitration that also have an

    22     interest in defending Dr. Schneider's action and proving

    23     that it was Meridian's fault?

    24     A.   Yeah.   Schneider Limited Partnership is one of those

    25     parties and the other medical doctors are involved in that.
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     1     And they defend and state that it was not Dr. Schneider's

     2     actions that resulted in the failure to get the transfer

     3     agreement.

     4     Q.   And is that something you considered in agreeing to

     5     this provision of the settlement?

     6     A.   Yeah, it was.

     7     Q.   Okay.   Paragraph 2(m):     The trustee shall abandon any

     8     and all interest in MedPort, NRNS, and BSC.

     9          To your knowledge, is there anything -- does BSC have

    10     anything?

    11     A.   Nothing.

    12     Q.   What about NRNS?     What was Dr. Schneider's surgical

    13     practice.

    14     A.   The "NRNS" stands for Northern Rockies neurological --

    15     or Neuro-Spine.     That was the operating entity that

    16     Dr. Schneider used to work as a surgeon.          That entity does

    17     have some claims that were noted by Dr. Schneider in his

    18     schedules; however, if I, if I take over Northern Rocky

    19     Neuro-Spine, there are a lot of issues with respect to

    20     that:   HIPAA issues regarding patient records, there are

    21     problems with those claims, and it was my evaluation that

    22     the value of any claims that NRNS had were far exceeded by

    23     its potential liabilities and costs of administration.

    24     Q.   Now, the third one is MedPort.        You're abandoning any

    25     claim to MedPort on -- essentially, what does MedPort own?
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     1     A.   The house in California.

     2     Q.   And you're giving up your claim to that house, correct?

     3     A.   That is correct.

     4     Q.   Is, is that really the meat and potatoes of the

     5     settlement?

     6     A.   It is.

     7     Q.   Okay.    And that was -- so you get the other major

     8     assets for the estate that you had identified, and they

     9     keep the house in California.

    10     A.   That's right.

    11     Q.   Okay.    Is the settlement -- well, we should probably

    12     walk through the rest of these provisions.

    13          2(n), they stipulate that the, the causes of actions

    14     asserted by the trustee are property of the bankruptcy

    15     estate to the exclusion of any creditor.          What was the

    16     purpose of that provision?

    17     A.   Defendants wanted to ensure that they would not be

    18     faced with, excuse me, other claims made by creditors

    19     outside the bankruptcy against them.         And I'm not talking

    20     about Dr. Schneider but the other entities that creditors

    21     would not go against Schneider Limited Partnership,

    22     MedPort, and the other entities that were not owned or

    23     controlled by Dr. Schneider, and that any of these claims

    24     were solely property of the bankruptcy estate.

    25     Q.   Because the trustee and the estate had already brought
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     1     these claims in AP 15, correct?

     2     A.   Right.

     3     Q.   And so they wanted assurance that they wouldn't face

     4     the same litigation they were settling from some other

     5     party; is that --

     6     A.   That is my understanding.

     7     Q.   (o):   The trustee shall request an order of the Court

     8     that authorizes and directs the trustee not to share with

     9     any other person or entity any work product with respect to

    10     this adversary.

    11          It also contains a substantial exclusion allowing you

    12     to comply with your duties in any order of the Court.            Tell

    13     me about that provision.

    14     A.   Again, they were concerned about tangential claims

    15     being brought against attorneys, entities; did not want the

    16     work product and information that I obtained to be shared

    17     with other parties so that they could be used for those

    18     purposes.

    19          However, I pointed out that as a trustee, I've got a

    20     substantial number of duties that require me to provide

    21     information to taxing authorities, to the U.S. Trustee's

    22     Office, whether it be pursuant, you know, to any kind of

    23     concerns that they may have, other federal agencies.            So if

    24     I have a job to do as a trustee, then I can provide the

    25     information and give that to them.
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     1     Q.    And it also provides that you can comply with court

     2     orders and enforceable subpoenas, obviously, correct?

     3     A.    Of course.

     4     Q.    (p):   The trustee agrees in good faith to seek Court

     5     approval of this agreement.

     6           That's self-explanatory.

     7           (Quoted as recorded):     "The trustee agrees he will

     8     accept assignment of real estate listing agreements

     9     executed with respect to the Billings house and the Wyoming

    10     property."

    11           What was the purpose of that?

    12     A.    Well, Dr. Schneider went out and listed the house in

    13     Billings for sale and --

    14                  MR. COSSITT:    Objection, Your Honor; relevance.

    15     This testimony, while interesting, is not relevant to the

    16     four legal standards in the A & C factors test and

    17     accordingly is outside the scope of relevance for this

    18     proceeding.

    19                  THE COURT:    I'm going to overrule that because,

    20     in fact, there's an assignment of these agreements to the

    21     trustee under this agreement.        I want to know what's going

    22     on.

    23                  THE WITNESS:    Dr. Schneider and Michelle went and

    24     listed the Tommy Armour house for sale with a realtor and

    25     signed a listing agreement with him postpetition.            They
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     1     were concerned about that, that I would take that over so

     2     that the realtor, Ron Thom, would not have a claim against

     3     them.

     4     Q.   (By Mr. Gardner)     And the Wyoming property is on the

     5     market as well.     That's owned by the children's trust, and

     6     so they just didn't want any breach provisions against the

     7     trust for that listing agreement?        Is that accurate?

     8     A.   Yeah, same reason.

     9     Q.   On (r), the caveats to the - (inaudible) - releases,

    10     what is (r)(i)?

    11     A.   Well, that's the disclosure provision that if, if an

    12     asset has not been disclosed, as set forth in the exhibit

    13     that we talked about earlier, that I was not precluded from

    14     pursuing that asset or claim against the defendants.

    15     Q.   So if there are other assets which you have not been

    16     made aware of yet that are out there, then you still have

    17     the power to go after them, correct?

    18     A.   Correct.

    19     Q.   Okay.   Three is general mutual release of claims

    20     language.

    21          Four, that's the contingency provision --

    22     A.   Correct.

    23     Q.   -- that implementation of this settlement is contingent

    24     on approval of the AP 20 settlement.         Whose -- who demanded

    25     that provision?
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     1     A.   The defendants did.      Dr. Schneider's counsel required

     2     that in order to reach any settlement agreement.

     3     Q.   Were you opposed to such a provision?

     4     A.   Yes.

     5     Q.   Was it a necessary provision in order to finalize the

     6     settlements?

     7     A.   Yes.    If I had not done that, nothing would have

     8     happened.

     9     Q.   So if AP 20 is not -- that settlement is not approved

    10     under the terms of this settlement agreement, this

    11     settlement agreement is also void.

    12     A.   That's correct.

    13     Q.   Okay.   Tell me about AP 20.

    14     A.   Okay.   Well, I've already talked about the claims that

    15     were brought in AP 20.      Pursuant to that, we -- as

    16     discussed, the estate gets a value that we put at about

    17     $450,000.    Dr. Schneider is entitled to receive his

    18     discharge in the case.

    19     Q.   Okay.   Does AP --

    20     A.   (Inaudible.)

    21     Q.   Does AP 20 involve a lot of the same factual issues as

    22     AP 15?

    23     A.   Yes, and some additional ones.

    24     Q.   Okay.   Do you consider AP 20 to be complex?

    25     A.   It -- not as complex as AP 15, frankly.         I think that I
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     1     can bring AP 20 to conclusion without it being as

     2     complicated as AP 15, but I'm sure that defense will be

     3     vigorous, will require significant discovery and a number

     4     of witnesses, expert witnesses in order to fully litigate

     5     it.

     6     Q.    Okay.   And who has the burden of proof in AP 20?

     7     A.    I do.

     8     Q.    And are you being paid by -- on an hourly basis by the

     9     estate to pursue this?

    10     A.    Yes.

    11     Q.    And do you have any doubt there will be an appeal if

    12     you're successful in AP 20?

    13     A.    I'm sure that it will be appealed.       Dr. Schneider is --

    14     he wants to try to get a discharge if at all possible.             His

    15     counsel are good, and they'll use every legal means that

    16     they have to try to get him that discharge.

    17     Q.    The settlement that was reached, it's Trustee's

    18     Exhibit 1.    Was that reached through the same mediation

    19     process?

    20     A.    Yes.

    21     Q.    Okay.   And you -- we've, I think we've covered what the

    22     estate is getting out of the settlement of the

    23     non-discharge action.      So between the two settlements of

    24     AP 15 and AP 20, can you roughly estimate the value to the

    25     estate that you believe is being provided?
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     1     A.    About 2.5 million bucks.

     2     Q.    Okay.    And in your investigation of the universe of

     3     assets that are remaining out there that you think you have

     4     claims to or essentially all of the assets of the

     5     defendants in the actions, about how much did they add up

     6     to?

     7     A.    Well, around $4 million, a little over $4 million.

     8     Q.    Okay.    And so based on the investigation that you've

     9     done, are you getting more or less than half of what you

    10     perceive potential assets out there at this time are?

    11     A.    I believe we're getting more than half, so I feel like

    12     it's a fair settlement from a dollars standpoint.

    13     Q.    Okay.    That's where I want to go now, are the four

    14     factors.      We've talked about a lot of this, but I want to

    15     touch on all of them.

    16           The first factor is probability of success on the

    17     merits.      Let's first talk about AP 15.     What's your view on

    18     the probability of success on the merits on AP 15?

    19     A.    I think we'll win, but I think that there are a lot of

    20     issues and the amount of the recovery is questionable in

    21     AP 15.    I think that it could be less than what we've

    22     agreed to settle for here.

    23     Q.    Let's zero in on that.     There's a multitude of claims

    24     in AP 15, correct?

    25     A.    Yes.
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     1     Q.   And do you believe you'll be successful on some of

     2     them?

     3     A.   Yes.

     4     Q.   Do you -- are there numerous complicated issues?

     5     A.   There are many complicated issues with accounting,

     6     legal issues between husband and wife, corporations,

     7     transfers; a lot of complications.

     8     Q.   And are the defendants -- do they have a lot of

     9     affirmative defenses and are they vigorously defending?

    10     A.   Yes, they are.

    11     Q.   Is it going to require substantial expert testimony?

    12     A.   Yes.    As we've already -- as I've already testified to,

    13     we're going to have to retain forensic accountants to

    14     assist us.     That will be expensive.      The other side will do

    15     the same.     It will require numbers of -- quite a few

    16     depositions be taken.      It's, it's going to take a long time

    17     to go through and deal with all the legal issues, factual

    18     issues, all those things.

    19     Q.   And is whether or not you're successful in the

    20     litigation going to depend to some extent on how that

    21     expert testimony comes in?

    22     A.   Yes.

    23     Q.   Now, you talked about that you do believe you'll be

    24     successful on some claims or even a good portion of, of the

    25     claims.     Even if you are successful on a good portion of
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     1     the claims, do you believe they'll -- the ultimate recovery

     2     from the estate will be better than what this settlement

     3     is?

     4     A.    I don't think so.    I think that that's where everybody

     5     that's opposed to this is, I think they're under a --

     6     there's a husband and wife involved here.          Michelle

     7     Schneider has an interest that, that existed prior to the

     8     time that Dr. Schneider's problems began.          I have a hard

     9     time believing that the Court's going to totally ignore

    10     that and say that the estate can hit a home run and get

    11     everything that we've got here.

    12           So I think that what we've negotiated here as far as a

    13     settlement is as much or more than what we could get -- is

    14     likely we could get at trial.        That's not to say that we

    15     couldn't get more, but I think that this is, this is a good

    16     result that we have here today for AP 15.

    17     Q.    And would it be fair to say that there's, there's

    18     numerous conditions and factors that go in -- when you say,

    19     "yeah, we'll be successful on the merits of some of the

    20     claims," is there just a multitude of varying levels of

    21     success and how that greatly affects the overall recovery?

    22     A.    Yes.   I can't even go through them all.       There's so

    23     many factors involved here.

    24     Q.    And so the bottom line in probability of success on the

    25     merits, would it be fair to characterize it as:           Yeah,
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     1     you'll succeed, you'll --

     2                  MR. JAMES:    Objection, Your Honor.      Again, these

     3     questions are leading and --

     4                  THE WITNESS:    I think I've already testified

     5     to --

     6                  THE COURT:    Just a moment.

     7                  MR. JAMES:    -- you're, you're testifying rather

     8     than the trustee.

     9                  THE COURT:    I'll sustain that.

    10                  MR. GARDNER:    Okay.

    11                  THE COURT:    You can rephrase your question.

    12                  MR. GARDNER:    All right.

    13     Q.   (By Mr. Gardner)     Are you at all confident that success

    14     on the merits of some of the claims will lead to a better

    15     net result?

    16     A.   No, I'm not.

    17     Q.   Okay.    On AP 20 -- or -- AP 20, the non-discharge

    18     action, do you believe in your claims?

    19     A.   Yes.

    20     Q.   Do you believe the defense will fight hard?

    21     A.   Yes.

    22     Q.   Is it an important matter to Dr. Schneider?

    23     A.   Very important.

    24     Q.   Is there risk of loss in that AP 20 litigation?

    25     A.   There's always risk of loss in any litigation.
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     1     Q.   The second factor is the difficulties, if any,

     2     encountered in the collection of any judgment that might be

     3     obtained.

     4          As to AP 15, even if you are ultimately successful,

     5     what are some of the concerns you have about actually

     6     collecting on judgments at the end of the day?

     7     A.   Depletion of assets, hiding of assets, assets being

     8     depleted and, and disappearing over time, expenses involved

     9     in real property, maintaining -- paying property taxes,

    10     those kinds of things until they can get liquidating, all

    11     those kinds of things.      We've talked about that earlier,

    12     and those are all concerns that I have.

    13     Q.   This -- breaking them down one at a time, this universe

    14     of assets that we have, the defendants, the various

    15     entities, they have some liquid assets.          Do you believe any

    16     of those presently liquid assets will be available years

    17     down the road if you're successful in getting a judgment?

    18     A.   Not if it goes on for a couple of years.          I mean, for

    19     example, the real estate trust money that's available, I

    20     think they can go at -- they can, they can get into that

    21     and they'll try to spend it.

    22          We do have the money tied up from the sale of the

    23     property, so that's protected, but yeah, I have concerns

    24     about them liquidating property and taking it and spending

    25     the money.    It's assets -- it's easy -- you know, it's not
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     1     easy to get a judgment, but just because you have a

     2     judgment doesn't mean you're going to be able to collect on

     3     that judgment.

     4     Q.   Well, and will all of the defendants during the course

     5     of this litigation have attorney's fees to pay?

     6     A.   Absolutely, and they're also going to have costs of

     7     litigation to pay for:      Expert witnesses themselves, costs

     8     and expenses of travel, depositions, transcription, all of

     9     those things.

    10     Q.   And, now, as far as the real estate that's potentially

    11     available to satisfy judgments, do you have concerns about

    12     maintaining the value of that real estate or the expense of

    13     upkeep on that real estate and who's going to do it during

    14     the pendency of the litigation?

    15     A.   I do.   The Whispering Winds Ranch is even a bigger

    16     concern than the Tommy Armour house.         It's, it's out in

    17     the, you know, it's out in the rural area, it's got

    18     acreage, it has the big riding arena as well as a home.

    19     It's a log house that needs to be chinked and sealed, the

    20     rats kept out of it.      You know, somebody has to go in and

    21     take care of those things until we can hopefully get it

    22     sold.

    23          If you lease it out, there's concerns about tenants.

    24     There's, there's alfalfa pasturage, there's grazing land --

    25     or area, there's a trout pond that needs to be aerated
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     1     that's going to get taken over with weeds and algae.

     2     There's just a lot of practical expenses and problems that

     3     go along with the real estate, particularly the Whispering

     4     Winds Ranch.

     5          There are some concerns about the Tommy Armour

     6     property.    I've talked with the neighbors.        They were

     7     concerned that the yard wasn't being maintained as well as

     8     it should be; although, Doc Schneider has done some work on

     9     that, but again, it didn't look -- it needed some work and

    10     tending.    It's going to need mowing, watering, you know,

    11     weeding.    All those kind of things have to be taken care of

    12     until it gets sold.

    13     Q.   And if, if these --

    14                 THE COURT:     Well, but aren't those the things

    15     that you're going to be doing anyway if this settlement is

    16     approved?

    17                 THE WITNESS:     I am, but then there's no question

    18     that I can get it done.

    19                 THE COURT:     Who's --

    20                 THE WITNESS:     You're right.

    21                 THE COURT:     Who's paying insurance and taxes at

    22     this point in time on the real property?

    23                 THE WITNESS:     Dr. Schneider has done that so far.

    24                 THE COURT:     You have verification of that?

    25                 THE WITNESS:     We did ask for that.      I believe we
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     1     did get the insurance policy on both properties.           You know,

     2     Judge, I haven't checked on that lately.          I should

     3     double-check and make sure the policy is current, Your

     4     Honor.

     5                  THE COURT:    Okay.

     6     Q.   (By Mr. Gardner)     Moving forward, if the litigation

     7     goes on, is there uncertainty about who will do that in the

     8     future and who's responsible for it?         Is that, is that a

     9     concern of yours?

    10     A.   Yeah, it is.

    11     Q.   Okay.

    12                  THE COURT:    As far as transfers, would injunctive

    13     relief be a possibility even though that doesn't take care

    14     of the maintenance and taxes and insurance?

    15                  MR. GARDNER:    We, we do have a claim for that in

    16     AP 15.   And if it's not approved, if the settlement's not

    17     approved and something's not done, that is certainly a step

    18     we will take.     Yes, it's a possibility.

    19     Q.   (By Mr. Gardner)     I guess just to summarize, do you

    20     have concerns about, even in the likelihood of a

    21     substantial judgment, your ability to collect on such a

    22     judgment in the future?

    23     A.   I do.   And I need to -- I want to be able to move

    24     forward as soon as possible one way or another regarding

    25     that.
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     1     Q.   In AP 20, this factor, difficulties in collecting, is

     2     that an issue in the settlement of AP 20?

     3     A.   No.    I'm not seeking any money, any property as part of

     4     that denial of discharge claim.

     5     Q.   So if you're successful in AP 20, there's no recovery

     6     for the estate.

     7     A.   Yes.

     8     Q.   The third factor is the complexity of the litigation

     9     involved in the expense, inconvenience, and delay

    10     necessarily attending it.

    11          Was this a very important factor in your consideration

    12     of this settlement?

    13     A.   Yes and no.    I mean, it is, it is going to be complex

    14     in the defense.     In terms of my proceeding forward, there

    15     are basic claims that, frankly, I think I can prevail on

    16     based on allegations.      I know there's a risk, but there are

    17     allegations that, that I believe I can prevail on that will

    18     result in Dr. Schneider losing his discharge.

    19     Q.   Okay.   On AP 20 -- let's talk about AP 15.         Are you

    20     concerned about --

    21     A.   Oh, I'm sorry, you're talking about AP 20?

    22     Q.   Well, we'll talk about both of them.

    23     A.   Okay.

    24     Q.   On AP 15, are you concerned about the complexity

    25     involved, the expense, the inconvenience, and the delay?
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     1     A.   Yes, very, very concerned about AP 15.         It's going to

     2     be very expensive, very complex, it's very time-consuming

     3     to proceed forward, and the recovery is uncertain.

     4     Q.   As far as a time frame and the delay we're talking

     5     about, give me an idea of when you think it would be

     6     possible that you would actually have finality to AP 15?

     7     A.   Factoring in appeals, two years.

     8     Q.   And until you were able to fully resolve AP 15 -- I

     9     want to note for the record I saw a smile on Judge

    10     Kirscher's face when you said "appeal in two -- within two

    11     years."

    12          Do you have any confidence that that process could be

    13     completed in two years?

    14     A.   For AP 15?

    15     Q.   Yes, the jury trial and the appeals process and

    16     everything attendant to that.

    17     A.   No.    I can hope.

    18     Q.   And until AP 15 is, is resolved, is there any

    19     distribution or funds to distribute to creditors?

    20     A.   No.

    21     Q.   Does the estate have funds in it right now?

    22     A.   Yes.

    23     Q.   What will happen to those funds as AP 15 goes on and

    24     experts are required and the expenses of the litigation?

    25     A.   They're going to be eaten up for administrative
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     1     expenses attendant -- you know, that go along with the

     2     litigation of AP 15.

     3     Q.   Okay.   We've talked a lot about the complex issues and

     4     the various things attendant with AP 15.          Do you have

     5     anything to add on that topic?

     6     A.   No, not really.

     7     Q.   Okay.   Is there a possibility of multiple appeals; in

     8     other words, appeals at different points in the -- this

     9     process?

    10     A.   Yeah, I believe so.      I think we've got the substantive

    11     consolidation.     I think there could be appeals that go

    12     along with that and then the jury trial after that.            We've

    13     dodged the bullet on one possible deal already.           Hopefully,

    14     we'll dodge it on some others.

    15     Q.   Okay.   And so we've talked about the expense to the

    16     estate.    Is there also a concern about the expense and

    17     delay on the other side and the funds defendants need to

    18     pay their attorneys.      Does that dispute diminish your

    19     potential recovery?

    20     A.   Right, and I've already testified about that.           And, and

    21     that's going to be potentially another fight.           I'm sure

    22     that the defendants are going to want to be able to use

    23     funds that maybe are held or technically owned by other

    24     entities before there's a final decision in this case so

    25     that they can defend the case.
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     1          For example, the money that you've got held in trust,

     2     we've agreed that it's going to be held in trust, but they

     3     may try to get access to that.        As well they might try to

     4     get access to funds from Whispering Winds Ranch, which is

     5     not owned by Dr. Schneider, and they might want to get the

     6     exempt portion of the money from the Tommy Armour house in

     7     order to defend.     That's a factor I put in -- I took into

     8     account in this case.

     9     Q.   There's also, under this third factor, the issue of

    10     Meridian.    If, if the settlement's not approved, what's

    11     the -- what effect is the expense of the Meridian

    12     arbitration going to have on the estate?

    13     A.   Well, if it's not approved, I don't think I've got any

    14     choice but to get involved in the Meridian arbitration and

    15     look to getting ready to go to Minnesota to defend.            I

    16     don't want that 3 million -- I don't consider the

    17     $3 million claim to be valid that they filed in the case,

    18     and I'm going to need to defend it.

    19     Q.   And is the estate going to have to pay you hourly to do

    20     that?

    21     A.   Yes, plus costs.

    22     Q.   And so that will occur in the next couple of months?

    23     A.   Yeah.   The -- well, it's going to start right up.            I

    24     mean, I need to know right away so that I can get going on

    25     that.   I mean, I can try to move -- I could try to continue
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     1     the trial on that, but I can tell you that the arbitrator

     2     is not going to be inclined to agree to that.

     3          He -- this has been going on for over two years.

     4     There's been a lot of discovery and a lot of work done.

     5     And, I mean, I've been monitoring it, I get discovery,

     6     emails.     All of those come through that I have reviewed,

     7     but I mean, this has been continued a number of times, and

     8     the arbitrator and the parties want this brought to a head

     9     and resolved.     So I need to know where I'm at with that so

    10     I can get going on it.

    11     Q.   And those expenses attendant to the Meridian

    12     arbitration, is that going to eat into estate assets that

    13     would otherwise be available to continue pursuing AP 15?

    14     A.   Yes.

    15     Q.   Do you have any idea right now how much in funds the

    16     estate has?

    17     A.   It's around 80,000 - $85,000 right now.         We sold some

    18     personal items and got the $75,000 from Kathleen Burrows's

    19     settlement, and that's about where we're at now.           And that

    20     is being eaten up with bank fees and charges.

    21     Q.   Okay.    And do you believe that's enough for the estate

    22     to pay you to defend the Meridian arbitration hourly and

    23     all your costs, and then also pay all the litigation costs,

    24     not attorney's fees but just litigation costs and expenses

    25     in AP 15?
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     1     A.   No.   It's going to run more than that, I'm sure.           Plus

     2     I've got to pursue the discharge in AP 20, so there's going

     3     to be litigation, attorney's fees, costs -- attorney's fees

     4     and costs in that case as well, so I'm sure that the

     5     80,000 - 85,000 will be eaten up and gone.

     6     Q.   Now, all of these things that we've talked about, are

     7     these things you've considered in ultimately agreeing to

     8     this settlement and to bring these settlement proposals

     9     before the Court?

    10     A.   Yeah.

    11     Q.   And in your business judgment, do you believe this is a

    12     good outcome for the estate and the creditors?

    13     A.   I believe it is.     I think it's reasonable.

    14     Q.   The fourth factor is:      The paramount interest of

    15     creditors and a proper deference to their reasonable

    16     view -- views.

    17          Do you feel like during this process, you gave

    18     deference to the views of the creditors?

    19     A.   I did.   When I went into the arbitration -- or, excuse

    20     me, the mediation, that was, that was my concern.            I

    21     thought that this would be enough for them to support it.

    22     They've objected now, so I've taken that into account.             I

    23     hope they reconsider.      I think this is a good amount for

    24     them, I think it's a reasonable amount, and I think it's, I

    25     think it's a good settlement.
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     1          So considering their interest, I know they have to make

     2     their own decision, but I think it's, I think it's a -- for

     3     them, I think this is a good result.

     4     Q.   Given the potential waste in assets available for

     5     recovery and the spending by both sides on attorney's fees

     6     and expenses and all the other issues - increased

     7     attorney's fees and litigation costs and all of that - if

     8     you were -- carry both of these adversary proceedings

     9     through to their conclusion and through the appeals and all

    10     that process and were extremely successful in doing so, do

    11     you have any confidence that even in that scenario at the

    12     end of the day, you would recover more for the creditors

    13     than the settlement provides?

    14                  MR. JAMES:    Objection.    Again, Your Honor, I

    15     apologize, but this is a very leading question and --

    16                  THE COURT:    I'm going to sustain and allow him to

    17     rephrase it, because I'm sure he can.

    18     Q.   (By Mr. Gardner)     What are your thoughts on what the

    19     recovery for, the net recovery for creditors would be if

    20     you were successful in carrying this litigation through the

    21     process versus what is recovered in this settlement?

    22     A.   Well, I'm really worried about that and how much I

    23     could get.    All I can say is I've seen cases like Tim

    24     Blixseth where they have a multi, multimillion-dollar

    25     judgment against him in the Yellowstone Club case, and they
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     1     haven't been able to recover anything from him.           He's

     2     sitting in jail, he won't say what happened to his assets,

     3     where they went.     He's being punished, but the creditors

     4     aren't getting anything out of it.         And that's a concern to

     5     me, and it happens.

     6          And Dr. Schneider, I think, is a very strong-willed and

     7     stubborn individual, and I'm of concern that the same thing

     8     could happen here.      I would hate to see that kind of a

     9     result for the people that have -- the creditors,

    10     particularly the personal injury creditors, that have been

    11     hurt by his actions here, the Monaco estate and the others

    12     that have been, that have been harmed.

    13          I understand their concerns and why they don't feel

    14     that it's been enough.      I think there are some practical

    15     realities that, that people need to consider in this, and

    16     that's what I'm, that's what I'm worried about in this

    17     case.

    18     Q.   And given your experience and your handling in this

    19     case and your experience with the debtor, what's your view

    20     on future recovery if Debtor is not granted his discharge?

    21     A.   Well, I don't think that they're going to be able to

    22     get money from his future earnings, per se.          I think that

    23     from everything I've learned and seen and discussions I've

    24     had, he's not able to practice as a neurological surgeon

    25     any more, really, in the United -- at least certainly not
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     1     in Wyoming or Montana.

     2          And what he's going now is providing some instructional

     3     services to out-of-the-country clients doing demonstrations

     4     on cadavers and being paid for that.         So I don't think he's

     5     going to be earning the kind of money that he's earned in

     6     the past, so I think that their ability to recover from him

     7     is going to be limited, it's going to be difficult.            And I

     8     think he's going to play the OJ Simpson and the Tim

     9     Blixseth game of hiding, of hiding assets and not really

    10     earning anything.

    11          He does have a retirement account, but it's exempt.            I

    12     don't think they're going to be able to get at that.

    13          And so, so I don't think there's a lot that, that the

    14     creditors are going to be able to get even if his discharge

    15     is denied.    I think they should consider that.

    16     Q.   And obviously, by the response you've received, the

    17     issue of settling a non-discharge action is controversial.

    18     Is it something that you considered or chose to do lightly?

    19     A.   No, not at all.     As a trustee, honest debtors are

    20     really important, and they shouldn't be allowed to get a

    21     discharge unless they're honest.        I understand that.      That

    22     was, that was something that I struggled with in this case.

    23          Given everything that has happened, excuse me, I would

    24     not have gone into this if I had -- and done this had I

    25     thought that the creditors would be so opposed to the
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     1     settlement, frankly, but -- because, you know, they're the

     2     ones that want to pursue him later and go after him and

     3     have the right to do that, and I understand that.

     4         So it is an important policy consideration, and I did

     5     consider that in the terms of the mediation, but at the end

     6     of the day, I had a good-faith duty to present this

     7     settlement to the Court, to present it to the creditors for

     8     consideration, and that is what I have done.

     9         And, and I do believe that overall, the benefits

    10     outweigh the negatives, and it should be approved.

    11                 MR. GARDNER:     Thank you.    I have nothing further.

    12                 THE COURT:     You know, before you leave, I guess

    13     I'll ask, because it may not have any applicability but I

    14     want to ask the question in the event it does:           You know,

    15     under Mickey Thompson, a Ninth Circuit case, is any of this

    16     -- does any of it constitute a sale of claims under 363

    17     that warrants or requires additional consideration as to

    18     the prospect of maximizing any of the claims that might be

    19     sold such as -- to maximize them under the auction process

    20     or anything else under the fair and equitable standard?

    21                 MR. GARDNER:     There, there is a 363 sale of, I

    22     believe -- let me -- the only 363 sale is the 363 interest

    23     in Schneider, LP, and Schneider Management.          Those are sold

    24     pursuant to 363(f) to Michelle Schneider, whatever

    25     interests the estate has in Schneider Limited Partnership.
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     1                 Given its incorporation into an extremely

     2     complicated and multi-pronged settlement, I don't believe

     3     it requires an auction process for that.

     4                 THE COURT:     Or other process to maximize that in

     5     case there are other persons/entities that want to

     6     auction it to, to pay a higher price?

     7                 MR. GARDNER:     The -- it doesn't work because it's

     8     part of such a multi-pronged settlement.

     9                 THE COURT:     Okay.

    10                 MR. GARDNER:     And I believe there's numerous

    11     cases out there where the courts have approved, in a

    12     similar scenario, a portion of the settlement being done

    13     through a 363 sale.      In fact, I think in In Re: Amen, when

    14     we had the contested settlement with the Lowe/Amen

    15     membership interest -- this portion of the motion and

    16     settlement agreement related to the 363 sale portion I

    17     believe is the same as what we did in the In Re: Amen case,

    18     which was contested.

    19                 THE COURT:     Okay.   I just want to make sure we

    20     cover it.

    21                 Mr. James.

    22                 MR. JAMES:     Your Honor, if I might respond to the

    23     Court's question on that last point very briefly, I would

    24     argue that the bankruptcy estate's claim against Meridian

    25     would also fall into that category.         And were -- the
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     1     settlement that will transfer that claim to Dr. Schneider,

     2     were that claim to be auctioned or something done to

     3     maximize its value, it might actually have resulted in some

     4     money for the estate versus simply giving it to

     5     Dr. Schneider here.

     6                  THE COURT:    Okay.    Well, I'll allow parties to

     7     develop that as testimony or, or through other evidence, if

     8     they wish.

     9     Q.   (By Mr. Gardner)     Mr. Womack, do you have any comment

    10     on that?

    11     A.   Yes.    I did consider that, Your Honor, with respect to

    12     the settlement and, and whether or not auctioning, for

    13     example, the Meridian claim would, would result in more

    14     money.   I think Meridian would like to settle this and they

    15     might be interested in that, but in looking at the global

    16     settlement and the amount of money that we would get, my

    17     judgment is, is that trying to fragment this and do those

    18     sorts of would not result in a greater settlement for the

    19     estate than what we've got now, the $2.5 million for the

    20     estate, gross.

    21                  THE COURT:    And you're basing that on now your

    22     investigation and conclusion that the aggregate assets of

    23     the estate may be around 4 million?

    24                  THE WITNESS:    Yes.

    25                  THE COURT:    Okay.    Even though the assets were
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     1     scheduled at higher value.

     2                 THE WITNESS:     Significantly higher, far higher.

     3     But, for example, the --

     4                 THE COURT:     But we're still dealing with apples

     5     to apples, the same assets, or have there been assets

     6     disappeared?

     7                 THE WITNESS:     No, they're the same.

     8                 THE COURT:     Okay.

     9                 THE WITNESS:     They're basically the same assets.

    10     The things that really raised the value of the estate were

    11     the claims that Dr. Schneider scheduled that were actually

    12     held by Northern Rockies Neurological Spine and the claim

    13     against Meridian that he had personally, you know, for that

    14     lost income stream for 10 years.        That one was huge.      And

    15     to me, it's just worthless.

    16                 THE COURT:     Okay, thank you.     Who would like to

    17     go first in -- Mr. Cossitt.

    18                 MR. COSSITT:     You know, with the Court's

    19     permission, we actually have a common interest --

    20                 THE COURT:     You do.

    21                 MR. COSSITT:     -- in getting the settlement

    22     agreement approved.      And if that's a -- yes.

    23                 THE COURT:     I think it's appropriate you would go

    24     next given that commonality.

    25                 MR. COSSITT:     Thank you -- (inaudible.)
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     1                 MR. JAMES:     Your Honor - I apologize,

     2     Mr. Cossitt, if I might - just a procedural objection, Your

     3     Honor.

     4                 We are before the Court on the trustee's motion

     5     to approve these two adversary settlements.          The trustee is

     6     the moving party.     There are a number of creditors here who

     7     are objecting, who are obviously opposing that.

     8     Mr. Cossitt's client, Mr. Parker's clients are neither the

     9     movants nor are they objecting, so I would question their

    10     participation in this hearing -- (inaudible.)

    11                 THE COURT:     But they are signers, but they are

    12     signers to the agreements, correct?

    13                 MR. JAMES:     Correct.    They have not joined in the

    14     motion.   As I said, it is solely the trustee's motion that

    15     is before the Court and the objection of these creditors.

    16                 THE COURT:     Well, I'm going to let Mr. Cossitt go

    17     next, and then Mr. Parker, and then all of the creditors,

    18     and the trustee will go after that.         Okay?

    19                 And obviously, we're going to go into the

    20     afternoon, so --

    21                 MR. COSSITT:     Your Honor, before I get started,

    22     I'm aware that the witness has been on the stand for an

    23     extended period of time.       I guess should I just get moving?

    24                 THE COURT:     Are you okay?

    25                 THE WITNESS:     How long are you going to be,
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     1     Mr. Cossitt?

     2                  MR. COSSITT:    We'll be right up until noon,

     3     Mr. Womack.

     4                  THE WITNESS:    I'll be fine with that.

     5                  MR. COSSITT:    Okay.

     6                              CROSS-EXAMINATION

     7     BY MR. COSSITT:

     8     Q.   Mr. Womack, let's, let's focus on Adversary No. 15-15,

     9     okay --

    10     A.   Yes, sir.

    11     Q.   -- the collection case?

    12          All right.    What is your estimate, if you get an

    13     opinion from this court denying approval of the proposed

    14     settlement, what's your estimate of the amount of -- length

    15     of time from today until trial; discovery, pretrial

    16     motions, yada yada?

    17     A.   At least a year.

    18     Q.   Okay.    And once you get to a trial, what's your

    19     estimated length of trial?

    20     A.   Oh, I think it could take more than a week, 10 days -

    21     2 weeks.     It will be a long trial with all the expert

    22     witness and the financial documents and everything that

    23     needs to come in.

    24     Q.   It's fact-intensive.

    25     A.   It is fact-intensive.
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     1     Q.   Do you have a -- and you've opined that one party or

     2     the other is likely to appeal some kind of a decision at

     3     the conclusion of the trial process?

     4     A.   Oh, yes, one or the other will.

     5     Q.   Okay.   And on top -- and in considering those opinions,

     6     you're also considering this weird dance back and forth

     7     between the district court and the bankruptcy court, right?

     8     A.   Yes.

     9     Q.   The Stern vs. Marshall dance?

    10     A.   Yes.

    11     Q.   Have you formed on opinion with respect to the clarity

    12     and certainty with both this court and other courts are

    13     interpreting the Stern vs. Marshall doctrines?

    14     A.   I think that there's a lot of uncertainty regarding the

    15     Stern vs. Marshall doctrine.       I think it is still being

    16     fully developed and ferreted out.        There are issues that

    17     can be appealed with regards to any decisions that are made

    18     in that regard.

    19     Q.   You know, would it be --

    20                  THE COURT:    You know, let's clarify, though:

    21     15-15's already at the district court.

    22                  MR. COSSITT:    I guess, Your Honor, I'm eliciting

    23     testimony on the whole kit and caboodle --

    24                  THE COURT:    Oh, okay.

    25                  MR. COSSITT:    -- 15-15 and 15-20.      And I guess I
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     1     would like to elicit a little testimony from the witness

     2     here about:    Although that's the Court's view, how lawyers

     3     view it and argue back and forth, you know, in terms of

     4     the --

     5                  THE COURT:    Well, there's no argument about where

     6     15-15 is.

     7                  MR. COSSITT:    Okay.

     8                  THE COURT:    We're in pretrial, and it's been

     9     already sent to withdrawal of reference.          It's done by

    10     Judge Waters.

    11                  MR. COSSITT:    Okay.    Thanks, Judge.

    12                  THE COURT:    I mean, AP 20 is a different matter,

    13     and that's clearly my jurisdiction.

    14                  MR. COSSITT:    It is.

    15     Q.   (By Mr. Cossitt)     But you've considered the Stern vs.

    16     Marshall dance - I call it the "Stern vs. Marshall dance" -

    17     uncertainty and complexity in the opinions that you've

    18     expressed here today?

    19     A.   Yes.

    20     Q.   Okay.    How do you intend -- in Adversary 15-15, you're

    21     aware that there's an advice of counsel defense in there,

    22     correct?

    23     A.   There's -- I'm sorry?

    24     Q.   An advice -- that Dr. Schneider and the other

    25     defendants have pled advice of counsel as one of the
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     1     defenses?

     2     A.   Yes.

     3     Q.   You're aware that their position is, "Look, we've paid

     4     a bunch of lawyers in Wyoming for an asset protection plan

     5     and an estate plan," right?

     6     A.   Yes.

     7                 MR. JAMES:     Objection, Your Honor.      These

     8     questions are leading.      This is not an adverse witness.

     9     They have a joined interest, as Mr. Cossitt has said.            We

    10     would prefer that the trustee be allowed to testify.

    11                 THE COURT:     Sustained.

    12     Q.   (By Mr. Cossitt)     Do you -- have you formed -- you've

    13     read the answers, right?

    14     A.   Yes.

    15     Q.   You've looked at the affirmative defenses made in

    16     15-15?

    17     A.   Yes.

    18     Q.   Have, have the Schneider entities and clan asserted

    19     advice of counsel?

    20     A.   Yes.

    21     Q.   What's your plan to overcome that at trial?

    22     A.   I haven't, I haven't considered that yet.          I haven't

    23     discussed that with Mr. Trent -- or Mr. Gardner in detail;

    24     "Mr. Trent."

    25     Q.   Do you consider it a problematic or troublesome
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     1     defense?

     2     A.   Not completely.     I mean, it's, it's going to be an

     3     issue we're going to have to deal with, but I believe we

     4     can overcome it.

     5     Q.   Can you envision the defendants parading experts in

     6     front of the -- at the trial saying, "You know what?            This

     7     is an acceptable thing to do for physicians?"

     8     A.   Yeah, I'm sure that they're going to do that.

     9     Q.   Do you know approximately when the asset protection or

    10     estate plan was set up?

    11     A.   I believe so, yes.

    12     Q.   When?

    13     A.   The, the first time that I saw any kind of an estate

    14     planning or asset protection planning work being done was

    15     in about 2007.     There might have been some before then, but

    16     it wasn't significant.      The majority of the asset

    17     protection and estate planning was done beginning in 2011

    18     and 2012.

    19     Q.   The plan documents were set up back in 2007, weren't

    20     they?

    21     A.   No.    The only thing that was set up in 2007 was the

    22     Schneider Limited Partnership.        There was a trust -- or

    23     another entity set up at BC -- let's see, Brandon, Caitlin,

    24     something trust, but it never really had much.

    25          The real, the real estate planning and asset protection
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      1    documents started being discussed and formed in 2011 and

      2    then in 2012.     The irrevocable trusts for the children were

      3    set up in 2012.     The MedPort had been set up sooner but

      4    didn't have anything in it and it wasn't utilized as part

      5    of this whole thing until after 2011.

      6    Q.   Could you give us your assessment of the probability of

      7    success on the merits in Adversary 15-15?

      8    A.   You're asking me to give a percentage?

      9    Q.   I am, within 10 percent.

    10     A.   Well, I believe we'd have -- that we will be successful

    11     to some degree.     I would put that at better than 80

    12     percent.     But as to how much we would be able to recover,

    13     it's 50/50.     I couldn't tell you.      I couldn't say that

    14     we're going to -- I could not say that we're going to get

    15     more than we're getting here today with any assurance.

    16     Q.   So you believe the success of merits on some components

    17     of the litigation would be in the neighborhood of

    18     80 percent; is that correct?

    19     A.   At least on, on some component of it, yeah.

    20     Q.   All right.    And others are lower.

    21     A.   Yes.

    22     Q.   Okay.    Overall, can you give me an opinion as to your

    23     assessment of the, the overall success or -- the overall

    24     chances of success on the merits?         Can you reduce that to a

    25     number for me?
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      1    A.   Well, I'm not -- I mean, there's different parts.

      2    There's liability, setting aside the different entities,

      3    you know, getting access and recovering assets.           I'm not

      4    sure exactly what you're asking.

      5    Q.   I'll withdraw the question, then.

      6    A.   Okay.

      7    Q.   With respect to deference to the creditors' views,

      8    you're aware there's a number of contingent claims in this

      9    case, right?

    10     A.   Yes.

    11     Q.   And you've filed objections to them, right?

    12     A.   Yeah.

    13     Q.   Now, there -- what is a contingent claim?

    14     A.   It means that it hasn't been decided that it has --

    15     that it's allowed, that it's subject to defenses.            It

    16     hasn't been litigated, gone to judgment.          It's not -- it's

    17     also objected to by the creditor -- or the debtor, rather.

    18     He doesn't believe that he's liable on the claim.            So it

    19     still has to be litigated -- (inaudible.)

    20     Q.   So a contingent claim is one in which liability has not

    21     been determined?

    22     A.   Yeah.

    23     Q.   Okay.

    24     A.   Yes.

    25     Q.   And, then, do you know what an unliquidated claim is?
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      1    A.   Yes.

      2    Q.   What's an unliquidated claim?

      3    A.   The amount of the claim has not been determined in some

      4    fashion.

      5    Q.   Okay.   Now, you looked at Attorney Patten's objection

      6    to this settlement, right?

      7    A.   Yes.

      8    Q.   Is, is each and every claim that he asserts objections

      9    on behalf contingent and unliquidated?

    10     A.   Yes.

    11     Q.   And you spoke -- did I understand your earlier

    12     testimony to be that you spoke with Attorney Patten before

    13     you showed up at the mediation?

    14     A.   Yes.

    15     Q.   At the time you showed up at the mediation, did you

    16     have an agreement with him that his clients were going to

    17     buy into this?

    18     A.   No.

    19     Q.   In the context of showing up and negotiating the

    20     settlement, you were clearly aware of the four-factor test

    21     at the time we were at that mediation, right?

    22     A.   Yes.

    23     Q.   So what deference does a Chapter 7 panel trustee give

    24     to $7 million worth of claims which are disputed as to

    25     liability or contingent and unliquidated?
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      1         How do you stir that into the mix of your duty to

      2    negotiate a settlement consistent with the fourth factor in

      3    the four-factor test?

      4    A.   Well, I understand your question and your concern.

      5    They are contingent, unliquidated, disputed, but they

      6    assert claims that on the -- first of all, if a claim is

      7    asserted on its face, it's given some credence.

      8         And based on my investigation, preliminary

      9    investigations of those claims and what occurred,

    10     particularly with respect to the Monaco claim, it appeared

    11     to me that they had, they had valid -- they had claims that

    12     could be legitimately, in good faith, brought and had some

    13     reasonable chance of success.        So, so that is how I looked

    14     at that in determining this.

    15          I mean, you're asking me to, to kind of look into the

    16     future and predict, but as a trustee, I have to do that

    17     sometimes, and --

    18     Q.   I guess what I'm asking is:       You show up at a -- a

    19     Chapter 7 trustee shows up at a mediation to hammer out a

    20     settlement deal, and you've got a bushel basket full of

    21     claims, say 20 of them.       Ten of them are garden variety,

    22     uncontested contract claims, the other ten are contingent

    23     and unliquidated.

    24          As a trustee, do you give greater weight to the views

    25     of the contract claim holders for which there's no
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      1    reasonable basis for dispute, and do you give less weight

      2    to people whose claims are subject to serious dispute?

      3    A.   I would give greater weight to the contract claims, but

      4    I also still have to consider the other claims.

      5    Q.   And did you try to do the best job possible in weighing

      6    these competing considerations at the settlement -- or at

      7    the mediation meeting?

      8    A.   I did.

      9    Q.   At the conclusion of the settlement meeting, the

    10     mediation, were you under the belief that the personal

    11     injury claimants would be on board with this settlement?

    12     A.   I thought they would.      I thought that the amount was

    13     sufficient to -- and given all the other factors, that they

    14     would be on board with it.

    15     Q.   Let's turn our attention to Adversary No. 15-20.

    16     A.   Yes.

    17     Q.   (Inaudible) -- discharge case.

    18     A.   Yes.

    19     Q.   Could you give me your best estimate of the amount of

    20     time it would take from today to trial?          That would be

    21     discovery, dispositive motions, that kind of pretrial

    22     skirmishing.

    23     A.   That's going to be difficult.        We have a trial date

    24     currently.    And if the Court holds us to that trial date,

    25     then that's when it's going to be, so we'll deal with it
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      1    that way.

      2         If, if the Court is -- will allow the trial date to be

      3    continued in light of everything that took place, we're

      4    going to need several months to engage in discovery and

      5    then get ready for trial.

      6         So under the first scenario, trial is in May.           Under

      7    the second scenario, the trial wouldn't probably be until

      8    September, would be my estimate.

      9    Q.   And do you have an estimate for the amount of time it

    10     would take to try Adversary 15-20?

    11     A.   Yeah, I think I can -- I think it can get done in two

    12     days at the most.      It depends, in part, on what I decide to

    13     pursue in terms of facts in order to deny discharge.

    14     Q.   And you, you -- I think you testified earlier you

    15     expected if the debtor loses, he'll probably take that up

    16     on appeal.

    17     A.   I'm sure.

    18     Q.   Okay.   What do you have for a cost estimate with your

    19     seven months of -- excuse me.        Seven months of pretrial

    20     skirmishing, two days of trial, what's your cost estimate

    21     for that litigation package?

    22                  MR. JAMES:    Objection.    I believe the question

    23     misstates the witness's testimony about the length of

    24     pretrial preparation.

    25                  THE WITNESS:    You know, I'm --
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      1                 THE COURT:    I'll sustain as to that.       I'll let

      2    you answer the question, if you can.

      3                 THE WITNESS:    You know, I -- it's really hard.          I

      4    haven't put a pencil to it.        I'm sure it will be -- you

      5    know, it could be $10,000 to get it done.          Certainly

      6    including my attorney's fees/costs, it could be more,

      7    15,000 - 20,000.      It's hard.    I haven't sat down and just

      8    tried to analyze that carefully.         It depends, in part, on

      9    what Defendants do and the kind of discovery they want to

    10     engage in.    There's a lot of factors involved in that.

    11     Q.   (By Mr. Cossitt)     Who has the burden of proof on those

    12     claims?

    13     A.   It's on me.    I have the burden of proof.

    14     Q.   Do you have an estimate of your chances of success on

    15     the merits?

    16     A.   Yes.

    17     Q.   What is it?

    18     A.   I think it's over 90 percent, but I've been wrong

    19     before.

    20     Q.   There, there won't be any judgment collection by the

    21     bankruptcy estate if it prevails on that, will there?

    22     A.   No.

    23     Q.   What's the practical reality of that litigation's

    24     complexity?     Is it complicated litigation?

    25     A.   Again, it depends on what claims I go forward on.            As
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      1    the complaint currently stands, it's complicated and it

      2    will take a lot of time to engage in discovery and to try

      3    it, certainly longer than two days to complete it.

      4    Q.   Will it be inconvenient for the bankruptcy estate to

      5    have to deal with this adversary proceeding?

      6    A.   Inconvenient?

      7    Q.   Yeah.    That's one of the factors in the four-factor

      8    test, sir.

      9    A.   Well, I mean, it's part of my job.         I wouldn't really

    10     consider it inconvenient.

    11     Q.   Will it result in delay of the other tasks that are at

    12     hand to administer this estate?

    13     A.   I think I can deal with all of it.

    14     Q.   Okay.    Let's assume that the discharge denial is

    15     prosecuted successfully.       What does that mean?

    16     A.   That means that Dr. Schneider will not get a discharge

    17     of certain claims that are asserted in the case.

    18     Q.   So he does not receive a bankruptcy discharge.

    19     A.   Right.

    20     Q.   And do you know what the legal effect of that is?

    21     A.   Well, I think so.

    22     Q.   What does it allow the -- let's focus on the personal

    23     injury creditors.      So assuming that he doesn't get a

    24     discharge, what do the personal injury creditors do after

    25     that?
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      1    A.    Well, they still have to liquidate their claim.

      2    Q.    And they do that one by one, don't they?

      3    A.    Right.   And they'll have --

      4    Q.    And where do they do that?

      5    A.    They'll have to do that in the court where they, they

      6    would have had to bring the claim originally.

      7    Q.    Outside of the bankruptcy court system.

      8    A.    Right, state.    I think it's -- I think all those claims

      9    are in state district court down in Wyoming, if I'm not

    10     mistaken, or one maybe in -- (inaudible.)

    11     Q.    So if the discharge gets denied, we have individual

    12     creditors going back to whatever forum they were in before

    13     this bankruptcy proceeding was started, right?

    14     A.    Yeah, yeah.

    15     Q.    And they, they individually prosecute their claims and

    16     consume judicial resources and other resources to prosecute

    17     their claims one by one in whatever forum they happen to be

    18     in.

    19     A.    That's, that's one -- yeah, that's a very likely

    20     scenario.

    21     Q.    And then outside of bankruptcy, it's generally a race

    22     to the assets, isn't it?

    23     A.    Yes; although, the automatic stay would preclude them

    24     from going after any assets of the bankruptcy estate.

    25     Q.    Well, but I'm not talking about the bankruptcy estate's
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      1    assets.      I'm referring to prosecuting claims against a

      2    defendant and then chasing the assets.          There's no

      3    automatic -- assets of the defendant, not the estate.

      4    A.    Correct.

      5    Q.    Okay.    So instead of one set of transaction costs here

      6    in bankruptcy court, these folks would be getting into

      7    multiple sets of transaction courts -- or transaction costs

      8    in other forums other than the bankruptcy court forum.

      9    A.    Yes.

    10     Q.    What does, what does a lis pendens under Montana law

    11     do?

    12     A.    Gives notice that the estate -- or that there's an

    13     action concerning property, real property, and gives notice

    14     of your claim against that property.

    15     Q.    But it's not an injunction, is it?

    16     A.    No.

    17     Q.    Nor is it any sort of a prejudgment remedy.

    18     A.    Not per se.    I think it ties up property as a practical

    19     matter because it's difficult to sell, given title issues

    20     that go along with that.

    21     Q.    But all it does is, is cloud the title, right?

    22     A.    It does.

    23     Q.    It doesn't entitle anybody to tie up assets or income

    24     or sale price - (inaudible) - does it?

    25     A.    The lis pendens itself?      No.
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      1    Q.   One would have to go get an injunction or attachment or

      2    other prejudgment remedy.

      3    A.   Yes.

      4                  MR. JAMES:   Objection, Your Honor, to this line

      5    of questioning as to both leading and relevance.

      6                  THE COURT:   I'm going to overrule that.

      7                  MR. COSSITT:   May I approach the witness, Your

      8    Honor?

      9                  THE COURT:   You may.

    10                   MR. COSSITT:   The record should reflect that I'm

    11     going to give the witness a copy of a document that's filed

    12     at Docket No. 212-1 and ask him to identify it.

    13                   THE WITNESS:   Yes, I -- it's a letter I sent to

    14     Dr. Schneider regarding some documents, boxes of documents

    15     that he had dropped off at my office and that I was asking

    16     him to pick up and take care of.

    17     Q.   (By Mr. Cossitt)      Okay.   In that letter, did you demand

    18     payment from him?

    19     A.   I did.

    20     Q.   How much did you demand from him?

    21     A.   I do not recall.      I'd have to look at the letter again.

    22     Q.   Did you have a legal or contractual basis to demand

    23     payment from him?

    24     A.   Yes.

    25     Q.   What was it?
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      1                 UNIDENTIFIED SPEAKER:      Your Honor, I object.

      2                 THE COURT:    Yeah, I'm wondering where we're

      3    going.

      4                 MR. COSSITT:    We're going -- one of the four

      5    factors in the four-factor test is the complexity of the

      6    litigation.     And going forward, I guess if this doesn't

      7    settle, this litigation and the administration of this case

      8    may get more complicated with the debtor having some other

      9    things under consideration with respect to the way he's

    10     been treated by this trustee.

    11                  And we'd like a little bit of latitude to put

    12     some evidence into the record to give the Court the flavor

    13     of things that are under consideration on the debtor's side

    14     in terms of matters that go to the heart of the

    15     administration of this case and complexity that might get

    16     injected into it.

    17                  THE COURT:    Well, I'm -- Mr. Patten.

    18                  MR. PATTEN:    The witness has --

    19                  THE COURT:    You need to be closer to a mic.

    20                  MR. PATTEN:    If the witness hasn't testified that

    21     he's taking these things into account, I don't see what the

    22     relevance is.     So there's a foundation issue that it's

    23     something that the witness took into account and considered

    24     in proposing the settlement.

    25                  THE COURT:    Yeah, I guess that's what I'm
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      1    struggling with, is how this links to administration in the

      2    regulation to the compromise/settlement - I see them

      3    separate and distinct - and that you could raise those in

      4    any event regardless of the settlement.

      5                 MR. COSSITT:    Well, again, Your Honor, our view

      6    is that under the four-factor test, the Court's

      7    consideration includes the delay and inconvenience of

      8    the -- or of the litigation - (inaudible) - estate, so

      9    that's our response.       We would like a little latitude to

    10     continue with it.      And alternatively, I'll elicit some of

    11     the same testimony when I put my client on the stand, or

    12     attempt to.

    13                  THE COURT:    I'm going to sustain the objection.

    14                  MR. COSSITT:    Okay, thank you.      I'll just review

    15     my notes, and I may well conclude here in a minute.

    16                  THE COURT:    Okay, thank you.

    17                  MR. COSSITT:    That does conclude my examination.

    18                  THE COURT:    Okay.

    19                  MR. COSSITT:    Thank you.

    20                  THE COURT:    Thanks.

    21                  THE WITNESS:    We could go on, from my

    22     perspective, Your Honor.

    23                  THE COURT:    Well, let me just see where

    24     Mr. Parker is.     Do you have questions, Mr. Parker?

    25                  MR. PARKER:    I can be done by noon.
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      1                 THE COURT:    Okay.

      2                 MR. PARKER:    I can be done by noon.

      3                 THE COURT:    All right, I'll let you go.        I'll let

      4    you go, and then we will then take a break for lunch, and

      5    then we will start with the opposition.

      6                              CROSS-EXAMINATION

      7    BY MR. PARKER:

      8    Q.   Mr. Womack, I'm sure you have read the objections posed

      9    by Mr. Patten's clients.

    10     A.   Yes; yes, I have.

    11     Q.   And you've read the substance of the objection and the

    12     nature of what he believes his claims are worth and the

    13     objections of the, of his clients, correct?

    14     A.   Yes.

    15     Q.   Did you see anything new in any of those filings that

    16     you didn't consider when you entered into this settlement

    17     agreement?

    18     A.   No.

    19                  MR. PARKER:    That's all I have, Your Honor.

    20                  THE COURT:    Okay, thank you.     It is, what,

    21     5-to-12.     Let's break for lunch.      We'll reconvene at 1:30

    22     here.

    23                  So, Mr. Womack, you may step down.

    24                  THE WITNESS:    Thank you, Your Honor.

    25                  THE COURT:    You can leave your exhibits if you
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      1    want, or you can take them with you, whatever you prefer.

      2                 So with that, Court is in recess.

      3                 (The lunch recess was taken.)

      4                 THE COURT:    Good afternoon.     Please be seated.

      5                 Mr. York.

      6                 MR. YORK:    Good afternoon, Your Honor.       Aaron

      7    York for the Office of the United States Trustee.

      8                 THE COURT:    Okay.

      9                 MR. YORK:    We do have one witness that we wanted

    10     to put on in our case in chief.        It's Mr. Michael Kakuk

    11     from the Commissioner of Securities and Insurance in

    12     Montana.

    13                  It's a pretty short presentation on my end.          I

    14     think Mr. Cossitt has a couple minutes of

    15     cross-examination.       But because Mr. Kakuk lives in Helena

    16     and he's sitting out there with a relatively short amount

    17     of testimony, I polled the other lawyers in, in the

    18     courtroom, and they were gracious enough to indicate that I

    19     could put him on now if, if Your Honor was in agreement

    20     with that.

    21                  THE COURT:    No problem.    Call him, sure.

    22     Let's -- we'll do that.

    23                  MR. YORK:    Let me get him.

    24                  THE COURT:    While he's getting the witness, I'll

    25     just note that this is a continuation of the trustee's
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      1    motion to approve compromises and settlements in 14-61357,

      2    In Re: Schneider.

      3                 If the witness would come to the podium to be

      4    sworn by the clerk, who will appear on the video, please.

      5                       MICHAEL KAKUK, WITNESS, SWORN

      6                 THE COURT:    Mr. York, is there, is there a

      7    monitor on in that podium?

      8                 MR. YORK:    A monitor on in the podium?

      9                 THE COURT:    Yeah.   No?

    10                  MR. YORK:    (No audible response.)

    11                  THE COURT:    There isn't, okay.

    12                  MR. YORK:    Yeah, I don't see one.

    13                  THE COURT:    Yeah, I thought they were going to --

    14     okay.

    15                  MR. YORK:    Your Honor, can I approach the witness

    16     with a binder of exhibits?

    17                  THE COURT:    Certainly.

    18                  MR. YORK:    And I believe -- does Your Honor have

    19     the Meridian witness binder as well?

    20                  THE COURT:    I do.

    21                  MR. YORK:    Thank you.

    22                  THE COURT:    You know, I was misleading to

    23     Mr. James or whoever it was that was up when I had

    24     mentioned about the camera.        Actually, I think the camera

    25     is right around the corner there.         You might see it up on
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      1    the wall toward the window.

      2                 MR. YORK:    Right.

      3                 THE COURT:    This one, I think, is on the witness

      4    or on the bench.      So just to clarify, if you were looking

      5    to -- want to get a frontal shot on the camera, you can.

      6                             DIRECT EXAMINATION

      7    BY MR. YORK:

      8    Q.   Mr. Kakuk?

      9    A.   Yes.

    10     Q.   What is your position?

    11     A.   I'm an attorney with the CSI, which is the Commissioner

    12     of Securities and Insurance Office of the Montana State

    13     Auditor.

    14     Q.   And how long have you held that position?

    15     A.   For roughly two years now - almost three.

    16     Q.   And in general, could you describe for the Court what

    17     your office does?

    18     A.   Sure.   Well, it's officially called the "Montana State

    19     Auditor's Office," but we've christened it also the

    20     "Commissioner of Securities and Insurance" because those

    21     are the areas of the law that we regulate, insurance

    22     companies and securities.

    23                  THE COURT:    You know, I may have missed it or was

    24     thinking of something else.        Did you ask for his name?

    25     Q.   (By Mr. York)     Could you please state your name for the
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      1    record?

      2    A.   Of course.    Michael Allen Kakuk, K-A-K-U-K.

      3    Q.   Thank you.

      4                 THE COURT:    Thank you.

      5                 MR. YORK:    Thank you, Your Honor.

      6    Q.   (By Mr. York)     And, Mr. Kakuk, has your office had

      7    prior involvement with Dr. John Schneider?

      8    A.   Yes, we have.

      9    Q.   And how did your office first come to have involvement

    10     with Dr. Schneider?

    11     A.   Dr. Schneider -- sorry, "Schneider"?

    12     Q.   Schneider [pronouncing].

    13     A.   Schneider.    Dr. Schneider started a captive insurance

    14     company that was regulated by our office back in 2008.

    15     Q.   And what was the name of that captive insurance

    16     company?

    17     A.   Northern Rockies Insurance Company.

    18     Q.   And as -- did you, did your office issue a certificate

    19     for that entity to operate in Montana?

    20     A.   Yes, we did.

    21     Q.   And what do pure captive insurance companies do?

    22     A.   Well, a pure captive, you can think of it kind of like

    23     a private holding company for one person.          They insure

    24     risks of a parent company.       In this case, Dr. Schneider

    25     used the company to insure the risks of his medical
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      1    malpractice -- or, sorry, the medical malpractice insurance

      2    for his medical practice.

      3    Q.   And do you, do you know what Dr. Schneider's

      4    relationship was with Northern Rockies Insurance Company?

      5    A.   He was the, technically the owner of the, of the

      6    captive.

      7    Q.   Now, I understand that your office issued an order of

      8    suspension against NRIC in February of 2013.

      9    A.   That's correct.

    10     Q.   Why did the CSI issue an order of suspension against

    11     NRIC?

    12     A.   There were a couple of reasons.        We had multiple

    13     concerns with the operations of NRIC.

    14          First of all, we had received notice from his captive

    15     manager, Ace Harris [phonetic], that, that they were fired,

    16     essentially, and were no longer a captive manager.            And a

    17     captive manager is required for a captive, so that started

    18     our involvement.

    19          And then we learned about that there was essentially

    20     one claim that was paid by Dr. Schneider, a claim for

    21     essentially a defamation case, and that depleted all the of

    22     the funds in the company.       We had concerns about how and

    23     why that claim was paid and also, then, that the company

    24     had no -- had insufficient funds to continue.

    25     Q.   So the defamation claim was paid with the, with
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      1    funds -- the defamation claim depleted funds available for

      2    other claimants?

      3    A.   Correct, yes.

      4    Q.   How did Dr. Schneider respond to the order of

      5    suspension by your office?

      6    A.   Through his counsel, there were communications between

      7    his attorneys and our office.        They attempted to resolve

      8    our concerns through those communications, which included

      9    an affidavit that was signed by Dr. Schneider and notarized

    10     and submitted to our office.

    11     Q.   Can I ask you to turn to Exhibit 12 in the Meridian

    12     binder that I just gave to you?

    13     A.   I have it.

    14     Q.   Do you recognize Exhibit 12?

    15     A.   Yes.   This is a copy of the affidavit that was

    16     submitted to our office.

    17     Q.   By Dr. Schneider?

    18     A.   Correct, by Dr. Schneider through a letter from his

    19     attorney.

    20                  MR. YORK:    Your Honor, I'd move for the admission

    21     of Meridian Exhibit 12.

    22                  THE COURT:    Any objection?

    23                  (No audible response.)

    24                  THE COURT:    Exhibit 12 is admitted.

    25                  MR. COSSITT:    I'm sorry, I object.       Where on the
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      1    docket is it located?

      2                 MR. YORK:    It's Exhibit 12 to Meridian's

      3    exhibits.

      4                 MR. GARDNER:    Two eighty-five, Judge.

      5                 THE COURT:    Two eighty-five, yeah.

      6                 MR. COSSITT:    Eighteen?    No objection.

      7                 THE COURT:    Admitted.

      8                 MR. YORK:    Mr. Kakuk, would you please turn to

      9    page 4 of Exhibit 12?

    10                  THE WITNESS:    Yes.

    11     Q.   (By Mr. York)     Would you go ahead and read that

    12     paragraph, Roman Numeral V, please?

    13     A.   Yes:    It is my desire and intention to close NRIC as a

    14     functioning entity and resolve the Wyoming-related

    15     litigation to the best of my ability using my own

    16     resources.    I do not know if any further Wyoming claims

    17     will be made other than those listed above.

    18     Q.   And that was an affidavit that Dr. Schneider submitted

    19     to your office.

    20     A.   Correct.

    21                  MR. YORK:    No further -- I'll pass the witness.

    22                  THE COURT:    Okay.    Anyone have questions?

    23                  MR. SOUEIDI:    Your Honor, Joe Soueidi with

    24     Meridian.

    25                               CROSS-EXAMINATION
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      1    BY MR. SOUEIDI:

      2    Q.   Mr. Kakuk, would you just briefly summarize what the

      3    affidavit said, just very briefly, that Mr. Schneider

      4    signed?

      5    A.   The entire affidavit?

      6    Q.   Just briefly, the general idea of it.

      7    A.   Sure.   We had asked for a description of what his

      8    current business was, what claims were pending against the

      9    company, whether there were any additional funds, what his

    10     intentions were to do with the company, and how the pending

    11     claims would be resolved.       Those were our concerns, and he

    12     attempted to address those in the affidavit.

    13     Q.   In your opinion, do you think the proposed settlement

    14     between Dr. Schneider and the trustee, which allows for

    15     discharge of Dr. Schneider's debts, is fair and equitable?

    16                  MR. GARDNER:    Your Honor, I object.       (Inaudible)

    17     -- not a party to the bankruptcy - (inaudible) - not an

    18     expert witness -- (inaudible.)

    19                  THE CLERK:    Excuse me, we're not picking you up

    20     on the record.

    21                  MR. GARDNER:    I apologize.

    22                  THE COURT:    Is your mic on?

    23                  UNIDENTIFIED SPEAKER:      Mic's off.

    24                  MR. GARDNER:    No.   Is that better?

    25                  THE CLERK:    Much better.     Thank you.
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      1                 MR. GARDNER:    I object on relevance.       He's not a

      2    party and his opinion is not relevant to this.

      3                 MR. COSSITT:    We object also in that neither the

      4    U.S. Trustee nor the department are creditors in this case.

      5                 Although the U.S. Trustee's a party in interest,

      6    the opinions that are being elicited are not from anybody

      7    who's a creditor, so they lack standing to object to

      8    discharge.

      9                 Further object to lack of foundation.         We've got

    10     a witness on the witness stand who is a lawyer for a state

    11     agency, and there's been no foundation laid that this is

    12     the opinion of the agency or that there was any internal

    13     deliberations which resulted in a final agency opinion on

    14     this.    We have an opinion of an individual lawyer from a

    15     state agency that purports to speak for the entire agency.

    16                  On those bases, we object and request the Court

    17     sustain it.

    18                  THE COURT:    I'll sustain both objections.

    19     Q.   (By Mr. Soueidi)     Is -- excuse me.      Was Dr. Schneider's

    20     affidavit submitted to your office?

    21     A.   Yes, it was.

    22     Q.   And it's holding your formal records there?

    23     A.   Correct.

    24                  MR. SOUEIDI:    Okay.    No further questions, Your

    25     Honor.
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      1                 THE COURT:    Mr. Patten.

      2                 MR. PATTEN:    Thank you, Your Honor.

      3                              CROSS-EXAMINATION

      4    BY MR. PATTEN:

      5    Q.   Mr. Kakuk, would you look at page 3 of the exhibit?

      6    A.   Yes.

      7    Q.   Thomas vs. Schneider was one of the claims that was

      8    pending at the time?

      9    A.   Yes.

    10     Q.   And Monaco Estate vs. Schneider was one of the claims

    11     pending at the time?

    12     A.   Correct.

    13     Q.   Do you have any knowledge of whether Dr. Schneider used

    14     the best of his ability and resources to resolve the claims

    15     of either Thomas or Schneider -- or, excuse me, of Monaco?

    16     A.   It's my understanding that those claims have not been

    17     resolved.

    18                  MR. PATTEN:    Okay, thank you.

    19                  THE COURT:    Mr. Cossitt.

    20                               CROSS-EXAMINATION

    21     BY MR. COSSITT:

    22     Q.   Mr. -- is it "Kakuk"?

    23     A.   Kakuk [pronouncing].

    24     Q.   Kakuk, excuse me.

    25     A.   No worries.
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      1    Q.   That final paragraph that you read into the record

      2    talks about his, Dr. Schneider's desire and intention,

      3    right?

      4    A.   Correct.

      5    Q.   And it talks about the best of his ability, right?

      6    A.   Correct.

      7    Q.   Okay.   The affidavit doesn't set any standards by which

      8    to measure best efforts or best abilities, does it?

      9    A.   I don't believe so, no.

    10     Q.   So what standards or criteria did the department use in

    11     formulating the opinions that you've expressed here today?

    12     A.   I'm sorry, could you repeat the question?

    13     Q.   The opinion that you've expressed today, I believe, was

    14     that it's your view or the department's view that

    15     Dr. Schneider has not used the best of his ability to try

    16     to resolve these claims.       Did I misunderstand your

    17     testimony?

    18     A.   No.   I don't believe I testified to that today, but

    19     that is my opinion.

    20     Q.   Okay.   And you agree, though, that the affidavit that

    21     was submitted to the department contains no standards,

    22     right?

    23     A.   Correct.

    24     Q.   Does that imply that any performance of that "best of

    25     my ability" stuff is left to the discretion and standards
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      1    by Dr. Schneider?

      2    A.   No.   I think it would be the, to the discretion of the

      3    Court here sitting in equity.

      4    Q.   How is it that a statement in an affidavit rises to the

      5    level of some sort of an enforceable promise, sir?

      6    A.   I'm not sure that it does.

      7    Q.   You've been a lawyer for how many years, sir?

      8    A.   Eight and a half.

      9    Q.   And you've been with this department for how long?

    10     A.   Two and a half.

    11     Q.   You know how to draft settlement agreements that create

    12     binding, enforceable promises, don't you?

    13     A.   I would hope so.

    14     Q.   And this affidavit is not one, is it?

    15     A.   This is not a settlement, no.

    16     Q.   Okay.   It's not even a contract, is it?

    17     A.   No.

    18                  MR. COSSITT:    Okay, thank you very much.        That

    19     concludes the examination, Your Honor.

    20                  THE COURT:    Okay.   Mr. York.

    21                            REDIRECT EXAMINATION

    22     BY MR. YORK:

    23     Q.   Mr. Kakuk, the affidavit is not a settlement, correct?

    24     A.   Correct, it is not.

    25     Q.   And it's not a contract?
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      1    A.   No, it's not.

      2    Q.   But it is a sworn statement.

      3    A.   Yes, it is.

      4                 MR. YORK:     Thank you.

      5                 THE COURT:    You may step down.

      6                 THE WITNESS:    Thank you, Your Honor.

      7                 THE COURT:    And I believe you're free to go and

      8    may be excused from court.

      9                 Correct?

    10                  MR. YORK:     Yes, Your Honor.

    11                  UNIDENTIFIED SPEAKER:      Yes, Your Honor.

    12                  THE COURT:    Thank you.    You may.    Safe travels

    13     back to Helena.

    14                  THE WITNESS:    Thank you.

    15                  THE COURT:    Who wishes to proceed next?

    16     Mr. Patten?

    17                  Did he call you?

    18                  THE WITNESS:    What's that?

    19                  THE COURT:    Did he call you?

    20                  THE WITNESS:    He didn't, but I assumed you wanted

    21     to go with me next.

    22                  THE COURT:    Who were you calling as a witness?

    23                  MR. PATTEN:    Well, I was going to finish -- or

    24     start my cross of Mr. Womack.

    25                  THE COURT:    Okay, very good.
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      1                 MR. PATTEN:    Sorry.

      2                 THE COURT:    Okay.   Mr. Womack, I'll remind you

      3    you're still under oath.

      4                 THE WITNESS:    Yes, Your Honor.

      5                              CROSS-EXAMINATION

      6    BY MR. PATTEN:

      7    Q.   Good afternoon, Mr. Womack.

      8    A.   Good afternoon, Mr. Patten.

      9    Q.   Can I call you "Joe"?

    10     A.   Yes.

    11     Q.   Thank you.    Joe, on page 6 of your motion to approve

    12     the settlement, when addressing the probability of

    13     success --

    14     A.   Yes.

    15     Q.   -- you state that you're confident and you will prevail

    16     in your complaint to deny discharge.

    17     A.   Yes.

    18     Q.   And then in your -- through your amended complaint, you

    19     set out a series of allegations that form the basis of your

    20     complaint to deny discharge.

    21     A.   Yes.

    22     Q.   One of those is that the debtor has engaged in a scheme

    23     to hinder, delay, or defraud creditors and the trustee by

    24     removing or concealing property.

    25     A.   That's correct.
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      1    Q.   What facts do you believe you can establish to prove

      2    this allegation?

      3    A.   Well, the most glaring example was the creation of an

      4    account in Billings that had money deposited into it at

      5    Dr. Schneider's direction but held in the name of his

      6    sister, Kathleen Burrows.

      7         That, that money was, in my view, clearly attributable

      8    to Dr. Schneider from a period of 2012 through 2000 --

      9    through the time that the bankruptcy was filed and was not

    10     disclosed to me as part of the debtor's schedules or

    11     statement of financial affairs.        And after the bankruptcy

    12     was filed at Dr. Schneider's direction, his sister

    13     transferred that property to his wife, Michelle.

    14     Q.   What was the source of the money in this account?

    15     A.   Well, there were multiple sources.         There was a piece

    16     of real property out on the Molt road near Billings that --

    17     there were a series of transfers, but ultimately it was put

    18     into Dr. Schneider's name and then to Kathleen Burrows who

    19     then sold it, on behalf of Dr. Schneider, at his direction

    20     according to Kathleen Burrows.        She deposited 146,000 of

    21     that into the U.S. Bank account in Billings and retained

    22     about 150 of that for herself.

    23          In addition to that, Dr. Schneider deposited some

    24     checks payable to Rocky Mountain newer spine and to himself

    25     into the account.      The total deposits in the account were
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      1    about $546,000, I believe.

      2    Q.   And were these deposits made prior to the filing of the

      3    bankruptcy?

      4    A.   Yes.

      5    Q.   Was the -- and on what basis do you believe that the

      6    debtor had access to the funds in the account?

      7    A.   Well, Kathleen Burrows testified under oath that the

      8    money was not hers even though the account was held solely

      9    in her name, that she was directed to --

    10                  MR. COSSITT:    I'm going to object.       This is

    11     hearsay.    This witness is testifying about what another

    12     human being testified to in another proceeding.           It's

    13     backdoor hearsay, Your Honor, and we object.

    14                  MR. PATTEN:    Your Honor, the question that I

    15     asked Mr. Womack was what he believed he can prove.            And

    16     ultimately, there will be a trial -- unless the settlement

    17     is approved, ultimately there will be a trial, but for

    18     purposes -- at which time, the evidence will have to come

    19     in, and so forth.

    20                  But for purposes of today, one of the

    21     considerations for the Court is the likelihood of success,

    22     and so Mr. Womack, I think, can appropriately testify as to

    23     those factors that cause him to believe that he has a, he

    24     testified a 90 percent of prevailing on the discharge case.

    25     And so --
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      1                 THE COURT:    But he can also do that by not

      2    necessarily stating the hearsay in his answer.

      3                 MR. PATTEN:    Well, Your Honor, it isn't

      4    necessarily offered for the proof of what it's asked for.

      5                 THE COURT:    No.   All I'm saying is he can address

      6    his answer to take that into account based upon the

      7    factors.

      8                 MR. PATTEN:    Okay.    Are you --

      9                 THE COURT:    I'm going to sustain the objection

    10     and allow you to rephrase the question.           And I think

    11     Mr. Womack can, can answer it as to what factors he's

    12     relying upon under his complaint --

    13                  MR. PATTEN:    Okay.

    14                  THE COURT:    -- but he can do it without having to

    15     recite hearsay as the basis.

    16                  MR. PATTEN:    Okay.

    17     Q.   (By Mr. Patten)      So, Mr. Womack, have you been provided

    18     any documentation regarding this bank account?

    19     A.   Yes.

    20     Q.   What bank was it at?

    21     A.   U.S. Bank of Billings.

    22     Q.   Do you have exhibits in front of you?

    23     A.   Yes.

    24     Q.   Do you have, I believe it's Meridian's Exhibit No. 17,

    25     which is a Document 285-29?
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      1                 THE COURT:    Let's make sure we use the exhibit

      2    numbers that are off of the docket when we're -- I mean,

      3    you can clarify here, but I want to make sure the record's

      4    clear that we're using 285-29 as the exhibit; otherwise,

      5    we're going to have real confusion in the record.

      6                 MR. PATTEN:    It is Meridian Exhibit No. 17.

      7                 THE COURT:    Yeah, but these aren't on the docket,

      8    is what I'm saying, as I understand it.          Isn't there -- you

      9    just -- I thought you just said it was 285-29.

    10                  MR. PATTEN:    That's the docket number, but on

    11     Meridian's exhibit list, it's No. 17.          And when it was,

    12     when it was filed, it's at Docket No. 285-29.

    13                  THE WITNESS:    I have it.     It's Docket No. 285-29.

    14                  THE COURT:    Okay, okay, we already have

    15     confusion.    Let's say we have an appellate judge looking at

    16     this.   We're talking about Exhibit 17, we're talking about

    17     some other exhibit.       There is nothing like that in this

    18     docket.    And I'm not admitting these exhibits; I'm

    19     admitting these exhibits.

    20                  And so I think we need to be clear that if we're

    21     talking about one exhibit here, that we also give the

    22     corresponding number off the docket.         Do you see what I'm

    23     saying?    So there's no confusion that it's 285-29 off the

    24     docket that we're using as the actual exhibit.           That's what

    25     I'm admitting.
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      1                 MR. PATTEN:    Okay.

      2                 THE COURT:    Make any sense?

      3                 MR. PATTEN:    Well, maybe I'm -- I don't follow,

      4    Your Honor.     It's marked as Exhibit 17, and then it has a

      5    docket number at the --

      6                 THE COURT:    But these aren't admitted.       These are

      7    just for informational -- for purposes of use here in the

      8    courtroom, right?

      9                 MR. PATTEN:    Well, correct, but I'm getting to

    10     that, to the point of trying to get it admitted.

    11                  THE COURT:    Well, but isn't it on the docket

    12     already?

    13                  MR. PATTEN:    I don't -- it's, it's on the docket

    14     only as a prefiled exhibit for this hearing.

    15                  THE COURT:    Well, those are the exhibits I admit.

    16     I don't turn around and have -- then Mr. James is going to

    17     have to go back to his office and put all of these other,

    18     these exhibits in as you've referred to them as, what, 17

    19     or whatever.

    20                  THE CLERK:    Judge, it actually is -- on the

    21     Docket 285, it is marked as Exhibit 17.          It's just the 29th

    22     attachment to Docket 285.

    23                  THE COURT:    Thanks for the clarification, okay.

    24                  THE CLERK:    No problem.

    25                  MR. PATTEN:    I'm sorry if I created confusion,
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      1    Your Honor.

      2                  THE COURT:    No, I was thinking they were -

      3    (inaudible) - numbers, you know, Exhibit 27 was Exhibit --

      4    really 27 --

      5                  MR. PATTEN:    Okay.

      6                  THE COURT:    -- not 16.4.

      7                  MR. PATTEN:    Okay.

      8                  THE COURT:    Now I'm up to speed with you.       Thank

      9    you.

    10                   MR. PATTEN:    Thank you, Patti.

    11     Q.     (By Mr. Patten)     Mr. Womack, did you look at

    12     Exhibit 17?

    13     A.     Yes.   Docket No. 285-29, if that helps.

    14                   THE COURT:    Yeah, thank you.

    15     Q.     (By Mr. Patten)     And is the information that is set out

    16     on Exhibit 17, did that enter into your belief that you

    17     have a 90 percent chance of prevailing?

    18     A.     Yes.

    19     Q.     And what do you understand the transactions were that

    20     Dr. Schneider had access to the funds in this account?

    21     A.     My belief is based on my investigation and evidence

    22     collected.     That indicated to me that Dr. Schneider

    23     received the ATM card for the U.S. Bank account that, even

    24     though the account was held in another name, that it was,

    25     in fact, controlled by Dr. Schneider, that the funds were
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      1    owned by Dr. Schneider, and that nothing was done with

      2    those funds in that account except at his direction.            That

      3    was my belief based on my investigation, and that, I

      4    believe, I can show at trial.

      5    Q.   Was that investigation done as part of the discovery in

      6    AP 15-20?

      7    A.   No.    It was done as part of my duties as a trustee

      8    prior to filing a lawsuit against Kathleen Burrows and then

      9    as part of the lawsuit against Kathleen Burrows on the

    10     preference claim that we brought against her.

    11                  MR. PATTEN:    Your Honor, I would move the

    12     admission of Meridian's Exhibit No. 17.

    13                  THE COURT:    Okay.   Any objection?

    14                  MR. COSSITT:    Yeah, authentication, lack of

    15     foundation.

    16                  MR. PATTEN:    The witness has authenticated it by

    17     saying that he obtained it in the course of his duties as

    18     trustee, and he obtained it in -- and also as part of the

    19     adversary proceeding.       I don't remember the number, 15-8,

    20     or something --

    21                  THE WITNESS:    Dash eight.

    22                  MR. PATTEN:    -- the one against Burrows.

    23                  THE COURT:    I'm going to overrule and allow it

    24     in, admit it.

    25                  MR. PATTEN:    Thank you, Your Honor.
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      1    Q.   (By Mr. Patten)     Mr. Womack, was -- did the debtor's

      2    schedules reflect anywhere the debtor's access to the funds

      3    in this U.S. Bank account?

      4    A.   No.

      5    Q.   Did the debtor testify at his 341 meeting that his

      6    schedules were complete and accurate?

      7    A.   Yes, he did.

      8    Q.   Did the debtor, in any -- how many 341 meetings were

      9    there?

    10     A.   I don't know, I lost count after awhile.          At least

    11     three or four -- three, I believe.

    12     Q.   And did the debtor ever identify that he had access to

    13     the funds in his U.S. Bank account?

    14     A.   No, he did not.

    15     Q.   Do you know where the funds on -- out of this account

    16     ultimately went, the ones that weren't otherwise drawn

    17     down?

    18     A.   Yes.

    19     Q.   Where?

    20     A.   To Michelle Schneider.

    21     Q.   Are there other instances, other actions or failures to

    22     disclose that you believe give you the 90 percent chance of

    23     prevailing on the discharge suit?

    24     A.   Yes.

    25     Q.   What is that?     What else?
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      1    A.   Well, another instance was with respect to a

      2    Harley-Davidson motorcycle.         We did a search of the

      3    division of motor vehicle records to determine what titled,

      4    registered vehicles were held by Dr. Schneider or his wife

      5    or his children, and a Harley-Davidson motorcycle came up

      6    as part of that.

      7                 THE CLERK:    Judge?

      8                 UNIDENTIFIED SPEAKER:      We're still connected.

      9                 (Pause in recording.)

    10                  UNIDENTIFIED SPEAKER:      (Inaudible) -- can you

    11     hear me?

    12                  THE CLERK:    Yes, we can.

    13                  UNIDENTIFIED SPEAKER:      Okay.   Thank you,

    14     Ms. Mahoney.     Sorry, Your Honor.

    15                  THE COURT:    Thank you, Michael.

    16                  UNIDENTIFIED SPEAKER:      Michael?

    17                  UNIDENTIFIED SPEAKER:      Yes.

    18                  UNIDENTIFIED SPEAKER:      Can you please get on the

    19     four-person view?      We can only see the judge right now.

    20     Thank you very much.

    21                  UNIDENTIFIED SPEAKER:      How is that?

    22                  THE CLERK:    We've got the four quadrants up,

    23     Michael.    Thank you.    The pictures are horrible, but we'll

    24     make due.

    25                  Your Honor, I'm sorry, I'm not sure what
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      1    happened.    We lost you right when Joe was saying they found

      2    out about the Harley-Davidson.

      3                 UNIDENTIFIED SPEAKER:      The system got turned off.

      4                 THE COURT:    Which time?

      5                 THE CLERK:    Right -- I am so sorry.       Right when

      6    they were talking about they did the, the title search

      7    through the Department of Motor Vehicles in Mr. and

      8    Mrs. Schneider's name and their children's name.            And Joe

      9    said that's when they discovered the Harley, and that was

    10     at like 2:01.

    11                  THE COURT:    So does it include the three

    12     objections by Mr. Gardner, Mr. Cossitt, and Mr. Parker?

    13                  THE CLERK:    (Inaudible) -- Billings' whole system

    14     shut down.

    15                  THE COURT:    I know, but I'm just trying to figure

    16     out where we were at in the process as to --

    17                  THE CLERK:    Joe had just said how he discovered

    18     the Harley-Davidson, and then we lost you.           We got no

    19     objections on the record.

    20                  THE COURT:    Okay.    Do you know where you were in

    21     your questioning there?

    22                  MR. PATTEN:    Yeah.    I think it was a long time

    23     ago.

    24                  THE COURT:    That's my concern.

    25                  MR. PARKER:    Your Honor, maybe I can be an aid to
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      1    Court.    It sounds to me like Mr. Womack holds the view that

      2    he could win the discharge case and he views that he could

      3    win it 90 percent of the time.

      4                 THE COURT:    Correct.

      5                 MR. PARKER:    I think once -- I do not believe

      6    that the cross-examination is designed to knock him off

      7    that notion; I think it's just designed to have it repeated

      8    as many times as possible.       We know what his opinion is,

      9    they're not trying to knock him off of it, so why don't

    10     we -- I would suggest we move on.

    11                  MR. COSSITT:    Could I add some gloss to that?

    12                  THE COURT:    Mr. Cossitt.

    13                  MR. COSSITT:    You know, Your Honor, the cases

    14     hold (quoted as recorded):

    15                  "A mini-trial on the merits of the claims or the

    16     bankruptcy judge's independent investigation into the

    17     underlying dispute sought to be compromised is not

    18     required," Walsh Construction 669 F.2d 1335.

    19                  THE COURT:    Exactly, exactly.

    20                  MR. COSSITT:    And then further, the -- In Re:

    21     Lee Way Holding Company, 120 BR 881 at page 891,

    22     bankruptcy, Southern District of Ohio, 1990, that case

    23     stands for the proposition that, again, the Court's role in

    24     reviewing the compromise is not to conduct a trial or a

    25     mini-trial or decide the merits of the individual issues:
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      1                 "The more complex and novel the subject

      2    litigation is, the less thorough a factual record is

      3    necessary to obtain approval of a settlement that will

      4    substantially benefit the bankruptcy estate."

      5                 My objection is relevance.       I think we're getting

      6    down to the point in these proceedings where we're drilling

      7    down into the minutia of factual detail that's necessary to

      8    prove up the underlying claims.        My clients objections on

      9    the basis of relevance and requests the Court to sustain

    10     the objection.     Thank you.

    11                  THE COURT:    Well, at this point, with you having

    12     asked about the probabilities, I think Mr. Patten's

    13     questions are going to those probability questions in

    14     cross.    That's how I'm looking at it.

    15                  And maybe he -- Mr. Patten, are you disputing

    16     those percentages?

    17                  MR. PATTEN:    No.   I want the record to be clear

    18     that the trustee has a very strong case on denial of

    19     discharge.    And if, if the defendant will acknowledge that

    20     there's a prima facie case that Mr. Womack can prove at

    21     trial, then I think that probably meets my objective,

    22     but --

    23                  THE COURT:    Well, based on what you just said, I

    24     concur with Mr. Cossitt, Mr. Parker, and Mr. Gardner that I

    25     think the testimony this morning established his
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      1    percentages of 90 percent in the dischargeability case, and

      2    I think you're just adding to that at this point unless

      3    you're questioning that percentage, which it doesn't sound

      4    like you are.

      5                 MR. PATTEN:    I'm -- 90 percent is pretty good,

      6    Your Honor.

      7                 THE COURT:    Yeah.    So, in essence, in essence, we

      8    should move on.

      9                 MR. PATTEN:    Okay.

    10     Q.   (By Mr. Patten)      Mr. Womack, you acknowledge that

    11     the -- at least from the amount of the claims that have

    12     been filed, the unsecured creditors overwhelmingly object

    13     to the settlement.

    14     A.   They do; although, as the point has been made, many of

    15     them, if not the majority, are contingent, unliquidated,

    16     disputed.

    17     Q.   And do you know how many of them were in some legal

    18     process for becoming liquidated and noncontingent at the

    19     time the bankruptcy was filed?

    20     A.   Several very large claims were in that process.

    21     Q.   Okay.

    22     A.   In fact, they were on -- one in particular was on the

    23     verge of trial, and it was only because the bankruptcy was

    24     filed that the trial was vacated.         I believe the bankruptcy

    25     was filed on a -- if I'm not mistaken, the bankruptcy was
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      1    filed on a Friday and trial was to commence the following

      2    Monday.

      3    Q.   Would you agree that the filing of the bankruptcy

      4    precludes our clients from liquidating and making

      5    noncontingent their claims in this case?

      6    A.   Yes.

      7    Q.   And --

      8    A.   Well, without relief from stay.

      9    Q.   Would you agree that the claims have been filed for

    10     approximately a year?

    11     A.   More than that.

    12     Q.   Okay.    And the objections to the claims were just filed

    13     within the last 30 days?

    14     A.   Yes.

    15     Q.   So nobody took any steps prior to this -- your motion

    16     for settlement being opposed by my clients, until that

    17     happened, nobody objected to my client's claims?

    18     A.   That's correct.

    19     Q.   Do you, Joe, believe that, that Mr. Moyers and my

    20     clients are incapable of determining what is in their best

    21     interest with respect to the settlement --

    22     A.   No.

    23     Q.   -- as proposed?

    24     A.   No.    They have to make their own independent judgment.

    25     They have that right.
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      1                 MR. PATTEN:    Excuse me a second, Your Honor.

      2    Q.   (By Mr. Patten)      Are you aware of any policies with

      3    respect to a debtor buying a discharge?

      4    A.   There's a lot of case law with respect to that issue.

      5    Yes, I am aware of policy considerations, and I addressed

      6    that in my brief.

      7    Q.   Does the debtor's honesty play into implementing --

      8    A.   Yes.

      9    Q.   -- that public policy?

    10     A.   Yes.

    11     Q.   And do you have an opinion as to whether the debtor's

    12     been honest in this case?

    13     A.   Yes.

    14     Q.   What's that opinion?

    15     A.   He has not.

    16                  MR. PATTEN:    Okay, thank you.

    17                  MR. JAMES:    Good afternoon, Your Honor.        Doug

    18     James on behalf of Meridian.

    19                  Good afternoon, Mr. Womack.

    20                  THE COURT:    You know, Mr. James, I hate to delay

    21     your cross-examination, but it kind of came up -- I mean,

    22     really, the real important thing here, and I think we

    23     started off this morning having some discussion about it,

    24     you know, if you look at the compromise in 15-15 without

    25     the tie to 15-20, I think there's probably some very good
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      1    reasons, justifiably, to accept that offer to bring cash in

      2    in some very litigious litigation that's going to go

      3    forward over a long length of time and be very expensive.

      4                 Unfortunately, 15-20 is tied with it, with the

      5    dollar amount that's imposed there, which really is the

      6    most concerning thing.       And I think I raised this with

      7    Mr. Gardner early on.       That's, that's the issue that I have

      8    to wrestle with.

      9                 And am I going to go down the road with, with a

    10     debtor coming forward and saying, "Well, I'll give you 'X'

    11     dollars.    Let me have my discharge"?

    12                  Which obviously is one, one approach, but it

    13     certainly flies in the face of tenets of bankruptcy for the

    14     honest but unfortunate debtor.        And I think I mentioned

    15     that that's a real difficult precedent to set because in

    16     one instance, somebody has some money that maybe they can

    17     put into the estate for distribution to creditors that gets

    18     them a discharge.

    19                  There's another debtor that comes in -- there's,

    20     there's just no way that they have the resources to do that

    21     and yet they get stuck with, with a nondischargeable --

    22     nondischargeability.      And that's what I have to wrestle

    23     with from a policy standpoint.

    24                  You know, and we've heard a lot of testimony

    25     about the nature and the factors -- the nature of the
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      1    claims, the factors that I need to look at under A & C, but

      2    the one thing that I'm going to really focus on is a

      3    pretty -- not "insignificant" factor, but one factor in

      4    this, of the 450 -- 450,000 being put in AP 20 with a tie

      5    to 15-15, and does that constitute an inappropriate

      6    distribution of money to the estate to get -- to buy a

      7    discharge?

      8                 That's what I'm going to have a look at.          I mean,

      9    that's the real issue here.        As you know, every one of you

    10     in this room, as counsel, know that we've dealt with

    11     compromises and settlements, and the bankruptcy code

    12     supports that, and especially in litigation like this that

    13     could go on for years and be costly and may not be

    14     recoverable ever, as Mr. Womack testified to this morning

    15     has happened in other cases.

    16                  And so I guess I'd really like to focus you to

    17     that, that element, that question that I've got to look at

    18     in:   How does that fit into the fair and equitable

    19     resolution whether I approve the compromises or I throw

    20     this into continuing litigation for which may not be in the

    21     best interests of the creditors, ultimately, based upon the

    22     testimony I've heard today?

    23                  So I guess if we could focus to that, I think

    24     that's really the issue that I've got to wrestle with.             If

    25     anyone disagrees, you can certainly bring it up in your
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      1    cross-examination or testimony, but that's how I see it.

      2                 MR. JAMES:    May I proceed, Your Honor?

      3                 THE COURT:    Pardon?

      4                 MR. JAMES:    May I proceed?

      5                 THE COURT:    You may proceed.

      6                 MR. JAMES:    Thank you.

      7                              CROSS-EXAMINATION

      8    BY MR. JAMES:

      9    Q.   Mr. Womack, if the Court denies your motion to approve

    10     the settlement of the discharge case, AP 20, will you

    11     continue trying to settle the balance of the case?

    12     A.   Yes.

    13     Q.   Do you think that it would be worth your efforts and

    14     your time to try and settle this case without the discharge

    15     being a part of the settlement?

    16     A.   I'm always willing to try.       And I think it, yes, I

    17     think it will be worth my efforts to try.          I certainly

    18     will.

    19     Q.   Under the settlement as proposed, Dr. Schneider retains

    20     his 401(k) account with approximately $1.5 million,

    21     correct?

    22     A.   Yes.

    23                  MR. COSSITT:    Objection; leading.      Counsel's

    24     testifying.

    25                  MR. JAMES:    It's an adverse witness, Your Honor.
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      1    I am objecting to his settlement.

      2                 THE COURT:    Overruled.

      3    Q.   (By Mr. James)     And MedPort will retain the California

      4    mansion that it purchased at roughly $1.9 million, correct?

      5    A.   Yes.

      6    Q.   And you recorded a notice of lis pendens against the

      7    California mansion, correct?

      8    A.   Yes.

      9    Q.   Earlier, you testified regarding the Meridian

    10     arbitration.     I just wanted to focus on a couple of things

    11     with respect to that.

    12          Have you read all of the pleadings in the Meridian

    13     arbitration?

    14     A.   Not every, not every one of them.

    15     Q.   Have you attended all of the depositions?

    16     A.   No.

    17     Q.   Do you know who's been deposed?

    18     A.   Not every single party.       I do know a significant

    19     number, but I couldn't tell you every one.

    20     Q.   Okay.   Can you tell me who has been deposed?

    21     A.   Dr. Schneider has been deposed; expert witnesses have

    22     not, although reports have been submitted; the principals

    23     in the case I believe have been deposed; and the people

    24     with Meridian Surgical Partners, I believe some of those

    25     people have been deposed.
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      1    Q.   Have you reviewed the documents that have been produced

      2    in the arbitration?

      3    A.   Some of them, yes.

      4    Q.   Have you reviewed the expert disclosures?

      5    A.   Yes, so far.

      6    Q.   And Dr. Schneider valued his individual claim against

      7    Meridian in his bankruptcy schedules at $15 million,

      8    correct?

      9    A.   Yes.

    10     Q.   And did you conclude that his claim was not worth

    11     $15 million?

    12     A.   Yes.

    13     Q.   Do you know if Meridian has filed a motion for summary

    14     judgment to dismiss Dr. Schneider's individual claim in the

    15     arbitration?

    16                  MR. COSSITT:    I'm going to renew the objection I

    17     made a little while ago, Your Honor.         We're drilling down

    18     to the mini-trial that the four factors tell us isn't

    19     necessary.    So my objection is relevance, cumulative, and

    20     redundant; and particularly, relevance.

    21                  THE COURT:    I'm going to overrule that and allow

    22     him to answer.

    23                  THE WITNESS:    I believe you did, did you not -- I

    24     mean, sorry, Judge, yes.

    25     Q.   (By Mr. James)     Mr. Womack, under the proposed
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      1    settlement of the discharge adversary, the bankruptcy

      2    estate will receive property or $450,000 cash, correct?

      3    A.   Under AP 20.

      4    Q.   Yes.

      5    A.   Property that would be attributable to AP 20 of

      6    450,000.

      7    Q.   And Dr. Schneider's home has been listed for sale in

      8    2015 and 2016, correct?

      9    A.   Yes.

    10     Q.   And what was the listing price?

    11     A.   It was less than that.      It was six -- I'm trying to

    12     recall.     It was like 620,000, I believe, or something in

    13     that neighborhood, perhaps even less.          I was not a party to

    14     that listing agreement.

    15     Q.   Would you turn to Exhibit 9, and can you identify that

    16     document for us?

    17     A.   Yes.    That is the advertisement.       And apparently,

    18     during the last listing, it was for $599,900.

    19     Q.   Exhibit 9 was the listing advertisement for

    20     Dr. Schneider's house?

    21     A.   Correct.

    22                  MR. JAMES:    I would move the admission of

    23     Exhibit 9.

    24                  THE COURT:    Any objection?

    25                  UNIDENTIFIED SPEAKER:      No.
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      1                  MR. COSSITT:   Yes.    First, I don't understand

      2    which -- is it Document No. 285-15?

      3                  THE COURT:   Yes.     Correct, Mr. James?

      4                  MR. JAMES:   It is our Exhibit 9, which is part of

      5    285.    I don't have the particular --

      6                  THE COURT:   Okay.

      7                  THE CLERK:   It's 15, Your Honor, and Mr. Cossitt.

      8                  THE COURT:   Yeah, it is 15.

      9                  THE WITNESS:   Yes.

    10                   MR. COSSITT:   All right.     We object to

    11     authentication.     There's not -- this looks like a web page,

    12     and it's not properly authenticated.

    13                   MR. JAMES:   Perhaps I can clarify, Your Honor.

    14     Q.     (By Mr. James)   Mr. Womack, in connection with your

    15     investigation of the assets of Dr. Schneider, have you seen

    16     Exhibit 9 before?

    17     A.     Yes.

    18     Q.     And is this something you took into consideration in

    19     deciding whether or not to enter into these settlements?

    20                   MR. GARDNER:   Objection, Your Honor.       This is

    21     dated well after -- or after the settlement was entered.

    22                   THE COURT:   Sustained.

    23     Q.     (By Mr. James)   Have you received any offers to

    24     purchase the home on Tommy Armour Circle?

    25     A.     No.
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      1    Q.   So if the settlement is approved, you will then have to

      2    maintain and sell the home, correct?

      3    A.   Yes.

      4    Q.   And you'll have to employ and pay a realtor, correct?

      5    A.   Yes.

      6    Q.   And the standard residential real estate commission in

      7    Billings is 7 percent?

      8    A.   You can usually get them to do it for six.

      9    Q.   So if Dr. Schneider's home sold for $450,000, a 6 or

    10     7 percent commission would be roughly $30,000?

    11     A.   Yes.   I think that's a low -- 450 is far lower than

    12     what I think it will sell for.

    13     Q.   And the bankruptcy estate would incur other costs and

    14     expenses in connection with the sale of the home such as

    15     title insurance and closing fees, correct?

    16     A.   Yes.

    17     Q.   So if the estate has to sell Dr. Schneider's home, it's

    18     likely to net less than $450,000?

    19     A.   I disagree with that assessment.        I think it will net

    20     more than 450,000.

    21     Q.   From the sale of the house?

    22     A.   Yes.

    23     Q.   And that will -- what are you projecting as the sales

    24     price?

    25     A.   Six hundred fifty.      I had a drive-by done on the
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      1    property by a realtor early in the case.          And based on

      2    that, they believed that 650 was reasonable.

      3    Q.   But if it sells for 650, only 450 of that would still

      4    be allocated towards AP 20, correct?

      5    A.   Towards AP 20, but it will still come -- the full

      6    amount will come into the estate.

      7    Q.   Okay.   Prior to the first meeting of creditors, did you

      8    request some documents from Dr. Schneider?

      9    A.   Yes.

    10     Q.   And did Dr. Schneider provide you with the requested

    11     documents 14 days prior to the first meeting of creditors?

    12     A.   No, not all of them.

    13     Q.   These are the documents that are required pursuant to

    14     local bankruptcy rule in Form 33?

    15     A.   Yes.

    16     Q.   And did Dr. Schneider provide you with the documents

    17     that you asked for at the first meeting of creditors?

    18     A.   No, not all of them.

    19     Q.   Did you continue the first meeting of creditors more

    20     than once because Dr. Schneider hadn't provided you with

    21     all of the requested documents?

    22                  MR. COSSITT:    I'm going to renew the objection

    23     again, Your Honor.      Again, we don't need to conduct a

    24     mini-trial on the specific allegations in the 727

    25     complaint.    We've received extensive testimony on it this
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      1    morning, and I -- with all due respect, I think this line

      2    of questioning drills down well below the level that the

      3    appropriate -- or the applicable case law that I cited a

      4    few minutes ago tells this court that it doesn't need to

      5    get to.    Thank you.

      6                 MR. JAMES:    Well, Your Honor, I'm leaning towards

      7    the policy issues that you had raised earlier.           And with a

      8    little latitude, I will get to that briefly.

      9                 THE COURT:    Like in the next question or two.

    10                  MR. JAMES:    Yes.

    11                  THE COURT:    I'll sustain the objection.

    12     Q.   (By Mr. James)     Can you identify Exhibit 1, please?

    13     A.   Exhibit 1, Document No. 285-1 is a letter from myself

    14     to Harold Dye, Dr. Schneider's attorney, with respect to

    15     documents needed.

    16                  MR. JAMES:    I would move the admission of

    17     Exhibit 1.

    18                  THE COURT:    Any objection?

    19                  (No audible response.)

    20                  THE COURT:    Hearing none, Exhibit 1 is admitted.

    21     Q.   (By Mr. James)     Did Dr. Schneider provide you with the

    22     documents requested in Exhibit 1 -- (inaudible)?

    23                  MR. COSSITT:    Objection, same objection, Your

    24     Honor:    Relevance, drilling down into the mini-trial on the

    25     merits that we don't need to go to.
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      1                 THE COURT:    Well, I'm going to give Mr. James at

      2    least a couple questions on this because I'm not sure that

      3    he's drilling down.

      4    Q.   (By Mr. James)     Mr. Womack, could you identify

      5    Exhibit 2?

      6    A.   Yes.    Exhibit 2, Docket No. 285-2, is my motion for a

      7    turnover of documents that I had requested -- or that I

      8    wanted that had not been supplied to me.

      9    Q.   And can you identify Exhibits 4 and 5, please?

    10     A.   Exhibit 4, Document No. 285-4, is the order of the

    11     Court granting the motion for turnover of the documents.

    12          Exhibit 5, Document No. 285-5, is a copy of the motor

    13     vehicle search that was, of a motor vehicle search that --

    14     Q.   Excuse me, I misspoke.      It was Exhibit 4 that I was

    15     asking about.

    16     A.   Exhibit 4?

    17     Q.   That was --

    18     A.   Exhibit 4 is -- 285-4 is the order granting the motion

    19     for turnover.

    20                  MR. JAMES:    I would move the admission of

    21     Exhibits 2, 3, and 4.

    22                  THE COURT:    Any objection?

    23                  UNIDENTIFIED SPEAKER:      I have no objection.

    24                  MR. COSSITT:    You know, the same relevance

    25     objection, Your Honor.       We're heading right down into the
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      1    mini-trial on the merits.       I object.

      2                 THE COURT:    Okay, you may object.      I'm going to,

      3    I'm going to admit them, two, three, and four, but

      4    Mr. Womack, aren't these the same documents that you've

      5    utilized in analyzing your claims in the Adversary 15-20.

      6                 THE WITNESS:    Yes, the lack of production of

      7    those; yes.

      8                 THE COURT:    I mean, I don't know what else you

      9    need.

    10                  MR. JAMES:    Just one question, Your Honor.

    11     Q.   (By Mr. James)     And that is:     Mr. Womack, did

    12     Dr. Schneider disobey a lawful order of this court with

    13     exhibit to Exhibit No. 4?

    14     A.   In my opinion, yes.

    15     Q.   He did not produce to you the documents that he was

    16     ordered to produce by the Court's order of Exhibit 4,

    17     correct?

    18                  MR. COSSITT:    Objection --

    19                  UNIDENTIFIED SPEAKER:      Objection.

    20                  MR. COSSITT:    -- asked and answered, cumulative,

    21     and redundant.

    22                  THE COURT:    I'm going to sustain.

    23                  MR. GARDNER:    What he said.

    24                  THE COURT:    I'm going to sustain because I think

    25     he's already testified that he took into those matters -
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      1    (inaudible) - in his 15-20 complaint.

      2    Q.   (By Mr. James)     Mr. Womack, I would ask you to turn to

      3    Exhibit 11 and identify that document, please.

      4    A.   Exhibit 11, Document No. 285-11, is my objection to

      5    Debtor's motion to continue the hearing for today.

      6    Q.   And would you read Paragraph 8, please?

      7    A.   (Quoted as recorded):      "Trustee is deeply concerned

      8    that debtor and Michelle will continue to violate the stay

      9    and to dissipate assets and potential assets of the estate

    10     and are attempting to delay the hearing regarding the

    11     settlement agreements and attempt to obliterate potential

    12     assets for recovery should the settlements not be

    13     approved."

    14                  MR. JAMES:    I would move the admission of

    15     Exhibit 11.

    16                  THE COURT:    Any objection?

    17                  UNIDENTIFIED SPEAKER:      Hearsay.

    18                  MR. COSSITT:    Objection in terms of

    19     authentication because this appears to be a printout from a

    20     social media or web page and --

    21                  THE COURT:    I don't think we have the right

    22     exhibit here.

    23                  MR. COSSITT:    Eleven?    Eleven is a motion, and

    24     attached to the motion there's extensive printouts, there's

    25     email that's attached to it.        If I've got the right one,
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      1    it's Docket No. 285-17.       Exhibit 11 --

      2                 THE COURT:    My Exhibit 11 is a trustee's

      3    objection.

      4                 MR. COSSITT:    Trustee's objection.       And it's

      5    my -- the pdf I downloaded is 20 pages, and it contains

      6    email, web pages, a whole bunch of stuff.          I'll stipulate

      7    to the admission of what I believe to be the first seven

      8    pages.

      9                 MR. JAMES:    I believe you have the wrong exhibit,

    10     Mr. Cossitt.

    11                  MR. COSSITT:    I'm sorry.

    12                  THE COURT:    Well, he --

    13                  THE CLERK:    No, he doesn't.

    14                  MR. GARDNER:    No, he has the right exhibit.

    15                  THE COURT:    No, he may have the right exhibit

    16     because at the end of it, there's all kinds of materials

    17     attached regarding their house.

    18                  THE WITNESS:    Those were attachments to the

    19     motion, Your Honor.

    20                  THE COURT:    Yeah, to your - (inaudible) -

    21     objection.

    22                  THE WITNESS:    Yeah, to my objection.       I'm sorry.

    23                  MR. GARDNER:    Your Honor?

    24                  THE COURT:    Mr. Gardner.

    25                  MR. GARDNER:    I object on relevance.       This
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      1    postdates the settlement, it postdates the filing of the

      2    discharge complaint, it postdates anything that went into

      3    entering into the settlement.

      4                 THE COURT:    It merely goes to the continuance of

      5    the hearing that we were going to have because of absence

      6    of parties, I believe, right?

      7                 MR. JAMES:    Your Honor, I think it goes to the

      8    misconduct of the debtor and the egregiousness of the

      9    unusual circumstances here.

    10                  The Court is facing a huge public policy decision

    11     as to whether or not to grant someone a discharge.            We

    12     believe it is relevant and important for the Court to take

    13     into consideration the debtor's misconduct prepetition,

    14     postpetition, and post-settlement.         And this exhibit

    15     clearly shows that even after the settlement, the trustee

    16     had continuing concerns that the debtor was going to

    17     dissipate the estate and transfer and conceal assets.              And

    18     we think that's very material and is further reason why

    19     this court should not accept the settlement.

    20                  MR. PARKER:    Your Honor, if I can be heard, the

    21     agreement with -- in this case - (inaudible) - continuing

    22     duties and continuing promises and representations.

    23     It's -- nothing's been hidden.        The discharge will not

    24     affect that so far as I'm aware.         And so if something's

    25     hidden out there, the discharge won't affect it an iota,
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      1    and I -- and we would object to this line of inquiry.

      2                 THE COURT:    Mr. Cossitt.

      3                 MR. COSSITT:    You know, Your Honor, again,

      4    foundation with respect to everything except the first

      5    seven pages of 285-17, the first -- my client stipulates to

      6    admissibility of the first seven pages of 285-17.            We

      7    object to the rest of it because it hasn't been properly

      8    authenticated as web pages or email.

      9                 And last but not least, Counsel seems to be

    10     embarking on a line of questioning that's prohibited by

    11     Federal Rule of Evidence 404, character evidence that is

    12     admissible only in very limited circumstances.           So in

    13     addition to my other grounds of obligations, we further

    14     object under Rule 404.       Thank you.

    15                  THE COURT:    Well, the first seven pages are going

    16     to be admitted.

    17     Q.   (By Mr. James)     Dr. Schneider owns a home located at

    18     3611 Tommy Armour Circle in Billings, correct?

    19     A.   He and his wife Michelle do.

    20     Q.   Did you authorize Dr. Schneider to list, market, and

    21     advertise, and sell that home postpetition?

    22     A.   No.

    23     Q.   Was Dr. Schneider attempting to sell the home without

    24     authority?

    25     A.   Yes.
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      1    Q.   Postpetition, did you learn that Dr. Schneider was

      2    attempting to sell the contents of the home?

      3    A.   Yes.

      4    Q.   And how was he attempting to do that?

      5                 MR. COSSITT:    Objection; relevance, Your Honor.

      6    This does have no connection of the four factors in the

      7    A & C test, the legal standards that govern today's

      8    proceedings.

      9                 MR. JAMES:    Your Honor, it is material because

    10     the home was filled with contents that were not listed on

    11     the bankruptcy schedules, the expensive home furnishings of

    12     a successful physician.       And postpetition, those assets

    13     were being sold and liquidated through an ad on Craigslist,

    14     and I would like to ask the trustee about that.

    15                  This misconduct is unprecedented, and I think

    16     this misconduct is something the Court should be aware of

    17     and should be able to take into consideration in

    18     formulating a decision.

    19                  MR. YORK:    Your Honor, if I may.

    20                  THE COURT:    Mr. York.

    21                  MR. YORK:    There's been a lot today about four

    22     factors.     I believe there's another factor, which is

    23     whether or not the settlement is tainted, and the cases

    24     recite that as a factor.       The case, I believe, is In Re:

    25     Bullis.     So whether or not the settlement is tainted is
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      1    also a factor, and that is a very equitable consideration.

      2                 MR. PATTEN:    Your Honor, may I be heard?

      3                 THE COURT:    Mr. Patten.

      4                 MR. PATTEN:    Your Honor, bankruptcy is a

      5    process --

      6                 THE COURT:    I don't know if they're going to pick

      7    you up.

      8                 MR. PATTEN:    Bankruptcy a process where everybody

      9    is supposed to play by the rules, and someone shouldn't be

    10     able to violate the rules continually and then come in and

    11     say, "I still get a discharge because I'm going to throw a

    12     bunch of money at you."

    13                  And I think that's what's offensive to our

    14     clients.     I believe that the debtor really is trying to buy

    15     a discharge here.      He's trying to buy a discharge without

    16     producing any number of documents that Mr. James has been

    17     questioning Mr. Womack about.        There hasn't been full

    18     compliance with all of the rules that all the rest of us

    19     have to play all the time, and he shouldn't get the benefit

    20     of a discharge simply because he's able to reach into some

    21     other resources and throw them at the creditors,

    22     particularly, Your Honor, when the creditors --

    23                  THE COURT:    Well, he hasn't yet.

    24                  MR. PATTEN:    -- don't want to accept the amount

    25     that he's throwing.
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      1                 But I think this is all important to this policy

      2    question that you raised about:        What sort of conduct must

      3    a debtor comply with in order to get a discharge, in order

      4    to meet the -- and comply with the public policy about not

      5    buying a discharge?

      6                 THE COURT:    Well, this may be conduct beyond

      7    bankruptcy.

      8                 You know, based upon the -- the settlement is of

      9    the claims alleged in 15-15 and 15-20.          That's what I'm

    10     considering when I apply the factors and look at what's

    11     there.    Now, Mr. York raises another potential element on

    12     tainting, but -- it is a big public policy issue, I don't

    13     disagree with you, but I think that there's been sufficient

    14     evidence submitted as to why Mr. Womack is submitting these

    15     proposals as well as conduct that's occurred both

    16     prepetition and postpetition.

    17                  I don't know what more you can really put in the

    18     record - although, you certainly have the opportunity to do

    19     so - that's going to necessarily further impact where I'm

    20     going to go with this.       I mean, all of those issues have

    21     been testified to by Mr. Womack in one way or another, so

    22     I'm not sure -- it may become, as we've heard before, more

    23     cumulative than anything.

    24                  MR. JAMES:    And we'll be brief, Your Honor.

    25                  THE COURT:    Okay.   I will allow you to proceed
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      1    briefly.

      2                 MR. JAMES:    Thank you.

      3    Q.   (By Mr. James)     Mr. Womack, could you explain to the

      4    Court what you learned about the debtor selling assets on

      5    Craigslist?

      6    A.   I learned, after the mediation was concluded, that he

      7    had submitted an advertisement to sell the contents, the

      8    remaining contents of the Tommy Armour property and the

      9    Whispering Winds Ranch property for cash until, until

    10     everything was gone.

    11     Q.   Could you identify Exhibit 10, please?

    12     A.   Exhibit 10 is what I understood to be a Craigslist

    13     advertisement for the contents of the Tommy Armour and

    14     Whispering Winds Ranch residences, the furniture and other

    15     things that were in there.

    16     Q.   Are these -- is this a document that you reviewed in

    17     your capacity as trustee for the estate?

    18     A.   Yes.

    19                  MR. JAMES:    I move the admission of Exhibit 10.

    20                  THE COURT:    Any objection?

    21                  MR. COSSITT:    Yeah, I object.      Authentication,

    22     improper foundation, lack of personal knowledge, too.             This

    23     witness just testified "I understand it to be."

    24                  MR. JAMES:    Your Honor, this is not being offered

    25     for the truth of what's contained in the document, but for
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      1    the fact that this is a document that the trustee reviewed

      2    as a part of his administration of the estate and what he

      3    found and learned as a part of his investigation.

      4                 MR. GARDNER:    If, if that --

      5                 THE COURT:    But he's using it for the truth of

      6    what's there, that there was property sold.

      7                 MR. JAMES:    I can ask him about that, Your Honor.

      8                 THE COURT:    Mr. Gardner, do you -- did you have a

      9    comment?

    10                  MR. GARDNER:    My comment was simply:       If it's

    11     just for what the trustee reviewed, I still object on

    12     relevance as it's all post-settlement and post filing of

    13     the subject litigation.

    14                  MR. COSSITT:    And again, under Rule 404, Your

    15     Honor, if we were litigating the underlying adversary

    16     proceeding, then we can conjure up bad conduct all day

    17     along, but we're not litigating the underlying adversary

    18     proceedings.

    19                  I've sat here in the courtroom and listened to

    20     the comments from other counsel, including the

    21     representative of the United States Government.           Those are

    22     all important considerations, we don't deny that.            The

    23     question is:     What are the evidentiary standards that

    24     govern what this court wants to receive today?

    25                  Again, my client urges the Court to continue to
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      1    stick to the four-factor test and objects to this entire

      2    line of questioning, that it is inappropriate for this

      3    proceeding but it may well be appropriate for an underlying

      4    trial on the merits.      Thank you.

      5                 MR. YORK:    Your Honor, I actually disagree with

      6    that.   I think it's more likely that this information is

      7    relevant in this proceeding than in the underlying action.

      8    We're not going to decide today whether or not

      9    Dr. Schneider is, is not going to get his discharge.            What

    10     we're deciding today is whether he can pay money in

    11     settlement and obtain a discharge.         I think the

    12     considerations are broader in this proceeding than they

    13     might be in the underlying adversary.

    14                  And again, the main factor being:        Is this

    15     settlement tainted?

    16                  THE COURT:    I'm going to overrule the objection.

    17     I'll allow Exhibit 10.

    18     Q.   (By Mr. James)      Mr. Womack, has Dr. Schneider provided

    19     you with a list of the assets that he sold on Craigslist?

    20     A.   No.

    21     Q.   You've toured his home on Tommy Armour, correct?

    22     A.   Yes.

    23     Q.   Had most of the furnishings been removed?

    24     A.   At that time, yes.

    25     Q.   Did you ask Dr. Schneider for a list of the furnishings
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      1    that had been removed?

      2    A.   I did.

      3    Q.   And did he ever provide that to you?

      4    A.   No.

      5    Q.   Did Dr. Schneider cooperate with you, as the trustee,

      6    to the extent that you expect a debtor to cooperate?

      7    A.   No.

      8                  MR. JAMES:    I have nothing further, Your Honor.

      9                  THE COURT:    Mr. York.

    10                                CROSS-EXAMINATION

    11     BY MR. YORK:

    12     Q.   Mr. Womack, I just have one question for you:           Would

    13     you be asking the Court to approve this settlement of the

    14     discharge action if Dr. Schneider was not offering to

    15     pay -- not offering to pay the estate $450,000?

    16                   MR. GARDNER:    Objection; speculation.

    17                   THE WITNESS:    It is.    It's not just, it's not

    18     just the 400 --

    19                   THE COURT:    Just a moment, just a moment.

    20                   THE WITNESS:    Sorry.

    21                   MR. YORK:    This is not speculation.      This is what

    22     the trustee himself is thinking, Your Honor.           What he, what

    23     he settled --

    24                   THE COURT:    I'm going to overrule that objection.

    25                   I'm going to allow you to answer it if you know.
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      1    Q.   (By Mr. York)     Would you settle the discharge action

      2    without him offering to pay $450,000 today?

      3    A.   That wasn't the only reason the discharge action was

      4    being settled.     The way you phrased the question isn't an

      5    accurate representation of what is going on and what

      6    occurred here.

      7         The reason for this:      It's linked to AP 15-15 and all

      8    of those assets and the recovery of that.          I wanted more --

      9    I wanted nonrecoverable assets, you know, exempt assets.

    10     That was why that was included in there as part of this.

    11     But to say -- I mean, it was a total package.

    12          And the biggest thing for me was I thought that the PI

    13     people would be satisfied with this amount of money because

    14     it's substantial.      And I think, frankly, the bottom line, I

    15     think it's better that -- the more we're going to end up

    16     when we go all the way through trial after everything is

    17     said and done and what's available for the people that have

    18     been harmed here in this case, and that's why I did it.

    19          To say that, "Because he paid me $450,000, I'm willing

    20     to do this," is simply, that's inaccurate, Mr. York.

    21     Q.   But it is the payment of money that's driving your

    22     quest to settle the discharge action; is that correct?

    23     A.   Not just the 450,000.      It's, it's the, it's the global

    24     assessment, everything that we've talked about.           I never

    25     entered into this settlement just viewing them separately.
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      1    Okay?

      2         This is a, it's a global, it's a global issue, and what

      3    is going to be available to the creditors at the end of the

      4    day, and what's going to happen, the amount of resources

      5    that are going to be consumed by the Court, by everybody in

      6    this rule -- room, by the PI attorneys having to go and

      7    prove up their cases down in state court -- or Federal

      8    Court in Wyoming, I mean, all of those things.

      9         This was an effort to bring everything to an end.            And

    10     you keep talking about "tainted."         And frankly, I

    11     understand why you're saying that, I understand the public

    12     policy considerations of the U.S. Trustee's Office against

    13     any kind of settlement of a, of a claim to deny discharge.

    14          I disagree with that.      I think that there are other

    15     human considerations that sometimes have to come into play.

    16     So, so it wasn't just the $450,000, it wasn't just the

    17     money; it was the entire package that we talked about here

    18     today that was the reason I brought this forward.

    19                  MR. YORK:     I said I would ask one, and I just

    20     asked one.    Thank you.

    21                  THE COURT:    Thank you.    Any redirect?

    22                  MR. PARKER:    Just briefly, Your Honor, I do

    23     have --

    24                  THE COURT:    Mr. Parker.

    25                  MR. PARKER:    At this time, Your Honor, Michelle
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      1    Schneider and the remainder of my clients will join in the

      2    trustee's motion to approve the settlement so we're

      3    formally on the record with that.

      4                              CROSS-EXAMINATION

      5    BY MR. PARKER:

      6    Q.   Mr. Womack, did you require, as part of the agreement,

      7    that Dr. Schneider make representations as to his current

      8    assets?

      9    A.   Yes.

    10     Q.   Will those representations survive even if he --

    11     survive and create liability for him even if he is

    12     discharged?

    13     A.   Yes.

    14                  MR. PARKER:    That's all I have, Your Honor.

    15                  THE COURT:    Mr. Patten?

    16                  MR. PATTEN:    (Inaudible) -- Your Honor.

    17                  THE COURT:    Mr. Patten?

    18                  (No audible response.)

    19                  THE COURT:    Mr. Gardner, did you have any

    20     questions?

    21                  MR. GARDNER:    I'll let Mr. Patten go.       I don't

    22     believe so.

    23                               CROSS-EXAMINATION

    24     BY MR. PATTEN:

    25     Q.   Joe, who is at risk if the settlement is not approved?
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      1    A.   Primarily, the creditors.

      2    Q.   The creditors that are opposed to the settlement.

      3    A.   Yes.

      4                 MR. PATTEN:    Thank you.

      5                 THE COURT:    Mr. Womack, you may step down.

      6                 THE WITNESS:    Thank you, Your Honor.

      7                 I'll -- do you want your exhibits back?

      8                 MR. GARDNER:    You can leave them up there.

      9                 THE WITNESS:    Okay.

    10                  THE COURT:    Next witness?

    11                  MR. PARKER:    Yes, Your Honor.      It may be a little

    12     bit -- (inaudible.)

    13                  THE COURT:    Well, let me just double -- confirm

    14     with Mr. Gardner.

    15                  Any further witnesses, Mr. Gardner?

    16                  MR. GARDNER:    I believe my -- the people who are

    17     supporting this motion are going to call Dr. Schneider and

    18     Michelle Schneider.       I was going to let them call them

    19     instead of me.

    20                  THE COURT:    Okay.   Mr. Parker?

    21                  MR. PARKER:    Michelle Schneider calls Michelle

    22     Schneider.

    23                  THE COURT:    Okay.   Ms. Schneider, if you could

    24     come to the podium, please, to be sworn.

    25                     MICHELLE SCHNEIDER, WITNESS, SWORN
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      1                            DIRECT EXAMINATION

      2    BY MR. PARKER:

      3    Q.   Would you please state your name for the record,

      4    please?

      5    A.   Michelle Renee Schneider.

      6    Q.   And where do you live now?

      7    A.   California.

      8    Q.   And are you a -- are you married to John Schneider?

      9    A.   Yes.

    10     Q.   How long have you been married?

    11     A.   Twenty-five years in March.

    12     Q.   And do you have any children?

    13     A.   I have three.

    14     Q.   And can you give the judge their first names and their

    15     ages?

    16                  THE COURT:    You know, I'd just as soon not do the

    17     names, even, the first names.

    18     Q.   (By Mr. Parker)      Okay.   You have three children.      Can

    19     you just give ages?

    20     A.   Eighteen, twenty-one, twenty-two.

    21     Q.   Are any living with you?

    22     A.   Eighteen-year-old.

    23     Q.   And during the course of your marriage to

    24     Dr. Schneider, who was the major breadwinner?

    25     A.   My husband.
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      1    Q.   And what did he do?

      2    A.   He was a neurosurgeon.

      3    Q.   And what did you do while he was practicing surgery?

      4    A.   I raised the children and ran the house and whatever

      5    was asked of me as far as -- I raised our children.

      6    Q.   Did you ever homeschool?

      7    A.   Absolutely, all three.

      8    Q.   And how did they do their post-scholastic life after

      9    being homeschooled?

    10     A.   Two are in college presently, and one has graduated

    11     early, the 18-year-old, and she will entering college in

    12     September.

    13     Q.   Are you an RN?

    14     A.   Yes, sir.

    15     Q.   Are you in the position now to currently practice in

    16     nursing, however?

    17     A.   Yes.    I am currently trying to get my ACLS and PALS,

    18     which is necessary enter a unit in a hospital.

    19     Q.   During the course of your marriage, Dr. Schneider, can

    20     you describe, because of his work, any extraordinary

    21     impacts on family life that, I hate to say you endured but

    22     were part of your life in terms of him -- like Target, for

    23     example, at the Target store when he gets called?

    24     A.   Oh, well, there were numerous times, well, because of

    25     his work and because of his dedication to his work, we were
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      1    left at stores and I had to get home or he was -- he had to

      2    quickly leave us in different situations in order to attend

      3    to the, the emergencies that he had to attend to because he

      4    was so dedicated and we were a partnership.           I knew what

      5    that entailed.     And he had to go, and I was the responsible

      6    party for our three children.

      7    Q.   And during that time, do you have an opinion as to

      8    whether or not Dr. Schneider would have been able to even

      9    accumulate the wealth we have here if you wouldn't have

    10     attended the home front?

    11     A.   I think if you look at financial along with the

    12     American dream as far as having children and a family, I

    13     think it would have been totally impossible.

    14          I think we were a partnership.        I raised the children.

    15     I would get up very early in the morning, send them to

    16     school, offer them the love and nurturing that they needed.

    17     If they went to school -- or if I stayed at home, I taught

    18     them math, I taught them English, I taught them rules, I

    19     made sure they ate correctly.        I was responsible for their

    20     nutrition, I was responsible for their exercise, I was

    21     responsible for their faith.

    22          The three children were my responsibility, and whatever

    23     came with that in order to keep them safe.

    24     Q.   Other than what attorneys and accountants have told you

    25     over this last three or four years, do you have any really
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      1    knowledge about the accounting, the intricacies, the

      2    businesses?

      3    A.   No, I do not, because again, we were a partnership.

      4    And early in our marriage, we knew -- it may be

      5    old-fashioned, but we knew what my responsibilities were

      6    going to be.     And that's why I stopped nursing, to take

      7    care of our children.

      8         And I knew what his --

      9    Q.   When you say "nursing," practicing nursing?

    10     A.   Practicing, yes, sir.      And I -- and it was very clear,

    11     his responsibilities.       I trusted him, he trusted me, and

    12     that's how he forged the success of, of what we did.

    13                  MR. PARKER:    That's all I have.

    14                  THE COURT:    Any cross-examination?

    15                  (No audible response.)

    16                  THE COURT:    It doesn't appear so.

    17                  You may step down.      Thank you -- (inaudible.)

    18                  Next witness?

    19                  MR. COSSITT:    I guess if -- is the trustee

    20     concluded?

    21                  THE COURT:    That is my understanding.

    22                  MR. GARDNER:    Yes.    I was going to you to call

    23     Dr. --

    24                  MR. COSSITT:    Then I guess if the Court's so

    25     inclined, those of us that are proponents of the
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      1    settlement, I guess that comes down to me.           And we'll call

      2    Dr. Schneider.

      3                 THE COURT:    Very good.    Mr. Schneider, if you'll

      4    come forward to be sworn, please.

      5                 If you could just stand right there by the

      6    podium, and the clerk will come on.

      7                    JOHN HENRY SCHNEIDER, DEBTOR, SWORN

      8                            DIRECT EXAMINATION

      9    BY MR. COSSITT:

    10     Q.   Good afternoon, Doctor.

    11     A.   Sir.

    12     Q.   While you're on the witness stand, don't forget that if

    13     you need a bathroom break, water, or you just need a break,

    14     you need to say something to the Court.          Okay?

    15     A.   Yes, sir.

    16     Q.   Okay.   Your name, please?

    17     A.   John H. Schneider.

    18     Q.   Address?

    19     A.   Up until recently, 5611 Tommy Armour Circle; Billings,

    20     Montana 59106.

    21     Q.   Where are you living now, then?

    22     A.   Most of the time in the last two months has been at 543

    23     Camino De Orchidia; Encinitas, California.

    24     Q.   Okay.   Would you briefly share with the Court your

    25     educational background?
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      1    A.   Yes.    I'm a -- I graduated from high school in 1979 in

      2    Southern California, went to the University of Southern

      3    California where I graduated summa cum laude in 1983.

      4         I went to medical school and graduated at the top of my

      5    class in 1987, was -- received a full scholarship through

      6    the United States Air Force to go to medical school.

      7    Q.   So you were, what, a medical officer in the Air Force?

      8    A.   Ultimately.

      9    Q.   Oh, okay.

    10     A.   After medical school, I was accepted into a residency

    11     training program in first general, then neurological

    12     surgery at LA County-USC Medical Center in Southern

    13     California.     I participated in that residency program

    14     obtaining ultimately a chief residency certification in

    15     1992 going into '93.

    16          '93 into '94, I was hired as a junior staff member

    17     working at the -- those same institutions as a full-fledged

    18     neurosurgeon.

    19     Q.   Did you do any fellowship training after residency?

    20     A.   I did -- I actually included it or intwined it within

    21     the residency.     I did a six-month reconstructive spine

    22     surgery fellowship.

    23     Q.   Okay.    Then post-residency and post-fellowship, you

    24     served in the Air Force?

    25     A.   Yes, sir.     So the Air Force paid for my medical school.
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      1    Q.   What years were you in the Air Force?

      2    A.   Went -- so once -- with the completion of my academic

      3    year at the University of Southern California, I entered

      4    the Air Force in early 1994 and was there until 1997.

      5    Q.   And you received an honorable discharge?

      6    A.   I did.    I was, I was a major, and then I -- I started

      7    as a major in the United States Air Force as a neurosurgeon

      8    at Wilford Hall Medical Center and ultimately was a

      9    lieutenant colonel select, but left the Air Force in 1997

    10     with an honorable discharge.

    11     Q.   When was the last time that you actively engaged in

    12     practice as a neurosurgeon?

    13     A.   I practiced in neurosurgery up until February of 2013

    14     in my own private practice located in Montana and northern

    15     Wyoming.     After February of 2013, my neurosurgical

    16     experience has been participating in surgeries outside of

    17     this country as well as teaching neurosurgical techniques

    18     inside of this country.

    19     Q.   When and where did you first become acquainted with or

    20     learn of estate or asset protection planning?

    21     A.   In medical school, and it certainly was reiterated in

    22     residency.

    23     Q.   Which topic, estate or asset protection?

    24     A.   A combination of both, but since I was being trained by

    25     neurosurgeons and neurosurgery is the highest litigious
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      1    subspecialty in medicine, the -- every academic professor

      2    had significant influence on every resident that protecting

      3    one's asset and protecting one's family was critical, as we

      4    were all going to get sued multiple times.           I believe I can

      5    quote them on that.

      6    Q.   And that's -- that information you said was topics of

      7    discussion, did you say during residency --

      8    A.   Yes, sir.

      9    Q.   -- or post residency?

    10     A.   During residency.

    11     Q.   Okay.    And this was the, the doctors that were the, the

    12     senior doctors that the residents practiced under who were

    13     sharing this information?

    14     A.   Right, the attending surgeons.

    15     Q.   "Attending," yeah.      That's the word, excuse me.

    16          As a result of the awareness of the asset and estate

    17     protection planning commentary and advice you were

    18     receiving, did you investigate it further?

    19     A.   I did.

    20     Q.   Briefly, what did your -- what did you do?

    21                   MR. PATTEN:    Your Honor?

    22                   THE COURT:    Yes.

    23                   MR. PATTEN:    I would object on relevance.       I

    24     don't know what this has to do with the four elements of

    25     the A & C factor or the additional element that Mr. York
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      1    has identified.     This isn't a mini-trial, as we've been

      2    told repeatedly this afternoon, so I don't know what

      3    relevance the need for asset protection is in connection

      4    with the settlement.

      5                 THE COURT:    Mr. Cossitt?

      6                 MR. COSSITT:    It goes to the first factor of the

      7    four-factor test, success on the merits.          My client --

      8    you're going to receive, the Court will receive testimony

      9    on the percentage chance of success of the merits that

    10     varies significantly from what the trustee offered a few

    11     minutes ago during his testimony.         And this is

    12     foundational, foundational information that's going to

    13     buttress the opinion that I'll try to elicit from this

    14     witness with respect to success on the merits, which is the

    15     first factor of the test.

    16                  THE COURT:    I'm going to --

    17                  MR. COSSITT:    And it's a fundamental rule on --

    18                  THE COURT:    -- overrule and allow him to -- some

    19     latitude.

    20                  MR. COSSITT:    I'm sorry, excuse me.

    21                  THE COURT:    You may proceed.

    22                  MR. COSSITT:    Thank you.

    23     Q.   (By Mr. Cossitt)     Dr. Schneider, what was the -- oh,

    24     the question was:      Did you act on the advice and commentary

    25     that you had been exposed to?
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      1    A.   I did.

      2    Q.   What did you do?

      3    A.   Well, certainly throughout my residency, we were

      4    working over 100 hours a week.        I had --

      5    Q.   The question is "What did you do to act on the

      6    advice" --

      7    A.   I understand.

      8    Q.   -- "about asset protection?" sir, not how many hours

      9    you were working.

    10     A.   I ultimately hired the Brown Law Firm in 1998 here in

    11     Billings, Montana, to create our first estate and asset

    12     protection plan.

    13     Q.   And that was '98?

    14     A.   '98.

    15     Q.   A firm here in town?

    16     A.   Brown Law Firm.

    17     Q.   Okay.    And did they create such a plan?

    18     A.   A complicated one, yes.

    19     Q.   Did you follow their advice and implement it?

    20     A.   To the letter.

    21     Q.   Did the Brown Law Firm advise you that these were

    22     appropriate planning and risk management tools?

    23     A.   Yes.

    24     Q.   Then what, then what trans -- so you implemented this

    25     plan.   Then what?
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      1    A.   In 2007, I had changed practice locations.          I was

      2    practicing in northern Wyoming.        I was a Wyoming resident.

      3    I hired new counsel, new counsel of the Greear Law Firm,

      4    Greear Clark King in Worland, Wyoming.          Their specialty

      5    is --

      6    Q.   Did you say "Worland," sir?

      7    A.   Worland --

      8    Q.   Okay.

      9    A.   -- Wyoming.    Their specialty is estate planing and

    10     business law.     I trusted them and had many, many meetings

    11     with them as far as creating and re-creating estate plan --

    12     the estate plan.

    13     Q.   Okay.    So that's the asset protection plan that was in

    14     place at the time you filed this bankruptcy case?

    15     A.   It is the estate plan of which asset protection is part

    16     of the plan, correct.

    17     Q.   Did the Greear Clark law firm in Worland give you

    18     extensive advice and counsel with respect to this course of

    19     action?

    20     A.   They did.

    21     Q.   Did you follow their advice?

    22     A.   I did.

    23     Q.   Have they advised you at any time that this asset

    24     protection planning or estate planning was inappropriate?

    25     A.   They did not.
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      1    Q.   At the time you set up the initial plan back in '98

      2    with the Brown Law Firm, did you have any claims or

      3    lawsuits pending against you?

      4    A.   I did not.

      5    Q.   And in 2007, at the time you updated it and implemented

      6    it with the law firm down in Worland, were there any claims

      7    or lawsuits pending against you?

      8    A.   No.

      9    Q.   What -- I'd like to ask you to briefly summarize the

    10     events that led up to the bankruptcy filing.

    11     A.   Well, I was involved in litigation.         I had spent a

    12     considerable amount of money on a single claim -- excuse

    13     me, on a single defense.       I reviewed that in detail with

    14     Mr. Ron Jurovich, who is a -- participated in some of those

    15     defenses.    And his specialty is bankruptcy law, he lives in

    16     Thermopolis, Wyoming.

    17          Mr. Jurovich looked at all of the assets that we had

    18     that were owned by the various entities that had been set

    19     up by Mr. Greear, and he ultimately recommended that

    20     consideration of Chapter 7 bankruptcy was the most

    21     important thing to do.

    22     Q.   So the events leading up were just multiple lawsuits.

    23     A.   I had litigation.      And based upon the ownership of the

    24     assets, which had been appropriately placed into various

    25     estate planning tools to primarily avoid inheritance tax
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      1    should something happen to my wife and I, I did not have

      2    access.    Those were not my assets; although, they were part

      3    of the estate's.

      4         So I was running up against a limited amount of

      5    resources in order to address litigation expenses, and I

      6    was spending all the money on paying for defense lawyers.

      7    I knew there were creditors, and I was trying to come to

      8    some type of reasonable conclusion on how to, how to move

      9    forward with that litigation and get it concluded.

    10     Q.   Did your, did your practice end in approximately

    11     February of 2013?

    12     A.   Functionally, yes.

    13     Q.   And what happened to your revenue stream at that point?

    14     A.   Declined significantly.

    15     Q.   So we had a decline in revenue and increased

    16     liabilities needed to defend -- cost of defending the

    17     liabilities.     Are those the events that preceded the

    18     bankruptcy?

    19     A.   That is correct.

    20     Q.   So you mentioned Mr. Jurovich, although he's not the,

    21     your counsel of record in this case, is he?

    22     A.   He is not.

    23     Q.   How did we go from Mr. Jurovich to Mr. Dye?

    24     A.   In 2012, we relocated back to Montana, myself and my

    25     family.    We were Montana residents.       Beginning at the end
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      1    of 2012 and - (inaudible) - 2013, 2014, Mr. Jurovich

      2    provided extensive counsel and extensive recommendations,

      3    and ultimately he actually participated in interviewing

      4    Mr. Dye on the phone whom I identified as a bankruptcy

      5    attorney with extensive experience here in Montana.

      6    Q.   And then did you ultimately decide to -- obviously, you

      7    decided to file a Chapter 11 case.

      8    A.   Based on my conversations, extensive conversations with

      9    Mr. Jurovich and based upon extensive conversations and

    10     preplanning with Mr. Dye, they both recommended that was

    11     the best course of action.

    12     Q.   Did you have any idea or warning that the events that

    13     have engulfed you since you filed this case were going --

    14     might occur?

    15     A.   Absolutely none.

    16                  MR. PATTEN:    Relevance, Your Honor.

    17                  THE COURT:    Pardon?

    18                  MR. PATTEN:    Relevance.    What does the advice

    19     about filing bankruptcy have to do with any of the factors

    20     that the Court's supposed to --

    21                  THE COURT:    Well, I've only treated this as

    22     background because we've -- we're really beyond that anyway

    23     at this point with the settlements, but -- I'm going to

    24     overrule, but I'm going to ask Mr. Cossitt to kind of move

    25     it along.
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      1    Q.   (By Mr. Cossitt)      He overruled the objection.       You can

      2    answer the question, sir.

      3    A.   Would you repeat it, Mr. Cossitt?

      4    Q.   The question was:      Did either of these lawyers warn you

      5    that you might get the living daylights sued out of you and

      6    your family?

      7    A.   Absolutely not.

      8    Q.   Had you known of this risk, would you have filed the

      9    case?

    10     A.   Absolutely not.

    11     Q.   Okay.   Let's, let's talk a little bit about the lawsuit

    12     called "Adversary 15-15."       That's the collection lawsuit

    13     that Mr. Womack filed against you and your family members.

    14     A.   I understand.

    15     Q.   Okay.   Do you have an estimate of the length of time it

    16     would take to get that case prepared for trial?

    17                  MR. PATTEN:    Objection; foundation.       There's

    18     no --

    19                  THE COURT:    Sustained.

    20     Q.   (By Mr. Cossitt)      Okay.    Have you been involved in

    21     lawsuits as a litigant?

    22     A.   I have.

    23     Q.   How many?

    24     A.   Litigant or defendant?        I'm sorry.

    25     Q.   Plaintiff or defendant, as a litigant.          Not as an
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      1    expert witness but as a litigant, either a plaintiff or

      2    defendant, how many lawsuits have you been involved in in

      3    your adult life?

      4    A.   A dozen.

      5    Q.   Are you familiar with the respective rules of

      6    plaintiffs and defendants?

      7    A.   Very much so.

      8    Q.   Have you hired many, many lawyers over the years to

      9    represent you?

    10     A.   I have.

    11     Q.   How many?

    12     A.   Probably 20 to 25.

    13     Q.   Okay.    And have you prosecuted or defended many number

    14     of lawsuits to conclusion?

    15     A.   No.

    16     Q.   Settled them?

    17     A.   Settled some, some were dismissed, but when they were

    18     settled, it was fairly far in the game.

    19     Q.   You've worked closely with lawyers and had a chance to

    20     receive their advice and counsel with respect to litigation

    21     management?

    22     A.   Yes, sir.

    23     Q.   Have you served as an expert witness?

    24     A.   Yes, sir.

    25     Q.   How many cases?
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      1    A.   Approximately, 50.

      2    Q.   Have you, during the course of serving as an expert

      3    witness, have you had an opportunity to work closely with

      4    lawyers preparing your expert testimony in the cases?

      5    A.   Yes, sir.

      6    Q.   Okay.   Do you have an estimate, based on your, your

      7    experience, then, do you have an estimate of how much

      8    pretrial discovery and dispositive motions and things, how

      9    much time it will take to prepare Adversary 15-15 for

    10     trial?

    11                  MR. PATTEN:    Objection --

    12                  UNIDENTIFIED SPEAKER:      Objection.

    13                  MR. PATTEN:    -- there's no foundation that the

    14     witness has any knowledge of the procedures of Bankruptcy

    15     Court.

    16                  MR. COSSITT:    You know what?     I'll respond to the

    17     objection by saying this is a lay opinion.           The Court's got

    18     wide discretion and the Court can determine how much weight

    19     it wants to give this testimony, but it does come -- I urge

    20     the Court to overrule the objection because it does come in

    21     as lay opinion testimony.

    22                  THE COURT:    For what purpose?

    23                  MR. COSSITT:    It goes to the four-factor test and

    24     the complexity and the expense and the delay of attending

    25     to it.    And this witness's opinions are going to vary from
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      1    the opinions that were expressed by the trustee.

      2                 THE COURT:    I really see those factors going more

      3    to the trustee's review, investigation, and conclusions

      4    than necessarily from the parties.

      5                 MR. COSSITT:    We ask the Court to overrule the

      6    objection so that we can provide our testimony and help

      7    guide the Court to a better informed overall resolution of

      8    the thing.    And the Court is equipped to sift through

      9    divergent testimony, receive and sift through divergent

    10     testimony.

    11                  And to -- my offer of proof on this would be that

    12     if this --

    13                  THE COURT:    Do an offer of proof --

    14                  MR. COSSITT:    All right.     If this --

    15                  THE COURT:    -- because I'm going to sustain the

    16     objection.

    17                  MR. COSSITT:    If this -- okay.      If this testimony

    18     were allowed, I would expect to elicit testimony from this

    19     witness that he has had extensive experience with lawyers,

    20     he's familiar with the litigation process, that he's

    21     qualified to offer a lay, lay opinion on the same topics

    22     that the trustee testified earlier today that his opinion

    23     would be different.

    24                  And I could go into the specifics of what I

    25     expect to elicit, but I'll just leave it at that, that his
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      1    opinions on a number of the four -- the expense,

      2    complexity, and delay, and cost of attending to this will

      3    be divergent from the trustee's opinions expressed earlier.

      4    That concludes my offer of proof, and I would just ask the

      5    Court to reconsider its ruling and allow the testimony.

      6                 THE COURT:    The ruling stands.      You may proceed.

      7    Q.   (By Mr. Cossitt)     Dr. Schneider, do you have an opinion

      8    on what you -- what your lawyers, either Mr. Dye or myself,

      9    have told you as to the percent of chance of successfully

    10     defending Adversary No. 15-15?

    11     A.   The collection -- I think we'll have at least an

    12     80 percent chance of being successful with defending it.

    13     Q.   Do you believe the trustee might encounter any

    14     difficulties in collecting any judgments that he may

    15     obtain?

    16     A.   I think that we will spend every resource necessary in

    17     order to litigate that to within our powers and within the

    18     court system and that the amount that, regardless of

    19     judgment, that the amount that would be -- that Mr. Womack

    20     or his attorneys could obtain would be dramatically less

    21     than that is offered in the settlement.

    22     Q.   You heard the trustee's testimony earlier today about

    23     the complexity, the expense, and the inconvenience of the

    24     litigation, didn't you?

    25     A.   Yes.
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      1    Q.   Do you agree with his testimony?

      2    A.   Yes.

      3                 MR. COSSITT:    Your Honor, may I approach the

      4    witness?

      5                 THE COURT:    You may.

      6                 MR. COSSITT:    The record should reflect that

      7    we'll be handing the witness the settlement agreement that

      8    is at Docket 29-2.      That's Docket 290-2, and it's also

      9    labeled Exhibit TT-2.

    10     Q.   (By Mr. Cossitt)     Dr. Schneider, do you know what

    11     Docket 290-2 is?

    12     A.   I do.

    13     Q.   What is it?

    14     A.   It's the settlement agreement and release.

    15     Q.   In which case?

    16     A.   Both cases.

    17     Q.   Take a closer look, Doctor.       Maybe take a look at

    18     Paragraph B on page 2.

    19     A.   I apologize.     It's for AP 15.

    20     Q.   Okay.   Let's move to the section on page 2 that talks

    21     about agreement and release, Paragraph 2 where it says

    22     "terms."

    23     A.   I'm there.

    24     Q.   Okay.   The Term 2(a) is the Tommy Armour house or the

    25     Billings house?
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      1    A.   Correct.

      2    Q.   What's your opinion as to the value of that?

      3    A.   At least $600,000.

      4    Q.   And is it your view that your wife, Michelle, owns half

      5    of it?

      6    A.   She does.

      7    Q.   And then let's move to Paragraph C.         That's the

      8    Whispering Winds Ranch.       What's your opinion of value on

      9    that?

    10     A.   The remainder of the ranch that's for sale is actually

    11     listed at over $1.8 million.        And that, like Mr. Womack had

    12     testified to, the current real estate agent has indicated

    13     there are several parties that are interested at that

    14     level.

    15     Q.   What's your opinion of value?        Not who's interested;

    16     what's your opinion of value?

    17     A.   1.8 to $2 million.

    18     Q.   Okay.   Let's move on to Paragraph F on page 3, sir.

    19     A.   I'm there.

    20     Q.   And what is -- what's that?

    21     A.   This refers to the current trust account, moneys that

    22     are held in Mr. -- in the Goetz law firm trust account

    23     relative to the prior sale of a smaller guest home and a

    24     small amount of property that surrounded that guest home

    25     from Whispering Winds Ranch.
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      1    Q.   And that's got -- the trust account has roughly 350

      2    grand in it, doesn't it?

      3    A.   To my understanding, yes.

      4    Q.   I mean, didn't some money come out to pay the mediator

      5    and that sort of thing?

      6    A.   Yes.

      7    Q.   But roughly 350 grand?

      8    A.   Yes.

      9    Q.   Okay.   Then the Paragraph G, it discusses the REIT.

    10     And as a practical matter, is the REIT going to be

    11     available to the trustee?

    12     A.   It will be with a court order.

    13     Q.   But you need a court order to -- why don't you explain

    14     that a little bit, please.

    15     A.   So the REIT is not a liquid; it's -- asset; it is, it's

    16     real estate.     And it's controlled by K - (inaudible) - S.

    17     They have their -- there are specific requirements for

    18     distribution of that asset.        I inquired after the mediation

    19     and agreement to settle this case as to the ability to

    20     liquidate that.     They indicated they would only do so or

    21     consider doing so based upon a court order.

    22     Q.   Okay.   And if, if it can't be liquidated, then the --

    23     Paragraph F, G, and H read together basically means that

    24     the trustee gets 200 -- out of the 350 grand in the Goetz

    25     firm account, the trustee gets 240 and Michelle gets 110?
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      1    A.   Correct.

      2    Q.   Okay.   On Paragraph I -- do you see that?

      3    A.   I do.

      4    Q.   Yeah.   And that's, that's an agreement to split the tax

      5    refund, right?

      6    A.   Correct.

      7    Q.   So how much does that net the bankruptcy estate?

      8    A.   $62,000.

      9    Q.   And then overall, did you add up the value of all of

    10     these various assets?

    11     A.   We did, yes.

    12     Q.   And what did you come up with?

    13     A.   Just under $3 million.

    14     Q.   And that's the value of the consideration that you and

    15     your family members are putting in to fund the settlement?

    16     A.   Yes.

    17     Q.   Okay.   And then in addition to that consideration,

    18     you've got -- or MedPort owns some property in California?

    19     A.   It does.

    20     Q.   What's that worth?

    21     A.   Just under $2 million.

    22     Q.   So if I understand this right, your testimony is that

    23     the, the pile of assets that have been under consideration

    24     is worth about five, right?

    25     A.   Correct.
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      1    Q.     All right.   And then I further understand your

      2    testimony that, that the -- you think the value of what's

      3    being put in here is in the 2.9 or 3.0 million range?

      4    A.     Yes.

      5    Q.     Let's talk about the case that's known as

      6    "Adversary 15-20."      Okay?

      7    A.     Yes, sir.

      8    Q.     What do you understand the claims to be in that case?

      9    A.     Mr. Womack has filed that case to deny the discharge

    10     requested under my Chapter 7 bankruptcy.

    11     Q.     And did you carefully review the allegations in the

    12     case with Mr. Dye?

    13     A.     I carefully reviewed them with Mr. Dye, yes.

    14     Q.     Did he prepare and file an answer in the case?

    15     A.     He did.

    16     Q.     And tell us, what's, what does the answer basically

    17     say?

    18     A.     After going through it in great detail with him, giving

    19     him all the evidence, it was his opinion and so filed that

    20     in general, we deny --

    21                   MR. PATTEN:    Objection; hearsay, Your Honor.

    22                   THE WITNESS:   -- we deny the --

    23                   THE COURT:    Just a moment.

    24                   UNIDENTIFIED SPEAKER:     Objection.

    25                   MR. PATTEN:    Objection; hearsay.     The witness is
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      1    testifying as to somebody else's opinion.

      2                 THE COURT:    I understand.     I'm going to sustain,

      3    even though I would like to know what he said.            But I'm

      4    going to sustain.

      5    Q.   (By Mr. Cossitt)     Did he file an answer on your behalf?

      6    A.   He did.

      7    Q.   What did the answer say?

      8    A.   In general:    Deny the claims.

      9    Q.   And that's in the, I think -- excuse me.

    10                  MR. GARDNER:    It's Trustee's 5, Mr. Cossitt.

    11                  MR. COSSITT:    May I approach the witness, Your

    12     Honor?

    13                  THE COURT:    You may.

    14                  MR. COSSITT:    The record should reflect that I'm

    15     going to hand the witness Docket 287-1.          That's

    16     Docket 287-1, which is also labeled Schneider Exhibit JS-1.

    17     And I'm proud to announce that that is the only exhibit

    18     that I've prepared for today's proceedings.

    19     Q.   (By Mr. Cossitt)     Dr. Schneider, do you have

    20     Docket 287-1 there in front of you, sir?

    21     A.   I do.

    22     Q.   Okay.   What is it?

    23     A.   It's the answer to the first amended complaint in

    24     Adversary No. 15-00020.

    25     Q.   And do you recognize the signature block in the upper
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      1    left-hand corner --

      2    A.   I do.

      3    Q.   -- on the first page?

      4    A.   I do.

      5    Q.   Who is it?

      6    A.   Mr. Dye.

      7    Q.   Was he your lawyer?

      8    A.   He was.

      9    Q.   And do you think this is a true and accurate copy of

    10     the answer that he filed on your behalf?

    11     A.   I do.

    12                  MR. COSSITT:    Your Honor, we move to admit

    13     Exhibit JS-1, which is located at Docket 287-1.

    14                  THE COURT:    Any objection?

    15                  MR. PATTEN:    I think the Court can take judicial

    16     notice of it anyway, Your Honor.

    17                  THE COURT:    The exhibit's admitted.

    18                  MR. COSSITT:    I want it in substantive evidence.

    19     Q.   (By Mr. Cossitt)      Dr. Schneider, is that the document

    20     that you're suggesting in which you deny the allegations

    21     that the Chapter 7 trustee has made against you?

    22     A.   Yes.

    23     Q.   And it raised defenses?

    24     A.   Yes.

    25     Q.   Did Attorney Dye express thoughts or opinions about
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      1    your chances of beating this thing?

      2    A.    He did.

      3    Q.    What does he think?

      4    A.    (Inaudible.)

      5                 MR. PATTEN:    Objection -- (inaudible.)

      6                 THE COURT:    Pardon, Mr. Patten?

      7                 MR. PATTEN:    Hearsay.

      8                 THE COURT:    Sustained.

      9    Q.    (By Mr. Cossitt)     What's your view about winning this

    10     lawsuit?

    11     A.    After careful consideration in talking with my

    12     attorneys, I believe it's better than 80 percent.

    13     Q.    Do you have an opinion as to how long it will take to

    14     prepare this case for trial?

    15     A.    (Inaudible) -- six months.

    16     Q.    Do you have an opinion as to how long the trial might

    17     last?

    18     A.    I would assume at least a week.

    19     Q.    Do you have any idea or have you budgeted for what it

    20     might cost to properly defend the allegations in this

    21     thing?

    22     A.    Approximately, $300,000.

    23     Q.    Are you prepared to commit those resources to defend

    24     it?

    25     A.    No.
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      1    Q.     Pardon?

      2    A.     I will have to obtain those resources by liquidating

      3    the assets that are currently in -- offered in the

      4    settlement agreement.

      5    Q.     You and your family members.

      6    A.     Correct.

      7    Q.     Okay.   You know, let's talk about that for a little

      8    bit.    Your --

      9                   THE COURT:   Property other than property of the

    10     estate.

    11                    MR. COSSITT:   I'm sorry, Your Honor?

    12                    THE COURT:   Property other than property of the

    13     estate.

    14                    MR. COSSITT:   Well, that will be the testimony I

    15     would like to elicit.

    16     Q.     (By Mr. Cossitt)     The trustee has made allegations that

    17     a bunch of those assets belong to his bankruptcy estate,

    18     right?

    19     A.     He has.

    20     Q.     But as of right now, they're titled in the names of

    21     other LLCs and trusts, right?

    22     A.     They are.

    23     Q.     And nothing's changed, right?

    24     A.     Correct.

    25     Q.     So the moneys that are tied up in the Gardner trust
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      1    account, if this settlement's not approved, what is the

      2    Schneider clan's plans with respect to those?

      3    A.   Well, the -- we would ask -- that money is legally

      4    owned by the children's irrevocable trust, and we would ask

      5    their representative counsel to move aggressively to

      6    liberate that entire amount as there is excellent case law

      7    and Supreme Court opinion from Wyoming where that

      8    location -- where that ranch is located that shows --

      9                 MR. YORK:    Your Honor, excuse me.      Now I'm going

    10     to object to the lack of foundation.

    11                  THE COURT:    Sustained.

    12     Q.   (By Mr. Cossitt)     Did you -- have you and your family

    13     members engaged Montana counsel to take a look at the

    14     validity of the lis pendens that the trustee has filed?

    15     A.   We have.

    16     Q.   And have your lawyers engaged Wyoming counsel where the

    17     Whispering Ranch, where the Whispering Ranch lands are

    18     located?

    19     A.   They have.

    20     Q.   And did Wyoming counsel provide case law and other

    21     materials to your Montana lawyers?

    22     A.   They did.

    23     Q.   Did they share that with you?

    24     A.   They did.

    25                  MR. YORK:    Objection; hearsay, one more question.
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      1                  THE COURT:    Well, I'm going to overrule that, and

      2    I'll allow you to --

      3    Q.   (By Mr. Cossitt)       Did they share the Wyoming case law

      4    with you?

      5    A.   They did.

      6    Q.   Was it a topic of discussion with respect to freeing up

      7    the funds that are sitting in the Goetz firm trust account?

      8    A.   Yes.

      9    Q.   Did you receive advice and counsel from your lawyers?

    10     A.   Yes.

    11     Q.   What was it?

    12                   MR. YORK:     Objection; hearsay.

    13                   UNIDENTIFIED SPEAKER:     Objection; hearsay.

    14                   THE COURT:    I'm going to sustain that.      I'll

    15     allow you to rephrase.

    16     Q.   (By Mr. Cossitt)       What did you understand -- given the

    17     experience, your experience with lawsuits that we elicited

    18     from you earlier, sir, did you read the case and the other

    19     materials that were provided to you in the emails?

    20     A.   In detail.

    21     Q.   Did you form your own opinions?

    22     A.   I did.

    23     Q.   What is your own opinion with respect to --

    24                   MR. PATTEN:    Objection, Your Honor.      Is he going

    25     to render a legal opinion?        I don't think he's competent to
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      1    do that, Your Honor.

      2                 THE COURT:    No.   He's rendering a personal

      3    opinion, based upon his own knowledge.

      4                 MR. COSSITT:    I think that he's --

      5                 THE COURT:    It goes to weight.

      6                 MR. COSSITT:    The objection is overruled?

      7                 THE COURT:    It is.

      8    Q.   (By Mr. Cossitt)     You may answer, if you remember the

      9    question.

    10     A.   I reviewed the, the material provided by the Wyoming

    11     attorneys to the Montana attorneys, and it's my

    12     understanding and belief that we would prevail in --

    13     under -- based upon that material in recapturing all the

    14     moneys that -- from any, from any past or future sale of

    15     the Wyoming Whispering Winds Ranch.

    16     Q.   Is it your family's intention to -- if this

    17     settlement's not approved, is it your family's intention to

    18     assert your ownership to the Whispering Winds Ranch,

    19     liquidate it, and use that to fund continued litigation

    20     costs?

    21     A.   To the fullest extent possible, yes.

    22     Q.   Has the trustee obtained an injunction or other

    23     prejudgment remedy with respect to any of those sale

    24     proceeds?

    25     A.   No.
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      1    Q.   Now, in settling Adversary No. 15-20, you and Michelle

      2    have included the Billings house, right?

      3    A.   Yes.

      4    Q.   And I think you said you thought it was worth about 600

      5    grand.

      6    A.   At least.

      7    Q.   Okay.    And so is it -- who owns the Billings house?

      8    A.   John and Michelle Schneider.

      9    Q.   So do you folks own that 50/50?

    10     A.   We do.

    11     Q.   Okay.    So the value of her interest is about 300 grand,

    12     right?

    13     A.   It is.

    14     Q.   And is it your view or the Schneider clan's view that

    15     that 300 grand is off the table --

    16     A.   It is.

    17     Q.   -- other than involuntarily providing it in the context

    18     of this settlement?

    19     A.   Yes.

    20     Q.   And, then, with respect to your half, you claimed a

    21     homestead exemption in your half, right?

    22     A.   Yes.

    23     Q.   And that -- the trustee did not object to that, did he?

    24     A.   He did not.

    25     Q.   So you -- is your homestead exemption worth 125 in that
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      1    property, or do you know?

      2    A.     It is worth 125,000.

      3    Q.     Okay.   So if I understand this right, the consideration

      4    that, that the Schneider clan is offering with respect to

      5    this discharge case is right about $425,000.           Right?

      6                   MR. YORK:    Objection; leading.

      7                   THE COURT:   I'm going to overrule and allow him

      8    to answer.

      9                   THE WITNESS:   You're -- it is about $425,000,

    10     yes.

    11     Q.     (By Mr. Cossitt)     And what did you, what did you

    12     testify you thought it would cost to try that discharge

    13     case?

    14     A.     At least 300,000.

    15     Q.     So you're putting in the cost of defense plus a little

    16     bit extra, huh?

    17     A.     Yes, expert witnesses, etc.

    18     Q.     At the time of the mediation, do you know if there were

    19     any claim objections on file?

    20     A.     There were not.

    21     Q.     And do you know the aggregate amount of claims that

    22     were filed in this case?

    23     A.     I do.

    24     Q.     How much is that?

    25     A.     Approximately, $11 million.
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      1    Q.   So at the time of mediation, you were sitting across

      2    the table from a mediation opponent who was asserting

      3    $11 million worth of claims.

      4    A.   He was.

      5    Q.   Do you believe some of those claims are contingent?

      6    A.   They are.

      7    Q.   Do you believe some of those claims are unliquidated?

      8    A.   They are.

      9    Q.   Do you believe some of those claims are overstated?

    10     A.   Profoundly.

    11     Q.   Had you requested that the trustee object to claims

    12     earlier in this case?

    13     A.   Yes.

    14     Q.   If the claims objection process had been begun and

    15     concluded -- let me withdraw that question.

    16          You have since filed a number of claim objections on

    17     your own, haven't you?

    18     A.   We have.

    19     Q.   When the dust settles on this whole claim objection

    20     process, what's your best estimate as to the amount of

    21     allowed unsecured claims that will be remaining against

    22     this estate?

    23     A.   Somewhere between 1.0 and 1.5 million.

    24     Q.   Had that process been begun and concluded prior to the

    25     mediation, would you have conducted and postured yourself
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      1    differently at the mediation?

      2                 MR. GARDNER:    Objection; speculation and

      3    relevance.

      4                 THE COURT:    I'm going to sustain.

      5    Q.   (By Mr. Cossitt)     You've looked at the objection by

      6    Attorney Patten in this case, haven't you?

      7    A.   I have.

      8    Q.   And what's the basic thrust of the Patten objection,

      9    the PI -- we'll call it the "PI claimants' objection."

    10     A.   Mr. Patten has -- is representing medical malpractice

    11     claimants that have vastly overstated and -- very

    12     defensible claims against me, and so therefore, they're

    13     vastly overinflated as to their value.

    14     Q.   Okay.

    15     A.   That's it.

    16     Q.   And his -- the claimants that he's represented, they're

    17     represented by counsel, aren't they?

    18     A.   They are.

    19     Q.   And with your background in medicine and being an

    20     expert witness, are you familiar with how medical

    21     malpractice litigation is normally financed?

    22     A.   Yes.

    23     Q.   And how is it normally financed?

    24     A.   Through insurance companies.

    25     Q.   On the plaintiff's side.
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      1    A.   Oh, contingency fees.

      2    Q.   Okay.   And do you know what the range of a reasonable

      3    and normal contingency fee is in southern Montana and

      4    northern Wyoming?

      5                 MR. PATTEN:    Objection --

      6                 MR. YORK:     Objection --

      7                 MR. PATTEN:    -- irrelevant.

      8                 THE COURT:    I'm going to sustain.

      9                 MR. COSSITT:    It goes to the fourth factor, this

    10     court's deference to the reasonable views of creditors.

    11     And the thrust of the Patten objection is that we didn't

    12     put enough money on the table.        The testimony I would like

    13     to elicit is that's not the problem.         The problem here is,

    14     is that 80 percent of what we're putting into this case is

    15     going to the lawyers.

    16                  The line of questioning -- and to the extent that

    17     the objection on behalf of the creditors - and that is the

    18     fourth factor of the test - goes to the reasonable views,

    19     I'm trying to elicit testimony to demonstrate that the

    20     views that are being expressed in the objection are

    21     misguided and therefore not reasonable.

    22                  THE COURT:    Mr. Patten.

    23                  MR. PATTEN:    Your Honor, I think we have a number

    24     of our clients here that I think would be happy to take the

    25     stand and express their views on the reasonableness of
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      1    these views.     That's an irrelevant consideration for this

      2    court.    The Court is -- what is in the best interest of the

      3    creditors?

      4                 And if the creditors are saying, "We don't like

      5    the settlement, we don't want the settlement, it falls on

      6    us.   If the settlement's not approved, it's on us," I think

      7    that speaks exactly what the deference of the creditors is.

      8                 MR. COSSITT:    May I respond?

      9                 THE COURT:    You may.

    10                  MR. COSSITT:    You know, Your Honor, at

    11     Docket 227, the objectors assert 7.1 million in claims,

    12     61 percent of the total.       In Paragraph 4 of that same

    13     document, they calculate a 4 percent dividend.

    14                  And the thrust of their objection at Docket 227

    15     is:   There ain't enough money here for this court to make a

    16     finding that this is a fair and equitable settlement.

    17                  Their thrust in their objection is:         They didn't

    18     put enough money in.

    19                  And with all due respect to Counsel's position

    20     here, Your Honor, I think it goes to the fourth factor, the

    21     reasonableness of their views.        And we are trying to meet

    22     head-on with this testimony the written objection that he's

    23     raised in Docket No. 227.       We request a little bit of

    24     latitude.

    25                  MR. JAMES:    Your Honor.
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      1                 THE COURT:    Mr. James.

      2                 MR. JAMES:    I join in Mr. Patten's objection.

      3    And I go back to the Court's comments earlier today that

      4    there is a public policy issue here.         And you asked us to

      5    steer towards that issue, and this is an unprecedented

      6    issue.

      7                 And, you know, if I'm understanding this now, the

      8    issue before the Court, as Mr. Cossitt is framing it, is

      9    simply whether or not Dr. Schneider is paying enough money

    10     to purchase his discharge.       That's not the public policy

    11     issue.

    12                  The amount of the settlement certainly is

    13     critical, but the public policy issue here is:           Can someone

    14     purchase their discharge when they have not followed the

    15     bankruptcy code, they haven't followed the rules, they've

    16     disobeyed lawful orders of the Court, they haven't

    17     disclosed all of their assets, they've hidden and

    18     transferred assets, they haven't cooperated with the

    19     trustee, they've misbehaved prepetition and postpetition?

    20                  And so, I mean, I think this is all irrelevant.

    21     I mean, I think we have to get back to the public policy

    22     issue that's been framed.

    23                  THE COURT:    I'm going to sustain the objection.

    24     Q.   (By Mr. Cossitt)     Do you know how much the trustee and

    25     his lawyers are receiving for their fees in this case?
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      1    A.     Yes.

      2    Q.     How much?

      3    A.     Forty percent.

      4    Q.     Okay.   And have you had the opportunity to review any

      5    fee agreements in the medical malpractice cases against

      6    you?

      7    A.     I'm generally aware of them, but I have not reviewed

      8    the exact documents.         They're between --

      9    Q.     What do you understand to be the types of contingency

    10     fees that are contained within those?

    11     A.     Thirty-five to forty percent.

    12                    MR. PATTEN:    Objection.    I thought he didn't

    13     know.

    14                    THE COURT:    Yeah, I'm going to sustain.

    15                    MR. COSSITT:    I'd like just a minute here --

    16                    THE COURT:    Certainly.

    17                    MR. COSSITT:    -- to take a look at my notes, Your

    18     Honor, before I conclude my direct.

    19                    THE COURT:    Certainly.

    20                    MR. COSSITT:    Thank you.

    21                    That concludes by direct examination.

    22                    THE COURT:    Okay, thank you.

    23                    Mr. Gardner.

    24                                 CROSS-EXAMINATION

    25     BY MR. GARDNER:
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      1    Q.   Dr. Schneider, good afternoon.

      2    A.   Hello.

      3    Q.   Do you have any idea how much it's going to cost for

      4    you and the other defendants in AP 15-15 for the defense of

      5    that action?

      6    A.   At least a million and a half dollars.

      7    Q.   And if I understood your testimony -- well, first, do

      8    you or the various entity defendants have a million and a

      9    half dollars in liquid funds to fund that defense?

    10     A.   We do not.

    11     Q.   And if I understood your testimony correctly, I believe

    12     you will expend every resource necessary to try to get the

    13     $350,000 released from my trust account.          Correct?

    14     A.   We will.

    15     Q.   And in order so you -- for you to have that money to

    16     spend on defense of the litigation or whatever other

    17     purpose you deem appropriate, correct?

    18     A.   Correct.

    19     Q.   And likewise, with the lis pendens we have on the

    20     Whispering Winds Ranch in Wyoming, if I understand your

    21     testimony correctly, you will expend every effort available

    22     to get that lis pendens released or removed so that you can

    23     liquidate that property and use those funds, correct?

    24     A.   We will.

    25     Q.   For litigation or for whatever other purpose you deem
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      1    appropriate, correct?

      2    A.     Yes.

      3    Q.     And by the way, you don't own the Whispering Winds

      4    Ranch, do you?

      5    A.     I do not.

      6    Q.     Your children's trusts own that?

      7    A.     From the purchase of the property through the

      8    construction, all of, all of which was completed by 2008 -

      9    2009, the children's trusts, first their company BCS, LLC,

    10     which was set up by an attorney in Wyoming, and then the

    11     children's irrevocable trusts, which was set up for the

    12     correct ownership of that property, at all times has been

    13     owned by the children.

    14     Q.     So the children's trusts own these --

    15     A.     The children's irrevocable trusts own that property,

    16     yes.

    17     Q.     And who is the trustee of that trust?

    18     A.     Michelle Schneider.

    19     Q.     Okay.   And as to the lis pendens filed on the

    20     California home by the trustee, if I understand your

    21     testimony correctly, you will seek to do everything you can

    22     to remove that protection as well, correct?

    23     A.     The investment property from MedPort is located in

    24     California.     Michelle Schneider rents that property as her

    25     home, and I'm living there at this point.          We will expend
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      1    every effort to get the lis pendens removed and, if

      2    necessary, liquidate that entire property to defend this

      3    litigation.

      4    Q.   Okay.    So if I understand you correctly, in essence,

      5    your testimony is without this settlement, you will make

      6    every effort you can to fully defend this litigation.             You

      7    anticipate that will eat up a bulk of any assets that are

      8    available at the end of the day.

      9    A.   Yes.

    10                   MR. JAMES:    Objection; leading question, and it

    11     is restating testimony given prior to this.

    12                   THE COURT:    I'm going to overrule.      He's answered

    13     as well, so -- are you done?

    14                   MR. GARDNER:    That's all I have.

    15                   THE COURT:    Okay.   Mr. Parker.

    16                                CROSS-EXAMINATION

    17     BY MR. PARKER:

    18     Q.   Dr. Schneider, were you in the courtroom for

    19     Mrs. Michelle Schneider's testimony?

    20     A.   I was.

    21     Q.   Did she tell the truth?

    22     A.   She did.

    23                   MR. PARKER:    That's all I have.

    24                   THE COURT:    Mr. Patten.

    25                                CROSS-EXAMINATION
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      1    BY MR. PATTEN:

      2    Q.   Dr. Schneider, you stated you estimate the various

      3    malpractice claims have a total value of 1 million to

      4    1.5 million?

      5    A.   I do.

      6    Q.   You remember Russell Monaco, do you not?

      7    A.   I do.

      8    Q.   He died under your care, did he not?

      9    A.   He died at -- he died, yes.

    10     Q.   Your license in Wyoming was suspended because of your

    11     actions with respect to Mr. Monaco, correct?

    12                  MR. COSSITT:    Objection; relevance, badgering the

    13     witness.

    14                  THE COURT:    Oh, come on, Mr. Cossitt, that wasn't

    15     badgering, but I don't know that it's relevant.

    16                  MR. PATTEN:    Your Honor, the witness testified

    17     that the total claims had a value of a million to a

    18     1.5 million.

    19                  THE COURT:    Correct.

    20                  MR. PATTEN:    And I'm trying to bring out that

    21     there was far more than that.

    22                  THE COURT:    Well, I'll allow you to cross on

    23     that.   The objection is overruled.

    24     Q.   (By Mr. Patten)      Your license was suspended because of

    25     your care of Mr. Monaco?
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      1    A.   Because of the care that was rendered to Mr. Monaco by

      2    the physician's assistant and myself.

      3    Q.   How old was Mr. Monaco when he died?

      4    A.   Forty-seven.

      5                 MR. PATTEN:    Excuse me a minute, Your Honor.

      6                 No other questions.      Thank you.

      7                 THE COURT:    Mr. James.

      8                              CROSS-EXAMINATION

      9    BY MR. JAMES:

    10     Q.   Good afternoon, Dr. Schneider.        The adversary discharge

    11     case is set for trial in approximately one month.            How do

    12     you expect to spend $300,000 on defense costs in that case

    13     in the next month?

    14                  MR. COSSITT:    Objection; misstates the record.

    15                  THE COURT:    You know, I'm going to, I'm going to

    16     sustain that because I probably -- you're basing on --

    17     you're relying upon what I said at the beginning of this

    18     hearing today that we had a scheduled time.

    19                  That was also held in abeyance during the time of

    20     mediation, and obviously you know, Mr. James, there's a lot

    21     of factors that go into it.        That date and time is

    22     available and it may be set for that time, but at this

    23     point in time, it's not, so --

    24                  MR. COSSITT:    Your Honor, may I be heard briefly?

    25                  Just to clarify the record, I'm looking at
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      1    Docket 22 in that adversary proceeding.          And Docket 22 says

      2    very clearly:     Trial scheduled for May 25 - 27, 2016, is

      3    vacated and subject to being reset.

      4                 And that's a direct quote from the order on

      5    Docket --

      6                 THE COURT:    Well, it could be reset on the same

      7    dates.

      8                 MR. COSSITT:    Very good, Your Honor.       Thank you

      9    for allowing me to be heard.

    10                  MR. JAMES:    Let me rephrase the question, Your

    11     Honor.

    12     Q.   (By Mr. James)     Dr. Schneider, how are you going to

    13     spend $300,000 defending the discharge adversary?

    14     A.   Paying defense attorneys.

    15     Q.   You believe that the attorneys that you've employed to

    16     represent you will charge you $300,000 with respect to

    17     AP 20?

    18     A.   I do.

    19     Q.   During your bankruptcy, have you cooperated fully with

    20     the trustee?

    21     A.   To the best of my ability.

    22     Q.   Were your bankruptcy schedules true and correct?

    23     A.   Mr. Dye admitted during the mediation that he had made

    24     a mistake to the trustee in discussing -- in providing the

    25     correct value of my capital account in Schneider Limited
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      1    Partnership.     I overlooked that.      I'm not familiar with the

      2    document when it was -- the detail of the document.            I

      3    signed it in good faith believing it was accurate.

      4    Q.   Other than that, were your schedules true and accurate?

      5    A.   To the best of my ability.

      6    Q.   Have you provided the trustee with all of the documents

      7    that he has requested from you in this bankruptcy?

      8    A.   Mr. Womack had requested what I believe is over

      9    5 gigabytes of documents over the course of this, my 341

    10     hearings.    To the best of my ability to get extensive

    11     documents from multiple different parties, I provided them

    12     in a timely fashion to Mr. Dye.        I do not know how long it

    13     took Mr. Dye to get them to Mr. Womack.

    14     Q.   Did you provide Mr. Womack with everything he requested

    15     and everything the Court ordered you to produce?

    16     A.   To the best of my ability.

    17     Q.   You testified at the first meeting of creditors under

    18     oath, correct?

    19     A.   All the meetings of creditors were under oath, correct.

    20     Q.   And was your testimony at the first meeting of

    21     creditors true and correct?

    22     A.   To the best of my recollection.

    23     Q.   And is it your intention now to attend law school?

    24     A.   No.

    25     Q.   And are you taking a law course by correspondence?
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      1                 MR. COSSITT:    Objection; relevance.

      2                 MR. JAMES:    It goes to his future ability to earn

      3    income, Your Honor.       The trustee got into --

      4                 THE COURT:    What does that have to do with, what

      5    does that have to do with the settlement?

      6                 MR. JAMES:    The trustee got into the ability of

      7    whether or not creditors are going to be able to collect

      8    from Dr. Schneider and his income.         They've opened this up.

      9    I think I'm entitled to explore it.

    10                  THE COURT:    They did, they did.      I'll overrule,

    11     and you may, you may answer, if you recall the question.

    12                  THE WITNESS:    I don't.    Please repeat it.

    13     Q.   (By Mr. James)     Are you taking a correspondence course

    14     or have you been taking a correspondence course recently?

    15     A.   Well, I'm enrolled in a master's program through

    16     Creighton University, Creighton Law School.

    17     Q.   And what are you studying?

    18     A.   Conflict resolution, alternative dispute resolution.

    19     Q.   And do you intend to take additional law courses?

    20     A.   No.

    21     Q.   How are you currently earning income?

    22     A.   I'm paid as an independent contractor from MedPort for

    23     providing medical expert consultation for several

    24     income-generating streams, including expert witness

    25     testimony through my work with Alphatec Spine, and
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      1    education, and participating in the management of websites

      2    owned by MedPort.

      3    Q.   Have you participated in training physicians from

      4    foreign countries?

      5    A.   Yes.

      6    Q.   From what countries?

      7    A.   Ecuador; Japan; China; Mexico; Peru; some were in the

      8    eastern European bloc, I believe, the Ukraine.

      9    Q.   And have you traveled to any of those countries to

    10     assist with surgeries?

    11     A.   I have.

    12     Q.   What countries have you traveled to?

    13     A.   China, Mexico, and recently had a cancellation in

    14     Ecuador because of the earthquake.

    15     Q.   Are you still licensed as a physician in the state of

    16     Montana?

    17     A.   Yes.

    18                  MR. JAMES:    I have nothing further, Your Honor.

    19                  THE COURT:    Thank you.    Anyone else?

    20                  UNIDENTIFIED SPEAKER:      I don't have anything for

    21     this witness, Your Honor.

    22                  THE COURT:    Okay.   Any redirect?

    23                  MR. COSSITT:    Could I have just a moment to

    24     collect my thoughts?

    25                  THE COURT:    Certainly.
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      1                 THE WITNESS:    Could I ask a question?

      2                 THE COURT:    Certainly.

      3                 THE WITNESS:    There have been many allegations as

      4    to my character and whether I've done something wrong in

      5    communicating with Mr. Womack.        Do I have a chance to

      6    address that?

      7                 THE COURT:    Those are only issues that you should

      8    discuss with your counsel --

      9                 THE WITNESS:    Okay.

    10                  THE COURT:    -- and take his lead from there.

    11                  THE WITNESS:    Thank you.

    12                  MR. COSSITT:    Judge, no redirect.

    13                  THE COURT:    Okay, very good.     You may step down.

    14                  THE WITNESS:    Thank you.

    15                  MR. COSSITT:    No further witnesses on behalf of

    16     Dr. Schneider, Your Honor.

    17                  THE COURT:    Okay, thank you.     Mr. Parker, any

    18     witnesses?

    19                  MR. PARKER:    No witnesses.     I have Mr. Holden

    20     from -- MedPort's attorney has been with us today, but

    21     there's no room at the counsel table.          And he asked, when I

    22     got the mic next, if I would point that out for the record.

    23     He's been, been here all day.

    24                  And I believe I can say MedPort also joins in the

    25     motion to --
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      1                 THE COURT:    Okay.   I appreciate your indicating

      2    his presence.

      3                 Mr. Patten.

      4                 MR. PATTEN:    Your Honor, I have a witness that I

      5    would like to call.

      6                 THE COURT:    Okay.   Mr. York, do you have

      7    witnesses?

      8                 MR. YORK:     No, Your Honor, but I do have some

      9    documents that I would like to get admitted into the

    10     record, if I can.

    11                  THE COURT:    Okay.   Counsel has all seen them?        Is

    12     there an understanding --

    13                  MR. YORK:     They are part of the exhibits that we

    14     filed.

    15                  THE COURT:    Okay.   Is there an agreement at all?

    16     Have you discussed it with --

    17                  MR. YORK:     I have not discussed it with them, but

    18     if you want me to do that now, I would be happy to do that

    19     now.

    20                  THE COURT:    Well, no.    Let's -- I'm just trying

    21     to see what we've got left.        Mr. James, do you have

    22     witnesses?

    23                  MR. JAMES:    No, Your Honor.

    24                  THE COURT:    Okay.   Mr. Patten.

    25                  MR. PATTEN:    If I can call my witness.
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      1                 THE COURT:    Please.

      2                 MR. PATTEN:    I'm going to call Mallory Monaco.

      3                 THE COURT:    Okay.   If I could have you come to

      4    the podium to be sworn, please.        The clerk, you will hear

      5    her voice, and she'll administer the oath.

      6                      MALLORY MONACO, WITNESS, SWORN

      7                            DIRECT EXAMINATION

      8    BY MR. PATTEN:

      9    Q.   Will you please state your name?

    10     A.   Mallory Monaco.

    11     Q.   Mallory, was Russell Monaco your father?

    12     A.   Yes.

    13                  MR. PATTEN:    May I approach the witness, Your

    14     Honor?

    15                  THE COURT:    You may.

    16     Q.   (By Mr. Patten)      Mallory, I've handed you a document

    17     labeled PI-7.     Do you have that?

    18     A.   Yes.

    19     Q.   Do you recognize that document?

    20     A.   Yes.   I wrote it.

    21     Q.   That's a letter?

    22     A.   Hm-hmm, yes.

    23                  MR. PATTEN:    Your Honor, I would like Ms. Monaco

    24     to have the opportunity to read the letter to the Court.

    25                  THE COURT:    Is there a waiver of the
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      1    question-and-answer of this witness?

      2                 UNIDENTIFIED SPEAKER:      Yes.

      3                 MR. GARDNER:    Yes, Your Honor.

      4                 UNIDENTIFIED SPEAKER:      Yes, Your Honor.

      5                 UNIDENTIFIED SPEAKER:      Yes, Your Honor.

      6                 THE COURT:    Okay.

      7                 MR. PATTEN:    Thank you.

      8                 THE COURT:    You may read the letter.

      9                 THE WITNESS:    Okay:    I want people to understand

    10     how this whole ordeal has changed my family's lives

    11     forever.

    12                  My dad passed away when I was in eighth grade and

    13     my sister was in fifth.       We were just 14 and 10.       He left

    14     us a few weeks before Christmas on December 2, 2011.            I

    15     remember that day like it just happened yesterday.

    16                  I still have all the amazing memories we all

    17     shared as a family, and I wish we could have had the chance

    18     to make a lot more.       I am scared that since he passed while

    19     my sister and I were so young, that I'll forget all the

    20     little memories I cherished the most.          That is one of my

    21     biggest fears in my life.

    22                  A lot of people ask how this affects my family.

    23     It has been really tough growing up with just one parent

    24     when my sister and I could have had two amazing parents

    25     raising us.     It's also difficult knowing his death could
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      1    have been prevented.      It's just really hard accepting that

      2    he is gone because of someone's mistake.          It's very hard

      3    knowing that he won't be able to see all the important

      4    milestones coming up in our lives.

      5                 My mom is such an incredible woman for putting

      6    herself as the mom and dad role in the family.           My dad was

      7    always the one who disciplined us while my mom was the

      8    laid-back one.     My dad was a very quiet guy, but he always

      9    made everyone he met feel like they've known him for years.

    10     He was just a sweet, down-to-earth guy who everyone loved.

    11                  He used to be my coach in softball since I

    12     started when I was around eight.         Him and, and his friends

    13     started a travel team for my friends and I.           He was a great

    14     coach and cheerleader.       Softball was my dad and I's thing

    15     together.    Since he passed, it was really hard for me to

    16     continue playing softball with that team he started.            I

    17     played for them for two years after he passed, but it just

    18     got to be too much pain and sadness that went along with

    19     the game that I loved so much.

    20                  I know he is still around and he would still

    21     be -- I would still be playing my heart out, and he would

    22     still be cheering me on.       I do miss softball, but I miss my

    23     dad so much more.

    24                  My sister and my dad were so alike, it was crazy.

    25     It's difficult knowing my dad didn't, didn't get to see her
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      1    get out of her awkward stages and see and be a part of the

      2    beautiful teenager she is becoming.

      3                 I know he is watching over us, but that isn't the

      4    same as him being here while we grow up.          He was a great

      5    man and loved by so many.       He will never be forgotten as

      6    long as we all live.       He will and has already missed so

      7    many big milestones in our life, but no matter what, he

      8    will always watch over us and be proud of the

      9    accomplishments we have succeeded in.

    10                  I know for sure he is very proud of my mom for

    11     raising my sister and me all by herself, which none of us

    12     ever thought she would have to do.         I know he would do

    13     anything to be here with her and us again, and we all would

    14     do anything for him to be here, too.         I love him so much,

    15     and I just wish I could tell him that.

    16                  MR. PATTEN:    Thank you, Mallory.      Your Honor, I

    17     would move the admission of Exhibit PI-7.

    18                  THE COURT:    Any objection?

    19                  UNIDENTIFIED SPEAKER:      No objection.

    20                  THE COURT:    Exhibit PI-7 will be admitted.

    21                  MR. PATTEN:    Thank you.

    22                  Thank you, Mallory.

    23                  THE WITNESS:    Thank you.

    24                  THE COURT:    You may step down.      If you could

    25     leave that letter with me, and I'll take it and have it
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      1    filed.

      2                 Mr. York.

      3                 MR. YORK:     Thank you, Your Honor.     At this time,

      4    I would like to ask the Court to take judicial notice of

      5    two exhibits that I've filed with my exhibit list.            These

      6    are documents related to a defamation lawsuit filed against

      7    Dr. Schneider in the United States District Court for the

      8    District of Wyoming.       And, well, you can take judicial

      9    notice of these documents under Federal Rule of Evidence

    10     201 as, as court documents.

    11                  One of them is a transcript in the proceeding,

    12     and that is -- it's Exhibit UST-B.         So I'd ask the Court to

    13     admit that at this time.

    14                  THE COURT:    And this is under Docket 292, and it

    15     would be 292-4?

    16                  MR. YORK:     Your Honor, I'm sorry.     What I'm

    17     trying to get admitted is actually UST-C.          My mistake.

    18                  THE COURT:    Okay, "C," which is 292-5.       Is there

    19     any objection?

    20                  MR. PARKER:    Yes, I object.     It's hearsay.

    21                  MR. COSSITT:    Authentication, foundation, lack of

    22     relevance.

    23                  MR. YORK:     Your Honor, what we have here --

    24     again, I think the critical element that we need to address

    25     here is whether or not this settlement is tainted, and the
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      1    case that addresses that issue is In Re: Bullis.

      2                 And I think that the issue there is whether or

      3    not a dishonest debtor is entitled to a discharge in this

      4    court proceeding.      And Dr. Schneider's conduct in prior

      5    court and judicial proceedings is directly relevant to that

      6    issue, and it speaks to his motives and plans in what he's

      7    done in this particular case.

      8                 And in particular, Rule of Evidence 404 does

      9    allow character evidence if, for example, the evidence is

    10     admissible for another purpose other than -- for example,

    11     showing lack of accident, character, character evidence is

    12     irrelevant.

    13                  Under Federal Rule of Evidence 405:         When a

    14     person's character trait is an essential element of a

    15     charge, claim, or defense, the character or trait may also

    16     be proved by relevant specific instances of the person's

    17     conduct.

    18                  This transcript, it says on its face that it's a

    19     certified copy.     It reflects a certificate at the back of

    20     it, and it is a transcript of a proceeding in the United

    21     States District Court for the District of Wyoming.            I don't

    22     believe there's any reasonable basis to dispute its

    23     authenticity.

    24                  And in terms of the hearsay objection itself,

    25     Your Honor, the statements that are in this transcript that
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      1    I would like to read into the record are statements by

      2    Dr. Schneider's own lawyer in the case, who was acting

      3    within the scope of his employment.         As a result, they are

      4    not hearsay under the rules of evidence.

      5                 MR. PARKER:    They're hearsay as to Michelle

      6    Schneider.

      7                 MR. YORK:     Well, then, we can admit them as to

      8    Dr. Schneider.

      9                 MR. COSSITT:    We object under 901 --

    10                  THE COURT:    You know --

    11                  MR. COSSITT:    We object under 901 for lack of

    12     authentication.     The threshold for 901(a) is very low.

    13     901(b) gives us a road map on how to get this stuff

    14     admitted which hasn't been filed.         So we object based on

    15     authentication, we further object based on best evidence

    16     and Rule 404.

    17                  MR. GARDNER:    The trustee objects on relevance

    18     and hearsay.

    19                  THE COURT:    Yeah.   I think from the standpoint of

    20     the document and to take judicial notice of it for this

    21     proceeding is improper.       I'm going to deny its admission

    22     and deny taking judicial notice of it.

    23                  MR. YORK:     Okay, Your Honor.    The other document

    24     that I request the Court to take judicial notice of is a,

    25     is a published opinion from Westlaw.         This is UST
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      1    Exhibit D.

      2                 THE COURT:    Okay.   This would be 292-6 as well?

      3                 MR. COSSITT:    Are we -- Your Honor, are we

      4    looking at -- did you say "292-6"?

      5                 THE COURT:    Yeah.

      6                 MR. COSSITT:    Okay.    I just want to make sure I'm

      7    on the same page.

      8                 THE COURT:    Yeah.

      9                 MR. YORK:    And Your Honor, this --

    10                  THE COURT:    Well, as it relates to a reported

    11     decision, obviously it's available in the resources to

    12     everyone in this room.       I'm going to take judicial notice

    13     of it.    I'm not sure for what purpose I would use it, but I

    14     mean, it's a published decision.         Whether it's relevant,

    15     I'll decide when I'm considering this matter.

    16                  MR. YORK:    Yeah, that's correct, Your Honor.         And

    17     I would like to read it into the record because it reflects

    18     an investigation of one of Dr. Schneider's lawyers in the

    19     litigation connected in the United States District Court

    20     for the District of Wyoming.         And it is a public record

    21     under Federal Rule of Evidence 803(8) as it is a record of

    22     a public office -- (inaudible.)

    23                  THE COURT:    Well, before you do that, let me just

    24     ask:   Is there any objection to the Court taking judicial

    25     notice of this case?
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      1                 MR. PARKER:    Yes.

      2                 UNIDENTIFIED SPEAKER:      No.

      3                 MR. PARKER:    If it's judicial notice of this case

      4    for the purpose that there was, in fact, a case, of course

      5    there's no objection, but if the Court is going to try to

      6    tease an adjudicated fact in this case out of an

      7    adjudicated fact in a case where no one at this table is a

      8    party, then --

      9                 THE COURT:    Mr. Parker.

    10                  MR. PARKER:    Yeah.

    11                  THE COURT:    The Court has no intent of doing

    12     that --

    13                  MR. PARKER:    Okay.

    14                  THE COURT:    -- because it's -- in fact, I --

    15                  MR. PARKER:    There's --

    16                  THE COURT:    Even though I can take judicial

    17     notice of any published decision, I don't know that it's

    18     relevant.

    19                  MR. YORK:     Your Honor, it reflects a pattern of

    20     Dr. Schneider's conduct in connection with a litigation

    21     proceeding.     The investigation of his counsel was based on

    22     Dr. Schneider's conduct in that litigation, and there's a

    23     published investigative finding concerning that conduct in

    24     this opinion.

    25                  UNIDENTIFIED SPEAKER:      Your Honor, none of us at
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      1    this table were parties to that.         We object.

      2                 MR. COSSITT:    I object --

      3                 THE COURT:    The objection's noted.

      4                 MR. COSSITT:    I object to the judicial notice

      5    that the Court's inclined to do based on the fact that

      6    these are, these are adjudicated facts, they are not

      7    generally known within the territorial jurisdiction of this

      8    court, and they are not capable of accurate or ready

      9    determination.

    10                  This is essentially an attempt to use issue -- to

    11     cite this opinion and use -- attempt to use issue or claim

    12     preclusion to get evidence into the record --

    13                  THE COURT:    Mr. Cossitt, it will not be used for

    14     that purpose.

    15                  MR. COSSITT:    Okay.    Thank you, Your Honor.

    16                  MR. JAMES:    Your Honor, if I might just comment.

    17                  THE COURT:    Mr. James.

    18                  MR. JAMES:    Dr. Schneider just testified that

    19     he's been honest, cooperative, and in his mind probably an

    20     ideal debtor throughout this entire proceeding.           He's not

    21     repentant one bit.      And the issue is:      Is he a dishonest

    22     debtor?

    23                  Dr. Schneider has testified "no," he has not

    24     been, and this is evidence that shows that he has been a

    25     dishonest person and it's a continuing pattern.           And it is
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      1    clearly relevant to the issues that are before the court

      2    today.

      3                 THE COURT:    You don't think there's already some

      4    of that testimony that's already been submitted in this

      5    case today?

      6                 MR. JAMES:    I think this, I think this is

      7    separate evidence, and I think it is important for this

      8    court to hear it.      It won't take long.      I think it's

      9    material, and I think that it should be presented.

    10                  MR. YORK:    It goes to lack of accident, Your

    11     Honor, under Rule 404(b)(2).        And again, under Rule 405(b)

    12     -- as specific evidence of a character trait of the

    13     defendant if that's a critical element, which I believe it

    14     is here.     The question is:    Is he an honest and

    15     misfortunate debtor?

    16                  And I think his prior conduct in litigation

    17     against him is relevant to whether or not his -- what he

    18     has failed to disclose here is an accident --

    19                  THE COURT:    Well, the problem I have is, isn't

    20     that relevant to the underlying A 20 -- AP 20?           It's not to

    21     the merits of the settlement and the factors associated

    22     therewith.

    23                  MR. YORK:    It goes to whether or not the

    24     settlement is tainted.       And the settlement is tainted if

    25     the debtor is buying a discharge to which he is not
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      1    entitled.

      2                 THE COURT:    Well, whether it's tainted or not,

      3    I'm going to make a decision on whether I'm going to allow

      4    a debtor to put money forth to extract a discharge, whether

      5    it's tainted or not.      I see that being a very open question

      6    whether -- and you know the approaches.          Some have just

      7    taken the approach that it's not -- and it's a bright line,

      8    it's not allowed.

      9                 MR. YORK:    That's correct.

    10                  THE COURT:    And there are two other approaches,

    11     at least, that courts have taken and looked at that.            And I

    12     think Mr. James briefed those, as I recall, and maybe you

    13     did as well, Mr. York.

    14                  MR. YORK:    I did, Your Honor.

    15                  THE COURT:    But again, I need to take the, take

    16     the evidence that's before me, weigh, and balance.            And as

    17     I started this morning, I'm very concerned about a dollar

    18     amount even being in the settlement for AP 20, and I'm not

    19     so certain -- I mean, I think that there could have been a

    20     different structure to the settlement to have eliminated or

    21     avoided that whole issue.

    22                  And so I'm not going to utilize this case as it

    23     relates to character on the basis -- or for the basis of

    24     deciding these motions before me.

    25                  Now, they may -- it may very well be important if
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      1    this case goes forward on dischargeability as to character.

      2    It may well be, but I'm not going to -- I don't believe

      3    it's important in this time.

      4                 MR. YORK:     Thank you, Your Honor.

      5                 THE COURT:    Now, I may be proven wrong, but I

      6    just think that that's how I'm going to approach it.

      7                 MR. YORK:     Thank you.

      8                 THE COURT:    Okay.

      9                 MR. YORK:     That's all I had, Your Honor.

    10                  THE COURT:    Thank you.    Do the parties have

    11     anything else?     Attorneys have anything else?

    12                  UNIDENTIFIED SPEAKER:      Two seconds, Your Honor.

    13                  THE COURT:    Mr. Parker, anything else?

    14                  MR. PARKER:    No, Your Honor.

    15                  THE COURT:    Okay.   Mr. Gardner?

    16                  UNIDENTIFIED SPEAKER:      No, Your Honor.

    17                  THE COURT:    I'll just go around and ask, I guess.

    18     Anything else?

    19                  MR. GARDNER:    Just very quickly.      Thank you for

    20     your time.    I think the testimony has shown today --

    21     thumbs-up or thumbs-down, we appreciate your prompt

    22     consideration --

    23                  THE COURT:    Sure, certainly.

    24                  MR. GARDNER:    -- because there's, there's a lot

    25     of very -- (inaudible.)
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      1                 THE COURT:    Yeah.   And let me address

      2    Mr. Cossitt's concern on my comment on trial setting.             The

      3    order says what it says, I acknowledge that and understand

      4    that.    And at the time it was entered, it -- obviously, I

      5    wanted to allow the parties to pursue resolution and

      6    settlement, if they could.

      7                 And obviously, it was probably a little in jest

      8    and I probably shouldn't have done it, but those dates are

      9    open and so there is, there is that opportunity.            But I

    10     would not reschedule this until I had another status

    11     conference to see where all the parties are at, what their

    12     schedules are, obviously, and plan accordingly as it

    13     relates to this if I were inclined to not approve the

    14     settlements.

    15                  So Mr. Patten.

    16                  MR. PATTEN:    May I make one brief comment, Your

    17     Honor?

    18                  THE COURT:    You may.

    19                  MR. PATTEN:    Your Honor, I think the reason we've

    20     been in court all day is that everyone on that side of the

    21     table, other than Mr. Parker, maybe, didn't participate in

    22     the mediation.

    23                  And I think that had all of the players

    24     participated in a mediation, maybe the outcome would be the

    25     same but without opposition, or maybe the outcome would be
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      1    different.    But I do think that it may merit all of the

      2    parties getting together to see if there's a settlement

      3    that can be worked out.

      4                 THE COURT:    Yeah.    I'll be honest, when I heard

      5    there was going to be a mediation, I thought it was a

      6    mediation of -- when they said "global resolution," I was

      7    anticipating it was across the board.          I didn't realize

      8    there was some limitation, and I maybe should have

      9    clarified that at the time I issued my order.

    10                  But obviously, I was informed this morning that

    11     claimants were not included and that only the parties that

    12     were named in the litigation were, which would be the --

    13     obviously, that would also be a normal process that those

    14     that are named in the party -- or in the lawsuit would be

    15     the ones in the mediation, so --

    16                  MR. PATTEN:    Well, I think there's -- you know,

    17     it's unfortunate that, that we didn't.          I understand that

    18     it may not be the ordinary course, but I do think that it

    19     would be worthwhile if we made an effort with all of us

    20     involved in it.

    21                  THE COURT:    Well, I'm going to take -- I'm not

    22     ruling from the bench on this.        I'm going to take it under

    23     submission and advisement.         I will issue a decision.     If,

    24     obviously, the parties do something between now and when I

    25     issue that decision, let the Court know.
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      1                 MR. JAMES:    Could I make a short comment, Your

      2    Honor?

      3                 THE COURT:    You may, Mr. James.

      4                 It still doesn't -- just a follow-up to

      5    Mr. Patten's comment:       It still doesn't resolve the issue

      6    of settlements of dischargeability claims, objections to

      7    discharge.    And obviously, the U.S. Trustee has a very

      8    interested role in those as well that needs to be

      9    considered.

    10                  Certainly, the Court has approved settlements in

    11     that regard in the past; few, but there have been a few.

    12     But I think it, it -- one has to be careful.

    13                  MR. PATTEN:    I do think, Your Honor, that if all

    14     of us were in front of the Court advocating for the

    15     approval of the settlement, including the U.S. Trustee,

    16     then, then that would be meaningful, certainly, even though

    17     it was -- there was a discharge that was resulting.            And

    18     that's why I think that -- when I mean all of us to get

    19     together, I include the U.S. Trustee's Office.

    20                  But it's a, it's a -- I think it's upsetting the

    21     norm a little bit to settle a discharge claim, but

    22     certainly everybody here, everybody in the courtroom

    23     probably has an interest in the outcome, and they ought to

    24     have a chance to participate in --

    25                  THE COURT:    Well --
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      1                 MR. PATTEN:    -- coming to a consensual

      2    resolution.

      3                 THE COURT:    I appreciate the comments.

      4                 Mr. James.

      5                 MR. JAMES:    Your Honor, I echo Mr. Patten's

      6    sentiments to a large extent.        I am a strong believer in

      7    settlement, and I think when attorneys do their job and the

      8    system works, we can get most things settled.

      9                 We would love the opportunity to participate in a

    10     meaningful settlement; what we're asking this Court to do,

    11     however, is to direct that the discharge cannot be a part

    12     of that discussion.       The discharge and whether or not a

    13     debtor can get a discharge should not be commoditized.

    14     This should not be something the trustee can make a

    15     decision on, whether to sell or not to sell.

    16                  That should be a decision that's left to the

    17     judge whether or not a debtor has met the requirements for

    18     a discharge under the bankruptcy code adopted by Congress.

    19     And I hope and I pray that this court will deny the

    20     settlements and direct the parties to go back and try to

    21     settle this case without the discharge being on the table.

    22     Thank you.

    23                  THE COURT:    I appreciate the comment.

    24                  MR. YORK:     And, Your Honor, obviously the United

    25     States Trustee's Office would echo those comments.
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      1                 THE COURT:    Well, with that, I believe that

      2    concludes the record.       I appreciate your presentations.

      3    And with that, court is in recess.

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      1                           C E R T I F I C A T E

      2

      3         I certify that the foregoing is a correct transcript

      4    from the electronic recording of the proceedings in the

      5    above-entitled matter, all done to the best of my skill and

      6    ability.

      7

      8         __________________________________              ___________

      9         Jonny B. Nordhagen                              07/06/16

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